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                                                                              770

 1                               UNITED STATES DISTRICT COURT
 2                               EASTERN DISTRICT OF LOUISIANA
 3
 4
 5            IN RE:    KATRINA DREDGING      *   Civil Action
              LIMITATION ACTION               *
 6            CONSOLIDATED LITIGATION         *   No. 05-4182
                                              *
 7                                            *   Section K(2)
              PERTAINS TO:                    *
 8            BARGE                           *   New Orleans, Louisiana
                                              *
 9            MUMFORD, C.A. NO. 05-5724, AS *    June 25, 2010
              TO PLAINTIFFS JOSEPHINE        *
10            RICHARDSON AND HOLLIDAY        *   Afternoon Session
              JEWELERS, INC., ONLY           *
11            AND                            *
              BENOIT, C.A. NO. 06-7516, AS *
12            TO PLAINTIFFS JOHN ALFORD AND *
              JERRY ALFORD ONLY              *
13            * * * * * * * * * * * * * * * *
14                                        DAY FOUR
                                   BENCH TRIAL BEFORE THE
15                           HONORABLE STANWOOD R. DUVAL, JR.
                                UNITED STATES DISTRICT JUDGE
16
17            APPEARANCES:
18            For the Plaintiffs:            Best Koeppel
                                             BY: LAURENCE E. BEST, ESQ.
19                                           BY: PETER S. KOEPPEL, ESQ.
                                             2030 St. Charles Avenue
20                                           New Orleans, Louisiana 70130
21
22            For the Plaintiffs:            Law Offices of Brian A. Gilbert
                                             BY: BRIAN A. GILBERT, ESQ.
23                                           2030 St. Charles Avenue
                                             New Orleans, Louisiana   70130
24
25
                       JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA
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 1     13:28:21   4 )                     ' H)                          #                                                                                                                                        13:31:09       #                ! )                    4#
 2     13:28:22                               )                    3        '                   2                   !                                 3                   -               -)                     13:31:12   "#                                      4 )                  -               -           )-                      99           -        -               2            2
 3     13:28:25                                           2                         2                                                 -                   -                   2                           2F     13:31:16           )-                                          -)                           )-                                           -        - F
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12     13:28:49       #               !; - )                                    4               E               3                     2                                                   3                      13:31:57   -                                                                )- )                                    4? #
13     13:28:52           -           - #                                                                                                                                                                        13:32:06   "#                          2 #                                          .4 )                >                                    ? 2
14     13:28:55   "#                  '!                  !'                        ? -                                                           2               )                                              13:32:10                                               @?               -                       9                                                    F
15     13:28:59   -           !'                  ?            -)                       ? -                         4 )                   2-                                  ;                                  13:32:14       #                #                              4        )                       ! E3 ;                           3 3
16     13:29:02                       2           )                                 -           F                                                                                                                13:32:20           2                   ! '                     99                   2                       9                            )- ) #                  .
17     13:29:06       #           ;                   3 3                                                   2                    ? ; ;4 3                                         7+ 4                           13:32:27   '               3- ?                                                                                         2                    2! ' -
18     13:29:12           -       E3 ;                                 99                           ?                                                                                                            13:32:31   ? -                 G                                                        )- )             #                   '                                   ?
19     13:29:16   ;)                                           3                            - 3                     !                                     G !                                                    13:32:36               2 #
20     13:29:21   -               -                   ?                                                             ?                             #                                                              13:32:37                                               3        99 ' .                      :: - )                                                               3 2 #
21     13:29:26   "# 5 '                                   4 ) 3                                            2                @?                       -                                       -)                 13:32:43               4                                   3 2              ?                                   H)
22     13:29:29   4 )             >;                                                    2F                                                                                                                       13:32:49                               !' -                         H)                  ?           2 #                                  2                                 #
23     13:29:31       #                   !                ' .                                  2                            -                )-                                          ) ;                    13:32:55               E3 ;                                3 3                                                                           );                      4
24     13:29:36                               3                !        -)                  2; 2 #                                        !               - )                     !                   3          13:32:57               #
25     13:29:40                       2 H) ?                            !               4 )                 3                    ;                                '                                        2     13:32:59   "# < 3                                                                   '                )                               -               3 3

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 1     13:29:44           -           '                            -                H) ?                        #            ' .                  '                   ?? ?                                       13:33:03                   -                       ; '                          3                                   '            ' 4                                  '
 2     13:29:49       H) ?                                     -                                3                   #                                                                                            13:33:07                    2                                  '            ' 4!                                    -            -           2                   2
 3     13:29:52   "#                                               )                4 )                         2                @?                   -                                                          13:33:11                               )                                        3 3                             3            ?; '                            3
 4     13:29:55                               )- )                                  -                   ;                        9                                            F                                  13:33:16           -        -)                                                              2                       2
 5     13:30:00       #               #                                                                                                                                                                          13:33:20               -               -                   2                    2                                       F
 6     13:30:00   "#                      !           E                                                                                                   2                                                      13:33:22       #                   #                               H)               ;           -            2                                                   99
 7     13:30:03   3               F                                                                                                                                                                              13:33:30       3            ?? 2                           -                        99                  -                        #
 8     13:30:03       #               #                                                                                                                                                                          13:33:33                                       #            0               ) 5                         !'                                       '
 9     13:30:04   "#                              3 4 );                                3 3                             99                -               )                           3                          13:33:34       @?                                  3                -           -)                                                       2                   2
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10     13:30:08   ;           . ' 4-                                                ?           F                                                                                                                13:33:38           ?                   4                        -               -               2                       2#
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11     13:30:10       #               #           ;        3                    3           '                                    ;        . ' 4                               )                   !              13:33:41                       05                      (6 0                         4 ;I -                          F
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12     13:30:16   4 #                                                                                                                                                                                            13:33:43                                       #                                        4 !                 ) 5                      F
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13     13:30:17   "#                                                                        2! '                    E                                     4 )                                                    13:33:45                       05                      (6 0 0                                   )               -- ?                         '
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14     13:30:22       @?                  -                        )-                               4                   4             - F                             E                               3          13:33:47                               #
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15     13:30:27           '                               2F                                                                                                                                                     13:33:50                                       ( !                      )2              4 )                             #
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17     13:30:34               )                                                                     2           2                                         ;           ;                                          13:33:57                       05                      (6 0 ( !                                 ?            2G # E                                      #
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18     13:30:42   '                                                    4?                   ' 3                              4                4               - -                         #                      13:34:01                                                                >(
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19     13:30:48   "#                                                            4 )                 )-                                    4 ) ?                                                                  13:34:02                    #
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20     13:30:50       @?                  - !             3 4 )                             '                                    ?                        -                           -           3              13:34:03   "# <                                                         !           #           G #
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21     13:30:54   4 )                                                               -                               3                 F                                                                          13:34:04       # <                                                      #
22
22     13:30:57       #               !           '                     ?                           ) -                               -           3                       #               #                      13:34:10   "#                  )E                  2           2                        4           2                   2                    2-              2)             K
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23     13:31:00   "#                              3 2                                           '                       )                             -           !                                              13:34:16                       -                   -F
24
24     13:31:05                               -           -                 2                       2           -)                        )                       4                                              13:34:18       #                       ! E             2            2                           4                   ?                        H)
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25     13:31:08                                       4        F                                                                                                                                                 13:34:24                   );I - ! 4 #
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 1     13:34:32   "#                      )                        2                           )-                                  3                -         -) !                                    13:37:52                                   3            #
 2     13:34:38           2                       2                            -               -                   2                   2K -                  -F                                       13:37:57   "#                              4 )              44 )                        ' .! '                                    4 )?                                     4            F
 3     13:34:40       #                   #                                                                                                                                                           13:38:03                   4 ) )                                                4 ) 2                                     ? 2                                         -             )-
 4     13:34:40   "# 5 3 4 ) 3                                                 H)                                                      ? - - 4'                                    ? -                13:38:06           '               4 )                     2            2                               2F
 5     13:34:47                               -                            )- )                 F                                                                                                     13:38:09       #                                       !;                           42                  )             ! '                             -           -            #
 6     13:34:54       #                           E ;              3               !               '                               ? - - 4# E3 ;                                                      13:38:14                   '               ?                         2 )?                           3        &7                                       2
 7     13:35:00       3 3                              - )             -                        ' -                                             -           4)                             2          13:38:20       -           -                               )                        3                                4                                    ? -
 8     13:35:07   '                   H)                   #       )                       E            -                      '            ? - - 4                                                   13:38:30                                   -            '                                       -                !-               !       3               !
 9     13:35:16    ?? 3                           ;4                   - )                                     ? - -'                               2              4 )                                13:38:38   ;           .'                      #                     ' .                    ;                                     -                                        4
10     13:35:22                                    #                                                                                                                                                  13:38:42               #
11     13:35:23   "#                          !4 )                                                 ' - )                                        4 )                .'                      ? -        13:38:43                               - ) !                                2                       - 3                  !'                   3           ?                        2
12     13:35:28                       K                            2 F                                                                                                                                13:38:49   ;           .                                                                                     2 H) ?                           #                            ?                4
13     13:35:30       #                                -               - #                                                                                                                            13:38:55                                                         !                                       @                     ! '                                    2                     2
14     13:35:30   "#                                           '               &87$F                                                                                                                  13:39:01   ;)                      !               2           2'                                            3
15     13:35:34       #               ; ) &87$! 4 #                                                                                                                                                   13:39:05       -                   '                            4                                           H) ?                                      ? -                                   .
16     13:35:35   "#                                               '                            ' - )                                                   4     )                                       13:39:09       -                                                                ; )                          H) ?                     #
17     13:35:39           2                       2            )               2                               -           -                2                '                 H)                     13:39:13   "# 0                        -                                            3 3                          2 2!                             F
18     13:35:42       . K 2 F                                                                                                                                                                         13:39:17       #            !-                     -#
19     13:35:44       #                       !                ) 3                     4 99                                    6 3                  4              )                                  13:39:18   "#                          ;4 J '                                               -       4!J 4 )                                           -.!                  E
20     13:35:47                                                                            H)                              !                                 2                     )                  13:39:21   4 )F
21     13:35:54           2               !4 )                                     .                                                            ? - -- )                                              13:39:22       #            )              4 )              ?           !?                  #
22     13:35:58                                            - 3                 #                       -           ?               '         '                     4           H)           #         13:39:24   "#              4J '                                             -           4!J 4 )                                           -.!                 E 4 )F
23     13:36:02                           E ' 4                            . '                                                                          -          - #                                13:39:27       #                           -                    4#                                      32                        -                   !
24     13:36:09   "#                                               '           ' !4 !                                                               - )                                4              13:39:33    3                                  2                                                                  ;                   99                              )-
25     13:36:14       )                    2               )            2                                  ) 3                     4        4 )                                                       13:39:40       ?!          -           ;                        ;4 --                                   2                  ' ;4 ;)                                2        3

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                                                                                                                                                                                                780                                                                                                                                                                                               782
 1     13:36:18       . ; -.                               &87$K -                         -F                                                                                                         13:39:46               2                           -                                    -)                                                2                           -             #
 2     13:36:20       #                   #                                                                                                                                                           13:39:53            '                  3           ?                3           !                   2                             2 !                         ;            .'                   #
 3     13:36:20   "#                              E -                  -                               -                                   !4 )              3                     .                  13:39:59   "#                          4 )                                  4 ) - ? - 4                                                   ' .'
 4     13:36:23           4- )                     ! 4 )E3                                     )2                      4- )                 ! 4 )E3                        ?);                        13:40:06           3               -               -F
 5     13:36:26           4               2'                           ? -                                                 ! ? - - 42                                  -           -                  13:40:09       #                   !                                    ! '                 H)                                            -           -
 6     13:36:30           2                       2F                                                                                                                                                  13:40:13                                                #                               2 )?                                              ?           4               99
 7     13:36:33       #                                                                2               -           -                   2                    2! -           -#                         13:40:24                       ?           !           3         ; ) &7                             %+           -        -                                       2                     !
 8     13:36:37   "# (                                         -               - F                                                                                                                    13:40:28                       3           ?                                                ? I - #
 9     13:36:39       #           E                    4!          ?            !?                         #                                                                                          13:40:32   "# 0                        '                   4?                   ? -                     4#            )       ? -                 G                   !4 )
10     13:36:41   "# (                                         -               - F                                                                                                                    13:40:36       ?) '                                                                                                   4 )                         ? -
11     13:36:42       #                           -#                   3                           .                   4           -        - )                                                       13:40:41                                                    ? -                                     3                     '                                   -                )-
12     13:36:45               #                                                                                                                                                                       13:40:45           ' - 4 )                                                      3                       @?                K-                  -F
13     13:36:45   "#                          4 )' )                               2               '                                                ? 2                                     -         13:40:48       #                       -#              ) '                              -)                               ? I -                                '
14     13:36:53           ? 2                                                                   '                                      -            -              2               -       -          13:40:54   ?           -?                                               -                           '             -        ;                          ; - )                                     4
15     13:36:59           2                       2K -                     -F                                                                                                                         13:40:59                                                        -)                          3            ?#
16     13:37:01       #                           -#                                                                                                                                                  13:41:03   "#                          4 )                          2                               '            4         F
17     13:37:02   "#                      '! 4 )                       .                               ; ) 4 )                         @?                   - '            -3                         13:41:07       #               &81+#
18     13:37:06   ' .                              2                       #           2           !                   ' )             ; ? 9&81+K -                                    -F             13:41:08   "#                                           E 7+ 4                                  2 #                               '               4 )
19     13:37:11       #                   #                                                                                                                                                           13:41:11       3 3                                 '                        .                       ? I -K-                           -F
20     13:37:12   "# (. 4#                                         - )                 4 )                                 ? - - 4 99                                      E                          13:41:15       #               #                                                4 )                          ' .                                  4- )                             ! ::
21     13:37:22   )                                    4 )                     '               99 '                                         4 )                                2                      13:41:20   - )                         ! - ) 4!                                                                 3 2 #                                             4
22     13:37:25   ; -.                                         E               3                                       -           F                                                                  13:41:26   ? I - ! '                                        3 3                                 -                             3           ? 2                     -
23     13:37:33       #               ' .                                                  ?                                       ); -                      . !' -                                   13:41:36   ' - '                                                            '               #
24     13:37:35                                            6# #                    4                ?                          2                #                                          ' .        13:41:42   "#                  )           4 )                              '               4 )                           ;4 J                                        '             JF
25     13:37:42                           2 2! -                           !       3                                                        4?                     -                                  13:41:45       #                   !                                - !                 )? 2                     ?                2           3

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 1     13:41:50           @-                           - ? G                    !'                      )?                                                                  4                                   13:45:13   2 -                     -.#
 2     13:42:00                                                                     ' -                                     - ;                      ?)                         3                #              13:45:13                                       #                                            )'                                  -           ) F
 3     13:42:06                           2                                                                         2                   ?                   2           3                #                      13:45:15                           05                      (6 0                             !?                    -             ) #
 4     13:42:13   "# (. 4#                                                          .                                   #                                                                                       13:45:16                                       #                                (. 4#                             !        ) 5                  #
 5     13:42:13                                                    ' .                              4 )E                        . 2 ; ) ?                                                                       13:45:17                           #
 6     13:42:16           3 2 ? I -                                                                     - )                         K-               -F                                                         13:45:17   "#                          4 ).                        ''                   J?                    3 'J                          F
 7     13:42:20       #                   !4 # 0                                                                            ' .'                                        3 2                                     13:45:21       #                   ?               !?                   #
 8     13:42:25   3               !4 #                                                                                                                                                                          13:45:23   "#                          4 ).                        ''                   J?                    3 'J                          F
 9     13:42:27   "#              2 #                              -                )-                  ? I -                                                                            2                      13:45:24       #                       #
10     13:42:30   .                                   ' F                                                                                                                                                       13:45:24   "#                                      '                            .               )                     4 ))                                          4 H)             #
11     13:42:33       #               #                            )-               ? I -                                               ' .'                                    '            '                  13:45:26                                           .           4 )                  ?               9 3 '                   ?); -
12     13:42:39                                                    2                    2! );                                       4; - )                                          '                99         13:45:29               -           !                               2                    4 ) H)                                      ' ? ? !' -
13     13:42:43           ' '                                      2#                                                                                                                                           13:45:34   .           '4 )                            3                    4                               ! ;)                            2               '
14     13:42:45   "#                      !                                ; )                      #                                                                                                           13:45:37   ?               9 3 '                           #
15     13:42:47       #                   !'                           2             ?                          !;                                      !                       ''                              13:45:38       #                       #
16     13:42:55               ' . 2                                                                                         2                    4                  #                                           13:45:39   "# 5 3 4 )                                                       )- ?); -
17     13:43:01   "#                      4 )                      2                    9?              )- 2 ?                                      F                                                           13:45:42                                           F
18     13:43:04       #           )                                         H) ?                        !4 ).                       '#                                   -                       4              13:45:43       #                           ! '                                          - )                   ' -                   2                   ?) -                !
19     13:43:10                                                                 2                               #           )                                           4 4?                                    13:45:52                   !                   2                       )2                           @                                                   ;           -- ?             ;4
20     13:43:21       H) ?                         #                                                                                                                                                            13:45:58               (-                          -                                    2                                                                           2            #
21     13:43:21   "#                                       -                            )- )                    F                                                                                               13:46:02                                   -           ?           4 E3 ;                                         2         '                           3
22     13:43:23       #       E                        4!          ?            #                                                                                                                               13:46:08   &++9                                            2 99              4; &%+                                   4- )              #                       4            ?        !
23     13:43:25   "#                                       -                            )- )                            3 3                                                          F                          13:46:18                       !?                  ?                    4?                                    !                                         4- )                 #
24     13:43:30       #               #                                                                                                                                                                         13:46:24                               4           )               .            ; - )                              4 ?) -               #
25     13:43:37   "#              --                      2            4 )              >! 4 ) ?                                                 3              3           ,+                                  13:46:28   "#                  )                                                    4 )E                 ? ?)

                              /(                                   (=!                   !                          9(                               (6 0                            ( 0                                                   /(                                      (=!                      !                     9(                        (6 0                        ( 0

                                                       6           0                0 0                             0               0 (6 0                                                                                                                             6           0            0 0                               0         0 (6 0

                                                                   0                         0              0(                  (6                                                                                                                                                 0                            0            0(            (6


                                                                                                                                                                                                          784                                                                                                                                                                                        786
 1     13:43:40       @?                      #                    '                ) ;                 2                           ) !                 4               2                                       13:46:31                   ! ' - ! --                                           2               4 )           L ) L!                                            ' -

 2     13:43:46                               2                         ?                               I) 4! - '!                              2 2             - !- 2                                          13:46:35                       - )                                     ?);                          !'             4 )E                 - ; 2#

 3     13:43:50   3                   #                )               E            3                       2                            -                                               24!                    13:46:39       #                           # <                         4!                                                       #

 4     13:43:55   4 )F                        )E                                    @?                                              2       F                                                                   13:46:44   "#                                                  #

 5     13:43:57       #                        -# E                    3 4                                      '                                       24! ;)                                   E              13:46:44       #                           .#

 6     13:44:01   -                                   4                         @?                                                      24#                                                                     13:46:44   "#                                  4 H)                         !           ' 2 ; -.                                !'          ?           9 3 '

 7     13:44:03   "#                          4 )                      E             '                  4 )                                          @?                                                         13:46:48   I )                         !               -           '                    ? -                                 2               2!              -           - !

 8     13:44:07           -               -                    2            -           -                   2                       2                   !               4 )F                                    13:46:52                   2                   -           -            2                           2#                              '           !        4 )

 9     13:44:09       #                        -#                                                                                                                                                               13:46:54   .           '               2 !                 F

10     13:44:12   "#                          4 )E3                        3        ?);                                     4?              9 3 '                               -            '                  13:46:56       #                       !                           4                                -             '         !;          2 ?);                           ;4

11     13:44:16           ? -                                                   24!                                 -           -               2               -               -                               13:47:05   ?); -                                                            2                           2             #                     3 ;

12     13:44:19           2                        2!              3 4 )F                                                                                                                                       13:47:12       - 3 2-                                                       ;4 ?                                          3 ;                           2

13     13:44:24       #       E                        H)                   ) #                 ;           3                                                                       -                           13:47:18               -           #

14     13:44:29                   '                                    '             ?);                                        4           . -                                              2            2     13:47:20                                       #                                                !        ' E          2      2          ;           ;

15     13:44:37   '                       !; - )                            E3 ;                            3 3                              3                                                                  13:47:22   ?               !- )                        ' 2                          =9%&$!                    ?                 ! ? 2 %8                                ?

16     13:44:39       ) -                          ! 4?                         #                       '                                       4? ?                        !                E                  13:47:29   ,+F

17     13:44:46   H)                                      ; #                                       4                               '                               )                    #                      13:47:36                       #

18     13:44:52                                   #                                                             ) 5                      '                              .               ;            .F         13:47:36   "#                          4 )                             ; !'                              '                .4 )              ?                   !       #

19     13:45:13                       05                   (6 0                                                         -           2 99 E                              -           2                           13:47:39                       I               4               .            3                           - )                 '           4 !

20     13:45:13           #                                        -        2               '                                       4 )!                )               F                                       13:47:41           #                                           .        4 ) J5 '                                      4         -               3 4 )'

21     13:45:13                                   #                                     E ;                         ??4                     ?! ;)                   E                                           13:47:45   ?); -                                       3                    - )                          4 )               2-               FJ

22     13:45:13               '                !            ) 5                     #           )           .           '                   4 )E                ;           2                                   13:47:47                           J               3           - )                  !                   - )               E 23 4 )                      ) ; #

23     13:45:13                   -               #                             - )                     ?                   ! E ;                           2                   #                               13:47:50                               )                       #J

24     13:45:13                       05                   (6 0                             !               #               ' E             2           2               2                                       13:47:51                           J                           )                    F                             3 4 ) 99              4

25     13:45:13           ??              #                E               3             ! ;) '                              '           3 99                                       E 2              2          13:47:56       )                                               -            3               ;               ?);                         ?           9 3 '

                              /(                                   (=!                      !                       9(                                  (6 0                            ( 0                                                /(                                  (=!                      !                    9(                         (6 0                        ( 0

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                                                                                                                                                                                                                                                                                                5 (Pages 783 to 786)
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                                                                                                                                                                                787                                                                                                                                                                                           789
 1     13:48:01   -                 4I )                      FJ                                                                                                                      13:51:24           ??                                                         !                       )                                3           !               '

 2     13:48:04                     /) ? 2                           '                         $#                                                                                     13:51:31           ??                                                                             ; 2 #

 3     13:48:05                     J            !                E .            ''                   4 )E                                  2    #J                                   13:51:34   "#                       !                E ' 4 E                                  . 2                      H)                  !           #           - )

 4     13:48:10                                                                       4 )                              4F                                                             13:51:37   4 )                  '               ?                                                 4 )'                                                     99

 5     13:48:13       #             #            )           )                                        H)                    '                                 2                       13:51:41                                              -                   ;)                                      ; 2 #                                    4 )                 '

 6     13:48:19   I )                                    ? - -?                                                        -                #                                             13:51:44           4 2                          4 )              @?                                   2                        '                   ??

 7     13:48:27           '                  -             -!                                 4            -           !            3                             !'                  13:51:52   '            F

 8     13:48:35   ?);                        ;4 I )                               ?                                             -                    #                                13:51:53       # 0                      '                         !; 2                                            99               '                                            #

 9     13:48:39   "#                                      3                                                2                                             #                            13:52:03   4 )-                                 99                                4!                                   2!          3           ?

10     13:48:43                                          '           4 )                                           -        F                                                         13:52:10   ;        -                                                 ' #

11     13:48:44       #        ;             3                %++*#                                                                                                                   13:52:12   "#               ) 4 ) 2                               !               E 4 )!                                       -       ?                               '            !

12     13:48:48   "#                        99                                                                                                                                        13:52:18   ;4 4 )                       ' -                                       4 )                 ?                !                           '

13     13:48:49       #                 ! E                       4#              ?           2G #                 '                        ? 3 ) 4 ;4                                13:52:22           ? 2 ! ? ? 2! '                                                         2                   !                4 )E                        H)

14     13:48:58                                              4           %++7! ;)                              ?        -?                      ' -               E3 ;                13:52:27                4               2                2                        -                                            )                           '           !

15     13:49:09   ' . 2                      -               4! '                                         %++*#                                                                       13:52:32   4 )F

16     13:49:15   "# (. 4#                                    '              '            4 )                          )-               F                     '        4 )            13:52:32       #                ! ;                  3                            H)                      !                    '               ' )

17     13:49:19    @?                                ;           ??                   F                                                                                               13:52:36       @?                           4                             '               2#
18     13:49:23       #                 3            '        23                  ? - -                        )-               # E3 ;                                                13:52:40   "#               ) 4 )E                                        2                   -       -                2               #                       E

19     13:49:30                                          - 3                          2           ) ;                           -)                       #                 3 4        13:52:44   2                -           -                2                                    ' )                      3           23                                      4

20     13:49:36                         - 3                          -)               !               3 '                               '                -                  #         13:52:47       2                    2                         -                                           ) !                              ? 2

21     13:49:39                         .                         4?             -?                        '                        - 3                      4-                   #   13:52:51   -                                K-               -F

22     13:49:45   "#                    !                4 ).                '        4 )'                         ;        2                                     @?                  13:52:52       #                        E                2                                    2           -            -               2                   ' )                      3

23     13:49:49                              24!              3              -            -) !                                      2                        2!              2F       13:52:57            ?               .       '             2                                                   ! ;)                         '                                   4 )

24     13:49:54                '                     4 )                     )-               F                                                                                       13:53:03   .        '                           ;            3                    3                   )2 .                     '       2                   )                            '

25     13:49:57                              #               0                                ;I -                 !        ) 5                      #            E3                  13:53:10   )                            ? 2                  --) #

                               /(                            (=!                  !                    9(                                   (6 0                   ( 0                                        /(                                (=!                         !                   9(                                   (6 0                        ( 0

                                                     6        0              0 0                          0            0 (6 0                                                                                                         6         0                   0 0                         0                0 (6 0

                                                              0                       0               0(               (6                                                                                                                       0                               0           0(                   (6



                                                                                                                                                                                788                                                                                                                                                                                           790
 1     13:49:58                4                     ;                       E                                              2       #                                                 13:53:12   "#                       !               E 4 ) )                                                   2            )                       ? 2              -) 4
 2     13:50:01                     05                   (6 0                     !                        ) #                                                                        13:53:17   2                                     4 )                              2                                                - H)                     2
 3     13:50:02                     05                    0                               3                .           '                '        ;            2                       13:53:18           0!                   0                                         ?               F
 4     13:50:05                         3            '                   #                4-           -                                                                              13:53:21       # (                              4                     ? 3 )                                       2                                        ;        . #
 5     13:50:11   ;        3                         3       ) -                  .       '            2               -                         4                                    13:53:26                    !                       4 )! E                                                                         )
 6     13:50:18    @?           #                                                                                                                                                     13:53:31   );I - #
 7     13:50:20                 #                                                                                                                                                     13:53:32   "#                               4 )               4J                          );I - !J ' -                                                 4 )                 . 2
 8     13:50:20   "#                         4 )                                          ?                                             4 )                  3 3                      13:53:34       ; )F
 9     13:50:25   '                                                              3 3                                        ; 2 '                                   5                 13:53:38       #        E                       4!           ?            F
10     13:50:34   ;        -            F                                                                                                                                             13:53:40   "#           E                       4#                         4 )                        J                    );I - !J '                              );I -
11     13:50:35       #                 4 )               ?          !?                   F                                                                                           13:53:43   4 )                  '               . 2 ; )F
12     13:50:37   "#                         4 ) 3                                                4 ) 3                         -                    -        -)                      13:53:44       #                        .4 )                                  . 2 ; )                                       );I -                  )                           ? 2 #
13     13:50:40            4 ) -                          ;)                                  -            '                                                                          13:53:50   "#                           -#                                                -           - #
14     13:50:43       3 3                                            :*%*                             ;        -            F                                                         13:53:53       #                        -#
15     13:50:49       #             ! )                                               #                                                                                               13:53:54   "#                           4 )E                     4 2                                                                               4 )E3
16     13:50:51   "#                                                     !        -                        ?           !'                       ; 2                    K              13:53:57       ?                                                              2                   F
17     13:50:55       2 F                                                                                                                                                             13:54:01       #                #                    E                            ;                                2                           ' -
18     13:50:55       #         ?                !?                  F                                                                                                                13:54:08   )                            ? 2 '                                 );I - # E                                4 2                                             '
19     13:50:57   "#                                     ' )                          !'                                    ; 2                  !            4 )                     13:54:17                            '                            );I - ;                              #            E
20     13:51:00    ?                F                                                                                                                                                 13:54:22                                             );I - #
21     13:51:00       #             #                                                                                                                                                 13:54:23   "#                       4 )?                                          4 4                         2-                               2                           -        F
22     13:51:01   "# (. 4#                                                                                                                                                            13:54:28       #                #
23     13:51:03       #                 !                             ;               #           ;        3                                                                          13:54:57   "#                   '!                       4            3            .              4 )                  !                       ?           2 G ! ;)
24     13:51:14                         -)                               3 '                      '            2-                                ; )                                  13:54:59   4 )E3                        3           '                                     @?                  ?                    ? 3                             4                    4
25     13:51:18           -)                                     3           ) 4'                     2                ?        '                                          '          13:55:03            ?                            2                2                   - )                                  )               -           ?

                               /(                            (=!                  !                   9(                                (6 0                      ( 0                                         /(                                (=!                         !                   9(                                   (6 0                        ( 0

                                                     6       0               0 0                       0               0 (6 0                                                                                                         6         0                   0 0                         0                0 (6 0

                                                             0                        0           0(               (6                                                                                                                           0                               0           0(                   (6



                                                                                                                                                                                                                                                                    6 (Pages 787 to 790)
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                                                                                                                                                                                                  791                                                                                                                                                                                                           793
 1     13:55:07       @                   )- )                            -                                 !               3 4 )F                                                                      13:58:13   - )                     ! ;)                            E ;                 3               4;              4            2           2               ?
 2     13:55:11       #               @                           )- )                     -                                    ! 4 # E3 ;                                                              13:58:18       -) 4-                                       2        - )                    !'                               E
 3     13:55:19       3 3                                     3               -                99        ?              2G ! -                               -                99                        13:58:22   '                   3 ! I)                                                  2#
 4     13:55:27           3           ? I -                                   ' -               '                   3 3                                      )- ) E                                     13:58:24   "#                      )                    . - )                                          4               4                    -                           3
 5     13:55:34           -                                   #                                                                                                                                         13:58:28           -           -F
 6     13:55:38   "#                          ! E                         4 ) 2                                     )               ?                    #                                              13:58:30       #                           .- )                                 4                  4                - !4 #
 7     13:55:47                           E                       4! 4 )                        4 )2 3                          ?                                    2                                  13:58:33   "# 0                                     ;           2           &87$                       ;                   F
 8     13:55:52           4 )'                                    ; )             F                                                                                                                     13:58:37       #               !                    .- )                                   4               4                    -               6 3                     4
 9     13:55:54       #           !                   #                   ' .                   ? I -                           3 3 2                        )- )                                       13:58:40           - 2                 #                    E                          ;           '                4               #           )                   .           3
10     13:55:59   -               -                                               #                                                                                                                     13:58:44   - )                                          6 3                        4                   - 2                 #
11     13:56:00   "#              )                   4 ) 2 3 ) 99                                  4 )                                     ;       '                    )- )                ' E        13:58:46   "#                               4              4                   -                                   3                                            '               F
12     13:56:03           . 2 ; )                                         F                                                                                                                             13:58:50       #                       ! E                 )-                                                                   3                               '               #       '
13     13:56:04       #                                           - ! I -.)?                             2 2 !                          )                                                               13:58:53       4                   4               -                                               ?                                                                !               2           2
14     13:56:11       H) ?                            !       )                                ?            )               3                   #                                                       13:59:02       4                           #                E              )-                                           I)                      3                               '               #
15     13:56:18           )- )                                    -                                     #                                                                                               13:59:08   "#                          !               )               ' 4                         4                -           ??                                                  2
16     13:56:20   "#              2               !                                                             )- )                    !                            2 !                                13:59:12   -           #
17     13:56:23   .                   99                                                                                                                                                                13:59:14       #                                                       2                               2                                                            3 )
18     13:56:24       #                   ?)                  4                       #                                                     4 )                                    ??                   13:59:17                           2! 4 )                      3               )                                   ' 3 !                                ' 3
19     13:56:28                               2 )                     #       E                                     K E                         2 )              #                 #                    13:59:25       4                   4               - #                      ' 3                                        ? - -!                           2 !             ?
20     13:56:32   0                               #                                                                                                                                                     13:59:37               4                   4               - #                             '                       4                4                   -                           3
21     13:56:33   "#                              E                    4! ' -                                                   )- )                 '                                                  13:59:43   4               #
22     13:56:37   2 )                 F                                                                                                                                                                 13:59:44   "#                      4 )                 ?                            '                           -                               4 )E                2           2
23     13:56:38       #       )??                                  ?              )        3                    !           )                        #                                                  13:59:46   23                              '            ' 3                                                    ? -                          4               4               - F
24     13:56:44                   3 2                         ?                       #                                                          )- )                                                   13:59:53       # (                                                 ? -                         4               4                -               ' 3                             !
25     13:56:48   2 )                 !                                       #                                                                                                                         13:59:57   -           !                                                   ? -!                            )2                                                   3

                              /(                                      (=!                  !                    9(                                   (6 0                          ( 0                                          /(                                 (=!                         !                    9(                                          (6 0                        ( 0

                                                          6           0               0 0                           0               0 (6 0                                                                                                                 6       0                   0 0                             0                0 (6 0

                                                                      0                        0            0(                  (6                                                                                                                                 0                               0           0(                   (6


                                                                                                                                                                                                  792                                                                                                                                                                                                           794
 1     13:56:51   "#              2               !                       2 ; -.                                             3 2                 ?                   F                                  14:00:00               2 #                                      - !                        @           2                                                                ; 2 !

 2     13:56:55       #       E                           4F                                                                                                                                            14:00:06           !? - !                              3 !             -                   !                                                4               4               - #

 3     13:56:56   "# 0                                2 ; -.                                         3 2                    ?                            4 )              .                ; )F         14:00:12               4                   4               -                           2           );I -                        -           ?               2               4                       #

 4     13:56:59       #           #                       )                           99                                - !                      2                   ) -               2                14:00:22   "# (. 4#                                        ! E             .               )                                                                4               4               -

 5     13:57:07   ' 4                                         2 )                                   ?               #                                                                                   14:00:23   4 )E                2               2                       4 ; )                                   '                                    3

 6     13:57:09   "# 0                        E                   ) -             2' 4                                  4           -.               3                   ! 4 )E                         14:00:27   ; 2                                             ;           . ' 4                                           4                    '                       ;           . ' 4F

 7     13:57:14           . 2 ; )F                                                                                                                                                                      14:00:31       #               3                                           ; 2                              4                   #

 8     13:57:15       #                                       ?4                      3 2                       3                   #                                                                   14:00:35   "#                      4 )E                2           2                           4           2                2                       ?? -

 9     13:57:18   "#              2 #                                         E '                                       ?2                           ' !                  E '                           14:00:39       4               4                   -?              -?              ;                                                                ; 2 '

10     13:57:21   4 )E                        . 2 ; )F                                                                                                                                                  14:00:45                                       ; -                                     K                       -            -F

11     13:57:22       #               !4 #                                                                                                                                                              14:00:47       #                       ! E          2           2                              4                   '                2                   ? - -

12     13:57:23   "# 5 3 4 ) 3                                                             2                ?                                        )- ) !                                )- )         14:00:55   H)                          !                   3                   .           '           2                   ;            4                   ' #

13     13:57:25               '                                               ; ?                                                           2 )              ! )-                                       14:01:03   "#              4 H)                            !           !           ' 3 !                                   -                                                    '

14     13:57:28               ' F                                                                                                                                                                       14:01:12                                                               4                                       ! E              .               )

15     13:57:31       #                           2                99                 ' .                                           2                        )- )                                       14:01:14   4 )                             ?? 4 2                           4                  4               -?               -?                          ;

16     13:57:35   -               -                                       2 )              ! ;)                                                     ' #                                                 14:01:19                       2-                  ?                                       ; 2                          M                           ); H)                               3

17     13:57:40   "#              )                       .            ; )                           2# 5 3 4 ) 3                                                )2            - )                      14:01:24                       ; 2 F

18     13:57:48                   2F                                                                                                                                                                    14:01:26                                   #            0 (;I -                                                                                         H)                      #

19     13:57:48       #           #                                                                                                                                                                     14:01:30                       05                      0                            ' 99

20     13:57:50   "# 5 3 4 ) 3                                                        .        - )                                                   2F                                                 14:01:30                       05                  (6 0                                    #

21     13:57:54       #                           E .             '                    4- )                                                     2                @            #                         14:01:41                       05                      0                            '                      '                        H)                              ?                   2

22     13:57:58   "#                                              3               -            -! 3                     ; -.                    &87$! 4 )                              E                14:01:42   '                                   H)                      #                       4           2                                    '

23     13:58:02       .               4- )                                                          2F                                                                                                  14:01:44   -                       4                                   4                   4               - #

24     13:58:03       #                           E ;                 3                         4) 3                            4                        4- )                                           14:01:54                       #

25     13:58:07   ? - - 4                                                             2#                        2                   ?                -                        3                         14:01:54   "# 5                        4 )                                  4 3                    ;                    I -                                             ;4

                              /(                                      (=!                  !                    9(                                   (6 0                          ( 0                                          /(                                 (=!                     !                       9(                                   (6 0                        ( 0

                                                          6           0               0 0                           0               0 (6 0                                                                                                              6          0               0 0                             0               0 (6 0

                                                                      0                        0            0(                  (6                                                                                                                                 0                           0           0(                   (6



                                                                                                                                                                                                                                                                                    7 (Pages 791 to 794)
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                                                                                                                                                                                                                  795                                                                                                                                                                                                         797
 1     14:02:01   - ) F                                                                                                                                                                                                 14:05:12                                   #                                       )                                    !           ) 5                     #
 2     14:02:02       # ( 4                                                                    %+                   %7 4                             2 '                                                      4         14:05:14                       #
 3     14:02:06            ' -                        '                                4 2'                                                              4 ; )                       -                    - #           14:05:14   "#              I)                      3                                    !                       3           )                       )               !        -
 4     14:02:16                                   '                                                        - ) #                                             I) 2                                                       14:05:20   ;                   /) 2                        )3 ! %++%#                                   )                               ?                       -        -                2
 5     14:02:24           -                                                        !                   4'                                                                                4 ; )                          14:05:25                           )           G                   3                                                                - 3
 6     14:02:29    -                      - #                                              4                                            '                I -                                                            14:05:29   3                                       4                   #                                I) 2                                        4 )'                          E
 7     14:02:34               4 2#                                                                                                                                                                                      14:05:31           '                           -                                   3                                        4                   ; - )                                     '
 8     14:02:35   "#                      !               3           E 4 )                    -                                                     4 ; )                       )            -                         14:05:34       -)                  ;                                                                3                   )-                                              -
 9     14:02:38               -                                                2!                  -            !; -                                     4F 5 3 4 ) 3                                                   14:05:38   ?                   )                           ;                                    ?                       #               /) 2                    )3                    )
10     14:02:44                   ?                                            4                                                F                                                                                       14:05:44   4 )                     H)                                               4                                           -                           ?
11     14:02:47       #               E                .                                               #                                                                                                                14:05:47   ?                       E -                                     3 )                  4               #
12     14:02:49                               !                                -           ! '                                                  4; - )                                   E                              14:05:51                                   4 )                                 ;                            ?           2                           4                                             F
13     14:02:52   ;           3                                        3 .                 '            2                       )2 #                                                                                    14:05:54       #               ! E                         4#                       E                               ; #                 E ;                         '            #
14     14:02:57                                                                            -                        4                       4                        4; - )                                             14:05:58                                   #                                   0                . 4 )!                      ) 5                     #
15     14:03:02           4                           3 .                  '               2                    )2 #                                                                                                    14:05:58                       05                      (6 0 0                               . 4 )!                      #
16     14:03:03                                   4 )                      3               ;           ? - -'                                                            4 )                  . 2                       14:06:05                                           #               !               4 )'                                             . 4 )                                             '
17     14:03:08               H)                          #                                                                                                                                                             14:06:08                               -               F
18     14:03:08   "#                      !                   4 )                              ;                            -                                    40                  ?                3           )     14:06:09                                   #               0               ' )                      . I)                                .       - )?
19     14:03:11           '                            ?                       ! %++*! 6# #                                             -!           @ &7 $%%!                                    - 1 !                 14:06:10   H)                              ;                                                #
20     14:03:18   %++*! '                                     4 )                                                   ?                                 2                          - !                                    14:06:12                       05                      (6 0 (. 4#
21     14:03:22   ? 4                     2- ! ; -                                         -                )                                   2 ?                              !                    2                 14:06:14                                                                       0 =                              0(
22     14:03:28               -                                                2!                  /) 2                             ;                 )              4 )'                                               14:06:15                       #               0
23     14:03:32   H)                                                                       F                                                                                                                            14:06:22   "#                  #           G ! 4 )E3 ;                                              -           )                       99 3                            4                     !
24     14:03:34       #                       E                                ;                   -                    4 )E                         . 2 ; )#                                 )               4         14:06:24           )??                 !               G                   -                                                                -               F
25     14:03:36           3                                                4                           4#                           E                        ;                       #                                  14:06:30       #                   #

                              /(                                      (=!                      !                        9(                                       (6 0                         ( 0                                              /(                                  (=!                      !                       9(                                      (6 0                         ( 0

                                                       6              0                    0 0                              0               0 (6 0                                                                                                                         6       0                   0 0                              0               0 (6 0

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                                                                                                                                                                                                                  796                                                                                                                                                                                                         798
 1     14:03:43   "#               )                      E                            ;                                - -)                             -                       F                                      14:06:31   "#                                                      -               ! 4 )E3                                                  ; ) 3                                        3
 2     14:03:55       #            #                                                                                                                                                                                    14:06:35               3                       -               -!;                      '                                   3                                   '                @
 3     14:03:56   "# (. 4# E                                              .4 )                                          -               #                                                                               14:06:40           )- )                    F
 4     14:03:56                                   4 )                                  ;                        -                                   2 ! 9 9<9 9 ! 3                                       )             14:06:40       #                   #
 5     14:04:02           )-                                           ! &88$! 6# #                                             -!                  @ *:*,! &88$!                                                       14:06:40   "#                          4 )E3 ;                                     3 3                                                                      -            - '
 6     14:04:09   ?                                   I) 4 -                           '                    ?                                       ??                       )2;                                        14:06:44                                   4?                      '                                        -                   !       -)              2               -. !
 7     14:04:13   '               I)                  #                        4 )             ?                        '                                    ?                   E ;                                    14:06:47       @       ? F
 8     14:04:16                           - 2 G                                                '                            2                   )                                                                       14:06:48       #           ;           )               4! 4 #
 9     14:04:20                       !                                    ;                       '                ' )                                                                           3                     14:06:49   "#                          4 )E3 ;                                     3 3                                      )                       4
10     14:04:24                       )                               - ' 4#                                                                                                                                            14:06:52                                                   3 3                                              -                   - ?                     !           3 4 )                         F
11     14:04:27                           )                           - )                                       !                               3            -           -                                              14:06:56       #                   ! ;                 )           4#
12     14:04:30                                   2                    !4 )'                               E H)                                                      4 ; )                                              14:06:59   "#                                                          ?                        3                                                               -                )
13     14:04:34   ' . 2                                               ;                #               4 )                                      ;                F                                                      14:07:08                   3               '                           -       -                    - ?                                         ?           -)              4
14     14:04:37       #            !                          E                            ;                        #               )                ;           2                   2                #                 14:07:12           ?               -                           -           ? @ 4?                                   -                )-                 !                        4F
15     14:04:40   E3 ;                                                                 4-                   #                                                                                                           14:07:16       #                       -! E                                4            ? #
16     14:04:40                                   #                   0                            2        I)                              .                ;I -                                         .             14:07:18   "#                          4               ?           -           ?                            4 )                 @?                  -                            2
17     14:04:42        2                      #                                        4                                    );                                                       ) 5                                14:07:20   -               )-                          3                                                                    -                   4 )                 3
18     14:04:45   )                                                            !                                .                                                    2       )-                                         14:07:22           - ;                 F
19     14:04:49                                                   #                                                                                                                                                     14:07:24       #           E                           ?                   2 !4 #
20     14:04:50                       05                      (6 0 /)                                                           ; .                  '                                                                  14:07:30   "#                          4 )E3 ;                                     3 3                  !                       .4 )                        !                                2
21     14:04:53    );I -                                              ' ; - 3                                                   -               !                                        !                              14:07:32               -                   )-                              ;                    @           ?                                                   2                        '
22     14:05:00               @?                                               '                                        # E                           2          2                                                      14:07:36                   3 3                             -                       3 3 2                                            )               I -.)? 3
23     14:05:04   '- !                            E                    E               4 2#                                 E '                                                  '- #                                   14:07:41               '                                           2                        '                   '                           4                   F
24     14:05:07                                               )-               2                                            '                   4 )E                         2               '#                         14:07:43       #           ;           )               4! 4 #
25     14:05:10   I)                      E '                                                          2            #                                                                                                   14:07:46   "#                                                              2                            '                           ;)                              '                !

                              /(                                      (=!                      !                        9(                                       (6 0                         ( 0                                              /(                                  (=!                          !                       9(                                  (6 0                              ( 0

                                                       6              0                    0 0                              0               0 (6 0                                                                                                                         6       0                   0 0                                  0               0 (6 0

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                                                                                                                                                                                                                                                                                                       8 (Pages 795 to 798)
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                                                                                                                                                                                                    799                                                                                                                                                                                 801
 1     14:07:49           4E                                              2                                                   4E                   )                                                        14:10:25       #        ;              3               #
 2     14:07:52   ;)                                                                             ;                F                                                                                         14:10:27   "# 5 3 4 )                                                                          - %++8                ?                                    <            F
 3     14:07:54       #             !           #                                                                                                                                                           14:10:34       #        ;              3               !4 #
 4     14:08:00   "#                    - )                           .          4 ) ; )                                      -                4 )'                            E                            14:10:37   "#                                   . 4 )E3                                                    -.        2 !                             E @ ;
 5     14:08:02   2            -            -                2               #               4 )              -                                    H)                              2F                       14:10:40   %:F
 6     14:08:06       #             #                                                                                                                                                                       14:10:41       #           ?            !?                         F
 7     14:08:07   "# <                      -            -               2                               . 2                                               )                                                14:10:43   "#          E                   4F
 8     14:08:12           E            3 4 ) .                        '              2                   4            4            -                   3                               3                !   14:10:43                                   . 4 )E3                                                                       E @ ; %:!
 9     14:08:20                    4F                                                                                                                                                                       14:10:46       -.          2 F 0                           2                                       -                                     5 ;
10     14:08:21       #                     -#                                                                                                                                                              14:10:56           32                                          F
11     14:08:23   "#                                         -        !                          3                                     3           !'                                                       14:10:58       # ( !4 #                            ;               )           4! 4 #
12     14:08:29   '                                      -.                                                                       -.           '                                                            14:10:59   "#                      2 #                     '! E                    2           2                              '                                       2#
13     14:08:33   -            - '                                           '           !                                                         3 3                                                      14:11:03                            #                  0                       !            ) 5              !           3 '                             -
14     14:08:36       4            4                - F                                                                                                                                                     14:11:05   '                       @        )          3                                       4                         2 ;4                #<               !
15     14:08:37       #        ;            )           4! 4 #                                                                                                                                              14:11:10   3 '                                 -                                                            4                                            4
16     14:08:39                             #                0               ) 5                     !'               ?                )                                                                    14:11:11           ? - !                                                                       ;    ;                                    4
17     14:08:41   '                                      @?                                                           2                    ? 3 ) 4#                                                         14:11:15   '                   E ?                                                             2! ' -                                            ?       #
18     14:08:45                    05                   (6 0                         !           F                                                                                                          14:11:18                    05                 (6 0 0                                      . 4 )#
19     14:08:46                             #                                         4 F                                                                                                                   14:11:19                            #                  0               )                       '                     .                       ?
20     14:08:47                    05                   (6 0                         4 4 )###                                                                                                               14:11:21       2       2                           !                           4#
21     14:08:49                             #                                            !'                  ;I -                      #       G                           4 2                              14:11:23                    05                 (6 0                                 !4 )                4#
22     14:08:53       )                                                          3               -           -)                                                    2                       2!               14:11:24                   #               0
23     14:08:58   ? - - 4                                                                        4            2                    ??                                                                       14:11:25   "#               '!              4 )                    ?               ! @ ; :+%! 4 )                                        !                H)           !
24     14:09:02   ' #                       )                                                            @?                        4                                                                        14:11:29   J                            4                              2            )               )2)              %8! E+7! :*%* ; .
25     14:09:05                                     #                '                           2                            ' !              ) 5                         !                                14:11:35                           2 #J

                               /(                            (=!                     !                   9(                                (6 0                        ( 0                                                       /(                                (=!                          !               9(                               (6 0                         ( 0

                                                    6        0               0 0                             0        0 (6 0                                                                                                                           6           0                   0 0                         0          0 (6 0

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                                                                                                                                                                                                    800                                                                                                                                                                                 802
 1     14:09:10   ; -                               3 3                                      -                    -           - 99                                                                          14:11:36                               4 )                 -                                       ; 2                   2           4 )             ?        F

 2     14:09:13                     05                   (6 0 0                                          ) E                           4                                               );                   14:11:38       #               #

 3     14:09:17                         ;                                            @?                                            -           -                       2                                    14:11:39   "#                                          4 )'                                            ?                                                                   !

 4     14:09:19           3             -               -# 0                             )                        )                                            4 ?                                          14:11:42            4 )4                        3 '                                                     4                            -               0        ?.           F

 5     14:09:24                                                                                  ?                    M                -                           #                                        14:11:46       #           !                   E ;                 3                   #
 6     14:09:26                                 #                                    0               . 4 )!                   ) 5                      #                                                    14:11:50   "#                      2                           '                   :*%* ; .                      ' 4!                4 )             ?                     ; )

 7     14:09:27                     05                   (6 0                            )           ;I -                                                                              -        #           14:11:54                               2 )                                              -                        :*%*                                                  F

 8     14:09:33                                 #                                    0               . 4 )!                   ) 5                      #                                                    14:12:02       #           ?               4 ) H)                                      #

 9     14:09:34                    #                0                                                                                                                                                       14:12:03   "# (. 4#                                        2                        '                       ;        . ' 4 - ) 4 --)                                           !

10     14:09:35   "#                '! 4 )                           ?                                            )                )                                       4 )E3                            14:12:08   '                           '                       0           ?.                                G            )22                !            ?           ?

11     14:09:38           3 '               !                    E                   2               2                ?                                        #               -                            14:12:14       )           4!           '                          !           4 ) ?)                   4 )                  ?       !               ??

12     14:09:41                4 )                  )                4 )                 ?           !                .4 )                     3 '                                                          14:12:18                       4                       2               )                           %8                                                                  !

13     14:09:45                                                           F                                                                                                                                 14:12:21                                           4 )                     ?                                             H) -4                                         2

14     14:09:45       #                 !               - 3                                      3 '                  99 ;                 4       3 '                                                      14:12:26           3                   ' )                 ;                                                         -           F

15     14:09:50                                                           #                                                                                                                                 14:12:28       #               !           4'                              ? ? # 0                          ?            4#

16     14:09:51   "#                        4 )                                                  ) F                                                                                                        14:12:34   "#                               ?                  ;       4                                    ;            . ' 4
17     14:09:53       #                 !                3                                       4;               -           #                                                                             14:12:38   -        2 4 )                       ?                                                                2 '                 )           )       ; F

18     14:09:55   "#                        !                             3 4 )                                                                4;                  -                   .                    14:12:41       #                   -# 0                                            2 - )                     3 ;                     ; .                          4            #

19     14:09:58   ' 4                           4 )2                                                                      ?                2 ?                                         ; .                  14:12:46   "#                  )               ;                                       4                    ?            ;       4

20     14:10:02                             ;                        ; 2                                 ; .              ' 4                                      ; 2                                      14:12:48   ;        . ' 4-                                             4 ) -                   -                         ?                       ; )

21     14:10:05                                                           -.F                                                                                                                               14:12:52               H) -4                                                            2F

22     14:10:11       #                                              ?               2 ?                                           - 3             #               ;               3                E       14:12:54       #       ;           )        4#                 4-              -                        -        -                                   ?        ?

23     14:10:14                ?                2 ?                                  ' 2                                           ; . #                                                                    14:12:59                               2 '                                 ? ? #

24     14:10:19   "# 5 3 4 )                                                             %+&+                     ?                             0              ?.                                           14:13:02   "#               '!             4 )                     ?           !4 )                3 !                   3           ? - !                    .

25     14:10:24           G        F                                                                                                                                                                        14:13:06       ; )                              3              ;           4                           2 2                                       #           4 )

                               /(                                (=!                         !                    9(                               (6 0                                    ( 0                                   /(                                (=!                         !               9(                                (6 0                     ( 0

                                                    6            0               0 0                              0               0 (6 0                                                                                                               6           0                   0 0                      0            0 (6 0

                                                                 0                               0            0(                  (6                                                                                                                               0                               0           0(            (6



                                                                                                                                                                                                                                                                                       9 (Pages 799 to 802)
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                                                                                                                                                                                     803                                                                                                                                                                                              805
 1     14:13:10            -                   F                                                                                                                                           14:16:39           4'                                                                                                 2               -.                          )           4#

 2     14:13:11        #           ;           )        4! 4 #                                                                                                                             14:16:42       #               #

 3     14:13:12    "#                                       .4 )                                                          ?                4              J-                               14:16:42   "#                                   '                           4                                                                                     !               - '

 4     14:13:15                    JF                                                                                                                                                      14:16:45   '                   4 ;                        ;             2                                ?                 '                               4'                         ; )

 5     14:13:15        #                       -#                                                                                                                                          14:16:49   '                            ?        !                      !               4'                             )-                 2# (. 4F

 6     14:13:16    "# (. 4#                                  )           4 ) @?                                                   )                                          -       !     14:16:53                            '! '                        4 )                 3                        )                ! 3                     '

 7     14:13:18    '                                    ? ;                                       -           -               4 )             3 !?                 -)        4             14:16:56           2       ?                          !'                        4               4            -         - !                    4 ) ' 99

 8     14:13:22                    2                    2                        ?         ! ; )                      2                                                  2F                14:17:03   '                        -                   4               4                   -           - !                       !                           3

 9     14:13:27        #                # 0                                      2         ' 3                                                    3                                        14:17:10                       '                )- )                    '                                         2                           '               !'

 10    14:13:38            3                                                         2 H) ?                               ! . -                       !            99        )             14:17:13                                                                                                          2                       2                   F

 11    14:13:46                                                                                       -                                                                                    14:17:16       # (. 4# 0                                ' ; 2                                        '                        2                   ?

 12    14:13:50                        2                K                                                                                         2                - )           ;         14:17:22   3                   #                                        3 2                                           ; - )                                                   2

 13    14:13:58            3            99                  G                                      )                                                      2                                14:17:28   '                                     4E                     3 2                                       !            ;                                      -                4

 14    14:14:06                                         4 )' )                                3                           4 )'                                                       3 #   14:17:32           3 2                                                          -                                                             #

 15    14:14:16                                - )                               - 99                     -                                           2             -        ;             14:17:34                                                    4;                          3 2 )?                                                            4;                      3 2

 16    14:14:19        3                           ' -                   ?                    !                       G               -           ?                                        14:17:41           ' #                                      -                                                    3 4              )-                  -                   2 )

 17    14:14:21    3           -        -           ?                    # 0                      -                                                       4                      2         14:17:53                                                                3                                     ' 3

 18    14:14:28                                         G                    -        ?                   !' -                                        -                          -         14:17:58            -               !4 ).                       '!                          3 !? - !                      '! ' 4!

 19    14:14:34                         23                       !               ; 2 !                                    3 2 ' 4#                                                         14:18:06       @                                      3                          99 @                                     -                                           -

 20    14:14:37    "#                                                )? 4 )                               I)                              )                                                14:18:11   3               !                ?                   !                ?              ?                2                                -               2' 3

 21    14:14:40        2 !                          -            -               4                            ;                               -           #                                14:18:17       -               2' 3                                                                 -)            #

 22    14:14:43                                #            ;;                                            '           .                    ;2              -                     '         14:18:23                                    E 3 4                           -)                  ?            - '                                          -

 23    14:14:47    ;) ! ?                      )            ; 4 ? 4? ?4                                               ? #                     4 )E3                                        14:18:30   '                   )                                                                    4                                             3 !' -

 24    14:14:52    -                                                 4                     '              %9 -                                        ;)                                   14:18:38               -                        E         --) #

 25    14:14:57    ? 4? ?4                                       ?                    '               )                                               :*%*! . 4F                           14:18:39   "#                           - 4 )                                                   ' 3                                                       2

                               /(                               (=!                    !                       9(                                 (6 0                  ( 0                                        /(                            (=!                       !                    9(                                   (6 0                            ( 0

                                                    6           0                    0 0                          0           0 (6 0                                                                                                   6           0               0 0                             0         0 (6 0

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                                                                                                                                                                                     804                                                                                                                                                                                              806
  1     14:15:02       #               #                                                                                                                                                   14:18:42               ?                        4! 4 ) - )                                  3            ' 3                          - )                 -                           )2 !
  2     14:15:02   "#                      )                                 4 )!                                     ?               ??                       G             4             14:18:45                            !            ? !                                                     !                    )                               -.
  3     14:15:05   ; '                         ' ; 2                                  ; '                             ; 2                                  -.                    4         14:18:48                   2                                            F
  4     14:15:09   -                               2 !4 )2                                    @           )           ;                                        ? E                         14:18:50       #           ;        )           4# 0                            '               E3 ;                       4 2                            @?              #
  5     14:15:13               2 F                                                                                                                                                         14:18:55   "#                      2 #                      '! 4 )                          !           4 )            ?              !           3               .
  6     14:15:14       #           ;           )        4#                                                                                                                                 14:19:00       ; ) ' 3                                    -                              ' 3                )? ?                                      )               ;
  7     14:15:15   "#              )           4 )                                                                                                    G             ! ;)                   14:19:05   '               ' 4 #
  8     14:15:19           2               !'                            )?                   ' !'                                3 4 )                                                    14:19:06       #                    -#
  9     14:15:27               2                                     ?                            3               ;               )                                          2             14:19:06   "#                  -.                               2                       ;                !                    4                   F
 10     14:15:30                           2                     2                     F                                                                                                   14:19:10       #               ?        !?                      #
 11     14:15:33       #                   !                    -                                             2 ' 3                                                3                       14:19:11   "# 0                             -.                                              2 '                                       -           4               ;
 12     14:15:36                                    3                    !                        2                                           !'                )                          14:19:15           '                        3                       !                       4            F
 13     14:15:41           -                                                 2                            4                        2                                    -                  14:19:17       #                   !-               -#
 14     14:15:51               '                   - 3                                        2                                   '               -. '                                     14:19:18   "#                               ?           -?                       ' 3                         -                            ' 3
 15     14:15:54       ?? @                         4                                      3 #                                                                                             14:19:20   )? ?                                                 4 )                     - ;                   4 )                 ?               !                   .
 16     14:15:56   "# (. 4#                                                           4                                                                        -                           14:19:24   ? 2 :+! ?? 4                                                         4?                  ;             F
 17     14:16:01               -               -                 ' 3                                                          2               !                         2        2         14:19:28       #           ;        )           4#
 18     14:16:06                                                                      -                                                                                                    14:19:28   "# /)                        @?                                              )       ;            4!                               4?           ?              '
 19     14:16:11           2               4                                          ??                                      G               4F                                           14:19:33           4;                               2               !           )               '4           '                                            2                       !'
 20     14:16:14       #           ;           )        4#                           - 3                          4                       2                -             E                 14:19:38   ' 3                          -                           ' 3                     )? ?                                              #
 21     14:16:19                                                         3 #                                                                                                               14:19:41       # (. 4#                              3                                                                     '                #                          ' 3
 22     14:16:22   "#                      2 #                   '! '                         4 )                         )                       ! --                  2                  14:19:52   -                   ??           -                                                   )- ) ! .                                  -.!                 '
 23     14:16:28               ?                         3 3                 !'                                           4;                      4 )-                                     14:20:00               -#                               ??                  -                                 2 !'                                                    -           2
 24     14:16:31                   .                ?                            4 )              3               3 '             !                            2        ; 2                14:20:08   ' 3                                              -                   2' 3 !                                        ?                   ;        4 --)
 25     14:16:34   '               ?? @                              4           2                        2                                                        ; 2 '                   14:20:16                                    2                               ' 3                      !                        !                            )

                               /(                               (=!                   !                       9(                              (6 0                      ( 0                                        /(                              (=!                         !                   9(                                (6 0                            ( 0

                                                    6           0                0 0                           0           0 (6 0                                                                                                      6           0                   0 0                          0            0 (6 0

                                                                0                         0               0(              (6                                                                                                                       0                               0           0(               (6



                                                                                                                                                                                                                                                           10 (Pages 803 to 806)
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                                                                                                                                                                                               807                                                                                                                                                                                                         809
 1      14:20:24   ' 3                              );              #                                                                                                                                14:22:57                       05                      (6 0                                             #               )E                      '                                   ! ;)
 2      14:20:26                               '!                       99 -                 ;                '                           4 )                                  !                     14:22:59   2                                   ?                   '                                        .               #                                   4 2 2                            !
 3      14:20:31                                                    )                                ;        .                   4               4               - # 0                              14:23:02   E                                       #                    ! ' !                                           ) E                                                 '
 4      14:20:37   )? ?                                                 -               2                             -        2' 3                       - )                  )                     14:23:05   '                                                           4#
 5      14:20:44                                                            );                                2                       -               2' 3 #                                                                        #                0
 6      14:20:48                                    4 )                 3                   @9                ' 3                 -                   2                                              14:23:07   "#                                          '                                3                               '           ' 3                             -                            ' 3
 7      14:20:53   -                   ?                            ' -                          -            -           !- )                        )                                              14:23:11   )? ?                                                                                 '                   ;                   F
 8      14:20:57   &%9                 ' 3 #                                                                                                                                                         14:23:15       # (. 4# 0                                           '                !                       )2                                  I        4              ?           ?                 .
 9      14:20:59   "# (. 4#                                                                  2            -       4!                      '                               ?        ?                 14:23:19       E                   G                   !                    3                           G                   # 5 ' 3 !                                                            )
10      14:21:02           3                                                    )                2;               ! E                             9               K                                  14:23:20           2                                       3                    #                           -                                   '                                        )        -
11      14:21:08   -           -F                                                                                                                                                                    14:23:29               '                   !           ' -                                                  ' 3 #
12      14:21:08       #                   4                        -           2' 3 #                                                                                                               14:23:32                                                           ' 3                                                                              !'                                           .
13      14:21:10   "#                                                   -           2 )              - F                                                                                             14:23:37               -                       ' 4                                                      #                           '                       -       2                        ' 3
14      14:21:12       #               #                                                                                                                                                             14:23:44   '               -                               3            ) 4                                         ? -                                                     ?
15      14:21:13   "#                                           E 2             2                -                            ? 4!                                                                   14:23:52   -                                                        2                               -               #
16      14:21:17       4           4                    -                   ?                !                            3                                           3                              14:23:54                                        '                                   ! 2                     !                       -                       '                   .
17      14:21:20       2 9                              2                                                                     ' 99 '                                      ?                          14:24:00                -                          5 ;                                                                      )       )                   2                           )- ) !
18      14:21:23   '                           - '                  3 F                                                                                                                              14:24:11                           '                       ) ;                                                                              -           2' 3 !' - '
19      14:21:25       #                       -#                           4E               '                            ?       !                                           4;                     14:24:20               -                       ) -                      !'                      -                                               2                               '
20      14:21:29                   '                    !                                                         4; -                                2               #                              14:24:26                           -                           #
21      14:21:32   "# 0                    E '                      '                            2        2                   . 4 )#                                  4        3                     14:24:29                                                   '                                                    ' 3                                                         -            ' 3
22      14:21:34   '                           ?            !                                             !                                   2                   2                                  14:24:37                                                                                                            !               -               2 2                                          #
23      14:21:38       4           4                    -                   ?            ! E 2                    2                       4 '                             ?            F             14:24:44   "#              )                       ?                                                                    E -                                 @           !           4!
24      14:21:41       #                   ! E 2                    2           3 4                                           !                       ###                                            14:24:49   %79                     9? 9                        ) '                       #              E                                   ! E I)                                       3 2
25      14:21:46   "# 0                4-                           3 -                      !                        4-                      3           )                   ?                      14:24:54                                                   -                            4;                      *79                 9? 9                    ) '                      F
                               /(                               (=!                     !                     9(                                  (6 0                        ( 0                                            /(                                         (=!                          !                       9(                                      (6 0                             ( 0
                                                    6           0               0 0                           0               0 (6 0                                                                                                                    6               0                0 0                                     0               0 (6 0
                                                                0                           0            0(                   (6                                                                                                                                        0                                0               0(                   (6


                                                                                                                                                                                               808                                                                                                                                                                                                         810
 1     14:21:51                -           2                        ? F                                                                                                                              14:24:59       #                       -#                  )!4 ).                            '!                 %79                 9? 9                ) '                     -

 2     14:21:52        #                       -#               ;       )           4#                                                                                                               14:25:02           3        ? );                                        ' 3 '                                                   -                   2                           -        2' 3

 3     14:21:52    "#                                                   3                        ?)                                                                                                  14:25:08                           !4 #

 4     14:21:57            2                                                                     2        2                                           )- 99                   3                      14:25:09   "#                              ' 3                          -                                   ' 3                 )? ?                                    )

 5     14:21:58        )-                           2                               4'                                G               F                                                              14:25:14   ;                   !-                                                           )                           3                               -F

 6     14:21:59        #                   !        ?)                      -. 2                                      #                                                                              14:25:18       #               #

 7     14:22:00    "#                  -. 2                                     #                                                                                                                    14:25:20   "#                          ?                                                '               F

 8     14:22:03                                                                 - !                               4               4                   -           -                    ' 3           14:25:22       #                       -#

 9     14:22:15                -                            ' 3                 )? ?                                      )               ;                   !               99                     14:25:22   "#                                                                       4?                      '                           3                       4 )E3 ;

 10    14:22:22    2)                                       -           @               3                         '           3                   '               #       )                4         14:25:56           - ; 2                           ?                                 4 )                                    2 ?                                         4 )E3

 11    14:22:28        -                   '                    2                   3                 '                   F                                                                          14:25:58                   4 23                                4 )                  ?               F

 12    14:22:30        #                   ! 4 )E                       . 2 ; )                               '                                                       ' 3 K                          14:26:00       #           ;           )           4! 4 #

 13    14:22:35        2 F                     ?                4 ) H)                               !?                   #                                                                          14:26:18   "#                  )                               -                    4 )                     ?                       &1%#*7! ' -                                 E        .

 14    14:22:37    "#              2)               '                   E       99 '                 99                                                                                              14:26:23           ?)                                              (! ?                     -)                  4               ?                                   ;                    #

 15    14:22:42                                 #                                           ) 5                   #                                                                                  14:26:41                                                           4 )E3 H)                                                         4 )                 ?       !                            4

 16                                #                0                                                                                                                                                14:26:44           3 ;                                             ;4 ; '                                                            #                                      @

 17    14:22:43    "#                  4;                                                4 )                              !                                                   . 2                    14:26:49   J0 '                                ;                   -)                   ) -                         4J 99 J                     ) -                     4

 18    14:22:46    H)                          ; -.#                                                                                                                                                 14:26:52           H)                               3                                   ) J 99

 19    14:22:47                                 #                                       I)                                            .                   -                        !                 14:26:52                       05                  (6 0                         E                       4!              #               # 0                 E

 20    14:22:47                            4#           .           '           E                    @?                           -           ;               ! ;)                         .         14:26:54       ;I -                    #

 21    14:22:50        3               #            G           ' )                 ?                     H)                                                          -                              14:26:54                                               !           F

 22    14:22:53    )                                            H)                      #                                                                                                            14:26:55                                   #                                                !               ) 5                     # E                         )               '

 23    14:22:55                                 #               0 (;3 ) 4!                                        .                   ;           4#                                                 14:26:57                                       H)                           2               2               2! ;)                                           ;

 24    14:22:56                    #                0                                                                                                                                                14:27:00   H)                                                  @?                               4               2)                      #

 25    14:22:56    "# 5 '                                           '               99                                                                                                               14:27:04                                   #               0 0                      E           ) ! ;)                          E                           -

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                                                                                                                                                                                                                                                                             11 (Pages 807 to 810)
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                                                                                                                                                                                            811                                                                                                                                                                                               813
 1      14:27:06   ? 3                                                      ? -                                      ?                         .           ; )                                    14:30:02                    2 !' -                            99          2                       4 )                   E '                                 ; 2
 2      14:27:08                       2#                                                                                                                                                         14:30:10           3                '                                                 )2                      -            ! ;) '                                       ?
 3      14:27:09                       05                   (6 0                                !                ?           2                 2)                          ' ;                    14:30:14               ; 2                       3 2                      ' 4                 ' 4                                           -.                  ' 4
 4      14:27:11       4 I ;#                   ) 4 )E                                  . 2                           '              ??                                -        F                 14:30:19                    ; 2 #
 5      14:27:14                                #                   0           E            ; )                         .               ; )                   ?                                  14:30:19   "#                       23                                2                               2                                         !
 6      14:27:17   J           )                    4E                          ;            2              '            ' 4                           ;           . ;4 '                         14:30:22           2                                  2           2           2                   4            ' !                                      ?           2
 7      14:27:22   -)                                           )-                          ?                23                      !J ' -                '                   ' E3               14:30:27           2                4 -                   F
 8      14:27:26   ;                       . 2 ; )#                                                                                                                                               14:30:29       #             2                   4           ' !                      E 3 4 99                              )           )                           3 2
 9      14:27:28                       05                   (6 0                        E               '             H)                  #                                                       14:30:38   ?) ?                     #
 10     14:27:28                                #                   0 (. 4#                                                                                                                       14:30:39   "# < 3                                                 2                       !           4 ))                                              !               E3
 11                                    #               0                                                                                                                                          14:30:41           .        4 )                           )                   ;                                            2 9                              2
 12     14:27:29   "#                  '!                               2)                              .        ; )                          23                       !                          14:30:44                                !             99 ;                2                           ; ) '                                         ?
 13     14:27:31   4 )E3 -                                              4 )                  ?          #                                                                                         14:30:51   )                2;                                        2 !'                     E 4 )                    ?
 14     14:27:33                                        E               ?                    !                               2                 2                   ?            !                 14:30:57               H) -4                                                  2                                        ?        ?                   3 2
 15     14:27:36                                                    )           4 )E3 ;                                  . 2 ; )!                                  -)           2                 14:31:01       -        4                            3 2                  .                   F
 16     14:27:39   3                                            )                   4E                      ;        2               '        ' 4                               ;       . ;4      14:31:03       #            '                ;           )        4           3 4?                                              2           )               #                   4
 17     14:27:46   '               ! -)                             !               )-                       ?               23                F 5 '                                              14:31:09   '                        4-                                            4           ? -                                       !           3 2
 18     14:27:48   ? 4                     '            '                   4 )E3 ;                                  . 2 ; )F                                                                     14:31:17               99                                                 !                                        - 3                      !' - - )
 19     14:27:49       #                   ! ;                  )            4!                             2)                   !            4!               -                                  14:31:23   ?           3 4                       4#
 20     14:27:53                   !                -                   - ! ?? ?                                             -                                 #               4;     4-          14:31:25   "#                                4?                                       2                   2                                     .                       ) !
 21     14:27:57               G                                    99                  3                                '                     3           ' 4                                    14:31:28    3           ;                                                             ) -                         '             F
 22     14:28:03           -.! E                                                            2           )            )               !                 ' ;                                        14:31:31       #        ;            )           4#           '                   ? ? #
 23     14:28:12   '                   )                                )2                                   2                            -.#                                                     14:31:33   "#                                4?                    ) -                        99                        2                   2                                       .
 24     14:28:14   "#                                       4                                                    -       -                '                                4?                     14:31:36                    )                    ?4                       3                                   -                 F
 25     14:28:19       4               4                    -                       4 )E3 ;                                  - ; 2                         4;                                     14:31:39       #        ;            )           4#           E I)                @                       4             ?               4                   @                       4

                               /(                                   (=!                         !                    9(                         (6 0                           ( 0                                        /(                            (=!                     !                       9(                                    (6 0                        ( 0

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                                                                                                                                                                                            812                                                                                                                                                                                               814
 1     14:28:24                            2F                                                                                                                                                     14:31:46   ?                                     -                #

 2     14:28:24        #           ;            )               4#                                                                                                                                14:31:58   "#               '! 4 )E3                                          #<                      E            ?        !                   .4 )                        !

 3     14:28:25    "#                                           4 99                                        E                                  99                                   E             14:32:02                     I)                               - 2 4 )!                                    -             .4 )                    H)                      # 5

 4     14:28:29            -                                ) -                                                      ? ?                           !               F                              14:32:05           .        ; )                       ?                                                       ?

 5     14:28:31        # 0                                          -                                                    2)                    #                                                  14:32:08   ,19               9? 9                    ) '                  #               4 )                  -                    F

 6     14:28:46    "#                      4 )                  ?                   ! 23                                                  4                                     ' ; 2             14:32:11       #                #

 7     14:28:53    '                           4                                                    -                    !                                                              !         14:32:11   "# (. 4# 54                                        4               - 4!                                     )                                4 )-                    -

 8     14:28:56                '                    2                                   ; 3                                      !                     4'                            '            14:32:15           -                                         ?        ' - ' )                                  - )                                                  ? - 3

 9     14:28:59                                2            ?                                    ; ) '                                    ?        !                           ' - '              14:32:20                    '                F

10
10     14:29:05            ?               2                !                       .4 )                         !'              E                         99 '                 E                 14:32:21       #                #        4            3                                        '                                            -                99                 4

11
11     14:29:09        2           -            -                                       ?           2                                    4 )           ?                        ; )               14:32:30           -                             #

12
12     14:29:12                    H) -4                                                                2F                                                                                        14:32:31   "#                   '                - )              - )                                              2                    ! ;)

13
13     14:29:14        #           E 99                                 ?           2                   '                            ?                                                            14:32:34       4            4                - - )                    - )                                               ' F

14
14     14:29:21                ; 2                                  2                                       -.!                  )-                                - '                            14:32:37       #                                                 !4 #

15
15     14:29:28    )2;                                  ?                   G                                                        )                             ?'                             14:32:38   "# (                     -            ;                                            ' F

16
16     14:29:35            2 # 0                                                    !        '                                            ;                ?           2                          14:32:40       #                #

17
17     14:29:39            -                       4                                    2               #                                                                                         14:32:41   "#                       ?            ;                        4 @ - 4'                                 !        '!                  ' 4

18
18     14:29:43    "#                                       ?           2 99                        ; '                                                ' )                      3 ;               14:32:44                    2                    F

19
19     14:29:48    ? ?                         -)                                           2 F                                                                                                   14:32:49       #            !)                       '                    99 '                                 '                                            -                   '

20
20     14:29:50        #                   #                                                                                                                                                      14:32:55       99 ' -                       2                             3 4-                            4#

21
21     14:29:51    "#                      ?                    -)                          ; '                                  ' 3                       F                                      14:32:58   "#                                        4            2                                       2                 2                       ?           !        4 )

22
22     14:29:54        #                   #                                                                                                                                                      14:33:00    @?                      - !                           .                                                4                            -               0           ?.

23
23     14:29:55    "#                      ?            2                           '                   4?                                 2!                                                     14:33:05           ?         ; F

24
24     14:29:58    ? ?                         -)               F                                                                                                                                 14:33:06       #            #

25
25     14:30:00        #                       ! E                                      2                   99           2                      -              #           E                      14:33:18   "# (. 4#                              '! 4 )                                                        -                                                    4 )                 ?   !

                                   /(                                   (=!                         !                    9(                                (6 0                      ( 0                                  /(                            (=!                     !                    9(                                   (6 0                        ( 0

                                                            6           0                   0 0                              0           0 (6 0                                                                                               6         0               0 0                             0                0 (6 0

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                                                                                                                                                                                                                                                                   12 (Pages 811 to 814)
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                                                                                                                                                                                               815                                                                                                                                                                                        817
  1     14:33:21           3 2                                                                        2                2                            4 )E3                    .             ; )       14:36:55   2                   4 )                          ;                   4 )                              2
  2     14:33:25   ;                        2                         3               #                                                                                                              14:36:59   3                    2               2           -           F
  3     14:33:27                                 4'                       4 )                 -                                                             -                                  ;     14:37:00       #                       -#            - )                '                            4               G                                    ) -
  4     14:33:30   23                       ;                         2F                                                                                                                             14:37:04   '               ??           -           2!                  4               )                3 ?
  5     14:33:32       #                    ! E 3 4-                                                                                ;3 )                              '                              14:37:10                                -                                               !        -)              2! - )                        4               . 2
  6     14:33:40           ? ?                                        -                   ; 2                                           '                                                            14:37:16       -                       ? 3                  '                        ) ? -                           '                        ) -
  7     14:33:48           2                                       -.                 );                          ! .               2                       # 0          4                           14:37:21   2               2-               #
  8     14:33:53               E            .                 4                   #                   !                         !           4               )             3          ??              14:37:22   "#                  '! E                          2          2               2                     '                       4               )             3
  9     14:34:02           4                     ?                        )-                                                            2                                -. #                        14:37:25           ??              )                     2                                                                        !; - )                                     .
 10     14:34:08                                     !            - )             !                           ?             2' )                        ;            ;               !               14:37:28               E ;                  - 3                     ;4               #<                                   4#
 11     14:34:11           -                                  ; 2                                                     );            ) !                         );           ;                       14:37:30                           )                         I)                 .4 )                                     )            2
 12     14:34:17                   ' 2                   . #                      E 3 4                           4        ;                            ' #                            4             14:37:34   ?                   )        2                )                       2               4           -                    4;                   4             )               ?#
 13     14:34:23   - )                      3                 )-                                                                3                                        -.                          14:37:38       '               4 )                  )                           )                                            ?                                                   2
 14     14:34:29                    ;4 7+ ? -                                                         #                                                                                              14:37:42           4                         4-                 ?                   )                     2!                                          '
 15     14:34:31   "# (. 4#                                   E I)                        4 99 4 )                         99           E           . ; )!                                           14:37:46                        ;       ; - )                           '               ;                                     3
 16     14:34:34               !'                            4 );                                 '           '            4 )E                 -                ?               2                   14:37:50   ?                   49)                              3                                2) ;                    -                            '              #
 17     14:34:38   ;                        2F                                    4 )                     . 2 ; )F                                                                                   14:37:54                               E I)                         )        !              4!           4           -                             ?
 18     14:34:40       #                    !                 99                      ??              ; 2 # 0                       4           3                 );                 ) !             14:37:55   )                       2            ' 4                         )2                                               ; 2                       2
 19     14:34:44           3                    );                ;                               .               ' 2                   . #                                                          14:37:59                                                         '                           4' )                                     #
 20     14:34:49   "#               E                    4#               );          ;                               . 99                                                                           14:38:02                               99 '                                         -            H)              -
 21     14:34:52       # 0                  . 99                                                                                                                                                     14:38:07                   ;       4        !        4!                 3                    3                    )                       -                '
 22     14:34:52   "               99                ' 2                      . F                                                                                                                    14:38:10       ';               F
 23     14:34:52               99                    ' 2                      . # 0                   4                3                                                              ' 2            14:38:12       #                                                        -               ' 2!                     ? ;                  '                        3 #
 24     14:34:58           .                                                      -.#                             4-                ?                                                99              14:38:19   "#                           2 4?                                - 4!                 '                           4'                2           2                 .
 25     14:35:02                                - 3                           ?)                                       ? '                  ?) ?                      ?) ?! 4 )                      14:38:21       '                        C                                       ;4                                            ??              3        99

                                   /(                              (=!                        !                   9(                                (6 0                      ( 0                                               /(                        (=!                        !                    9(                                   (6 0                   ( 0

                                                         6         0               0 0                            0         0 (6 0                                                                                                               6        0                  0 0                           0              0 (6 0

                                                                   0                              0           0(           (6                                                                                                                             0                              0            0(                  (6



                                                                                                                                                                                               816                                                                                                                                                                                        818
  1     14:35:09   .           '! '                                                   -                                    ;        43 4                         4#                       4          14:38:25   4 ))                                         '                                        !;                                                    4 )E3
  2     14:35:18   - )                      3 ;                                               ; 2 ;4                            2'                  ;                 '                              14:38:27           3 '              F
  3     14:35:23   3 4                      4!                        )-                              3                                         -.#                                                  14:38:28       #                !4 #
  4     14:35:29   "# (. 4#                                   '! ' 4 I)                                       3            ? - !                                 ? -                                 14:38:28   "#                   )               ;           2                           -                            -                    )-                    ;        4
  5     14:35:33   ; '                          99                M                       ? -                 ; '                                   );               ) !                             14:38:32   ? ;                                       - )                                    3 ;                              3                             -
  6     14:35:36           I)           ? )                  2'                                                   ) F                                                                                14:38:35               C                                                    2                        ;                                F
  7     14:35:39       #                    ! E ?                         ;                               #       ) ?)                  2'                                                           14:38:38       #                        '                       3 #                  ' )                                 3                4               ;      4
  8     14:35:47                        ) '                       3           ) 4                     )-                        ;           4                    ; 2                                 14:38:42   ? ;                                  4.                  # 0                          4? ;                                          2          '' ;
  9     14:35:56       E                        -                                 !; - )                          '                 -                             )           - #                    14:38:47               -                             ;           4! ; - )                                    ; 2 '                                             '
 10     14:36:00                                             . !                  ' 2                     .                                 );              ;                    -         ;         14:38:52   )2;                     ? ?               4                               2                    -              ' 2                      ?         '                    #
 11     14:36:05   ;                            '                         ? ;                     !                                         2                ;        4#                             14:38:57   "# (. 4#                                 '! 4 )E3                                     23                          ?                     4 )                   ?
 12     14:36:08   "# (. 4#                                   '                    E -                ?                                         ;       4                     ; 2                    14:39:02                                                    2           ?                                    )                3 ;                           );           #
 13     14:36:11           ' I)                 ;                                 3               ? -                                       );              ) F                                      14:39:05       2 F
 14     14:36:15       #            ;           )            4#                           ?                       ;    4#                                                                            14:39:05                                    '                                -                           !                                            &1%#87! 4 )
 15     14:36:17   "# 0 ;                                     !           )2 ! 3                                   3                                            );               ) !                 14:39:14           ''                                   .               ; )                              2                3                   ;                 ; '
 16     14:36:22   4 )                  3                         3                       ?                   2            4 )              3                    2           ?) ?                    14:39:18                   #
 17     14:36:25       H) ?                                                   2                                   F                                                                                  14:39:19                                                                         2                       2                   ?            !'
 18     14:36:27       #                        -#                                                                                                                                                   14:39:22                            4 )                                                     '4 )                                  3                ; '                               !
 19     14:36:27   "#                   )                E                        4               -                                             @                          F                         14:39:26   '                                    E                                -               2                       F
 20     14:36:30       #                    !                                 4           3                       3 ?) ? !                                   4-              -                       14:39:29       #                   !                 !                                                                                <)                                 4
 21     14:36:35               99                             3 43                                        3 ?) ? ' -                                         4-              ?) ?                    14:39:41                                4' ;                                     );                                      2        - ? - 4
 22     14:36:40   '                #                         4- )                                                     3-                               )2;                                          14:39:47                       2                         ;                                               -                   ; 2
 23     14:36:47   3                                                      #                                                                                                                          14:39:53   ?                                             -.                                      ' 2 ' 4                                                       -.#
 24     14:36:48   "# (. 4#                                   '! 4 )                                  -)                    4 )                     ?                    ?                           14:39:58   "#                      !            )               2                                '                        4? ?                                      3
 25     14:36:51                            )                         2               )                   3 ;                       ??              ;                            99                  14:40:03                                                    4 ?)                            '

                                   /(                              (=!                        !                   9(                                (6 0                      ( 0                                               /(                        (=!                         !                    9(                                  (6 0                       ( 0

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                                                                                                                                                                                    819                                                                                                                                                                                                     821
 1     14:40:06       @            2                                                           !'                                                                                               14:44:13                                #                   0                                    4; ' -                                             2            I)
 2     14:40:10                3                       2                                                       '                                             ; 2 F                              14:44:16   ; !             #            4               #
 3     14:40:14       #                    !       '                          ;                -                            4               );                                                  14:44:22                   #                0
 4     14:40:22                    - ? - 4                                                                                                                      4           2                   14:44:22   "#                               I                               4 )E                             . 2 ; )                                             ' - ' 99
 5     14:40:26   '                                                     #                                                                                                                       14:44:26               3            -               )           - 2                      2           '                                  2 )                                 '                   F
 6     14:40:28                                - )                                             ! 4 )E                   3                                   2                                   14:44:30       #               #            E -                                              ?- )                                                   '                 '
 7     14:40:33   '                            2            ;4 ) ! ' )                        ;                    2!                                   ; 2 ' )                                 14:44:37               ; -                              ?                        ! -) #
 8     14:40:39           3           ' 4                                         -.                                    ; 2                     '                       -                   #   14:44:39   "#                                   - )                     )                        G '                         4 )E                       4 2!                        4!
 9     14:40:43   "#                                                        2 2           2        ;                H)                          2                   ;                           14:44:43                   ?            2                                   3                                                     ?             !
10     14:40:46               !                        - ;              F                                                                                                                       14:44:49           2                        ?                                                    F
11     14:40:49       # 0                                       !                                           3                           3               ' 4                                     14:44:51       #                       -#
12     14:40:54                    -.                                                     ; 2               '                       -                    #                                      14:44:52   "#                                                           E            '                               '                                       2                  F
13     14:40:59   "#                                        .           4 )           ?            4 )E3                                                - -)                                    14:44:54       #                       -#
14     14:41:01       ; )                                  -                          3 2                                               2                                    -                  14:44:55   "# (. 4#                                     '                        ??                                      !'                 3                    99
15     14:41:06            F                                                                                                                                                                    14:45:00   -           9 99 4 ) -                                                            -                   ) 4F
16     14:41:07       # > 4;                                4#                   E .          '         E                   4           ?           #                                           14:45:03       #               #
17     14:41:11   "# (. 4#                                  ' 99 ;)                                                     3 2                     2        ?                                      14:45:04   "#                                                   .                                            2                   '      .                                           ?
18     14:41:16                -                                    '                 )       H)                        2 !'                                                            3       14:45:07                   ' F
19     14:41:21                                         );                            ?            '-                               !               ' F                                         14:45:08       #                   !            #           E                    )- )                                -                 ) 4                              .
20     14:41:29       #                    ! E                      -              '               4'                           -           # 0                 . 4                             14:45:12       -                   '            .! ; - )                                                                      -                 ;                2                  3 4
21     14:41:34           4                )                3                                          );                                       2            - ? - 4                            14:45:18           4#
22     14:41:40                                 ;                                             ; 2 #                                                                                             14:45:19   "#                       4 )E3                                            #>                  3               E                              4F
23     14:41:43   "#                                                2                     ?                                     2                       2                   ?                   14:45:23       #           ?                !?                      #
24     14:41:45           4 ) -                 -               F                                                                                                                               14:45:24   "#                  )E3                                      #>               3               E                             4F
25     14:41:46       #                #                                                                                                                                                        14:45:26       #               ! ;                  )               4#
                               /(                               (=!               !                 9(                                  (6 0                         ( 0                                               /(                                   (=!                          !                       9(                                     (6 0                        ( 0
                                                    6           0            0 0                       0           0 (6 0                                                                                                                   6               0                0 0                                     0            0 (6 0
                                                                0                     0            0(              (6                                                                                                                                       0                                0               0(                   (6


                                                                                                                                                                                    820                                                                                                                                                                                                     822
 1     14:41:53   "#                  '!                3 2                                   '                 )                       4 )E3                       -)                          14:45:27   "#                           4 )                     )                                    E               2        '

 2     14:41:58   4 )                 ?            #                                                                                                                                            14:45:31                        ' 4                                  ;)                      2                       ; -.                                                        '

 3     14:42:00                                                     4 )                       ?) 4 )                                    99 E                            2        2              14:45:33                            2                           .                .               -                                     ; 2 -                                        )2

 4     14:42:02           2                    )2                   3 4           2 4 )E3                      3 '                  # E                  3                  #                   14:45:36           ' !                      '                                    -                   - '                                                    2

 5     14:42:06                                 4 )                               4 )                              )2                                               4 )                         14:45:39   ?                                                    )                                '                                ?             F
 6     14:42:08           ?                             4 )                 3 '           !         4 )E3                                               4 )                 ?        !          14:45:43       #               ;            )                       -            #                   -               ; - )                                  -                -          ;

 7     14:42:13                    3 99                     23 4 )                            )2                                                23                          @?                  14:45:49                                    ?                   2 ? #                                                    '                              2!              - )                 3

 8     14:42:17       ?                        ; )                      - )                            '                    )               F                                                   14:45:53                                    )                   3 4                          4#

 9     14:42:19       #           ;            )        4#                                                                                                                                      14:45:57   "# (. 4#                                 '!              '                                4                       ) !                                ' '

10     14:42:23   "#                       4 )                      -)                                                      3 '                 -)                                              14:46:03                   ?                            I -                                  '                                2             ' !'                        ' )

11     14:42:29       )                                                           - )                      '                    ) F                                                             14:46:09                                                                ' F

12     14:42:32       #                #                                                                                                                                                        14:46:12       #                ! ;                     3                   99               )                               '              J            ?               J 99

13     14:42:34   "#                  '! 2                  2                                               ;           - # /)                          )                   G                   14:46:19   ;           3                    ?                   '                        -                                         !                -               )                   2

14     14:42:42   ;            4                                    )        '            4 )              ?                4                       4 )              ?                          14:46:27                        3                   ?                   !-                       2 2 ? ;4 ?)                                        2            ?

15     14:42:45                ; )                                   )                                      ;           - #                                                                     14:46:36                       -                                    ?                                            '            -         #

16     14:42:49       #                    !                        )        2                                     ;            -                                                               14:46:40   "# (. 4#                                 '                                        -                                     '                        99          )
17     14:43:04   ;           -                        '                                  -            ) 4! ; - )                                                               ?           2   14:46:45                                                             '                       !                                ; -.! 4 )                         4

18     14:43:13   '                   ; ) %,                                           2 !'                                                 -                           4           3           14:46:50   -                           2 ?!                                 2            2 ?; '                                             ;                               '

19     14:43:24   ?           2 ,7                      #                         ??                                '           '                       2               '                       14:46:54                               ?                                                         3           F

20     14:43:35               ? ? #                                     '                      I               -                    ? -!                            '               2           14:46:56       #                    -#                               '                                                                      3       #

21     14:43:48   '                        );               !                                 - -. 2!                                   ??                      .                               14:47:00   "#                                       '                       ??                   F                                              2 ?F

22     14:43:54   ; 2 -                             -                        ?        2                '                                                     -              2                   14:47:02       #                !                                    4                           -?                      )        '                     42

23     14:44:03   -                ) 4#                                                                                                                                                         14:47:10   ;                                                            ?                         ' 99                       ?)                         4           ) -

24     14:44:03   "#                                                    )? 4 )                     ?) )? @ ; ,*$! 2)                                                        %!                  14:47:17   ?           )                                                                                                          ?             -

25     14:44:08           .4 )                              E '                  4 )E                  . 2 ; )#                                                                                 14:47:24       3       !                                                                                     )                                                      -

                               /(                                   (=!               !                9(                                       (6 0                        ( 0                                        /(                               (=!                          !                       9(                                 (6 0                        ( 0

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                                                                    0                     0         0(              (6                                                                                                                                  0                                0           0(                      (6



                                                                                                                                                                                                                                                                    14 (Pages 819 to 822)
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                                                                                                                                                                                                     823                                                                                                                                                                         825
  1     14:47:39   I               #                                                                                                                                                                       14:51:18                 -                   2             )                                                             .           3
  2     14:47:39   "#                              E       2            2                       '               ' 4 ) @ ; ,8*! ? 2 &,# E                                                                   14:51:21                         '                -            2                )2                  ' #                   4 )                             ;
  3     14:47:44   2            2                      .4 )'                            E                       2               -       -                       ?               !' -                       14:51:24                        4F
  4     14:47:48                                   2'                       ' I)                        '                               - -.                            99 E                               14:51:25    #               !4 #
  5     14:47:53               4#                      2                        .4 )                        H)                              ; )                             ?                #             14:51:25   "#                             )           2        E -                  - '                              4 '                                  ''
  6     14:47:57                                   #                0                #              4           !' )                    4 );                2           ; -. )?F                           14:51:29   '            ;                -             2 3                          -            2 )?                            ;
  7     14:48:00   2                                                4               I)                                  ; #                                                                                14:51:35            ' !                               -                         '                        -                   4 )E3 I)
  8                                    #                   0                                                                                                                                               14:51:42        - ;              F
  9     14:48:03   "# <                        2 ; -.                       '                                           E @ ; ,*$! '                                    E                                  14:51:42    #               #
 10     14:48:08       2            -              -                                -                                   ?                           '                                                      14:51:43   "#                                )??                        -                    4 )E3 I)                                - ;          F
 11     14:48:11                                           2)                           E                                                   -           ) 4                         4 )                    14:51:45    #               #
 12     14:48:14   I)                          )           ; )!                         .               .       E                           2 )? ?                  4                2                     14:51:46   "#                                @?                                     2                        ?           2 ? F
 13     14:48:20                3              -                        F                                                                                                                                  14:51:57    #               #
 14     14:48:22                    ;              )           4#                               )               );                  #                                                                      14:51:58   "#            '!                   '                    3                                     99 4 )E3                        3 '
 15     14:48:23   "#                                               4               -                   !                                           )            );                                        14:51:59                                     ; )                   '                    3                        -
 16     14:48:26           -                                    '                                           '                               2; - )                              99                         14:52:03            ;           - F
 17     14:48:29   '                               2;                                       -               -                       4                   F                                                  14:52:04    #               #
 18     14:48:33       #                           '                        3 #                     E       ;           )           4               3 ; !                            3                     14:52:04   "#                        E            ? 2 &8                        4 )             ?        #       )           !               99
 19     14:48:39   ;                               -                            !' -                                -                                                   2            3                     14:52:07        4 )                           G !          7 ++ # #                         '        &+              &+ &M%                               '
 20     14:48:45           3 ?)                                                                                 '                               -           -                ; '                           14:52:13                -                F
 21     14:48:53       '                               ?                                                                                -               )                                                  14:52:13    #               #
 22     14:49:00   - -.#                                                                                                                                                                                   14:52:14   "# * ++ # #                                ' )                   3 ;                  &% &M%F
 23     14:49:00   "# <                        2 ; -.                       '                       @ ; ,8*! ? 2 &,#                                                                                       14:52:17    #               #
 24     14:49:06                                           . 99                         '!                  )               2' E                                99                                         14:52:17   "#                    4 )E3                                                                       #                           4 )          ?
 25     14:49:11        .                                           ?           ? - 3                                           - -. ' I)                               .                                  14:52:19    ; )                                                '                 ' -                                 )       '                                F

                                /(                                  (=!                         !                       9(                              (6 0                         ( 0                                       /(                            (=!                  !                    9(                            (6 0                        ( 0

                                                           6        0                   0 0                                 0           0 (6 0                                                                                                      6        0            0 0                          0            0 (6 0

                                                                    0                                   0           0(                  (6                                                                                                                    0                       0            0(           (6



                                                                                                                                                                                                     824                                                                                                                                                                         826
 1      14:49:15                                   @ ;                      . 2                     ) # 5 '                                             99                               3                 14:52:24    #                    !                     )       '                                                             3 4              '
 2      14:49:18                           #>              3                        - ;                             )                           ; ' 2                                                      14:52:31        3                                     '            !' -                          -                                                ;
 3      14:49:24            )                                  '                    '                                                   ?           F                                                      14:52:35                                 ) !' -                                     ; 2 !                                2                        )
 4      14:49:28       #                       !               ?                                ' -                         4               )                   ? 2 '                                      14:52:42                             ?                                              ;        - #
 5      14:49:35           ?                           @?                                                                   ) #                 - )                         ?                2 ?           14:52:44   "# 0                                   '                2            '           &7               K                       -            -F
 6      14:49:44               '                                                    )                                                                   ;           - !                          '         14:52:46    #                #
 7      14:49:52                    '                           -           -                   ?                   2               2                           4           ) -                            14:52:47   "#                            7 ++ # #!                                  '                    &+              &+ &M%                       !
 8      14:50:06   ?               ) #                                                                                                                                                                     14:52:51            '                        &7                        );                        4 ; 3                                   ?
 9      14:50:06                                                                                                !                                                                                          14:52:54   '             ;)                       '                     ' 3                 -        F
10      14:50:09   ;            - !                                         ?               2                       !               -           2                       ? 2                                14:52:57    #                        -#           ;        )           4#
11      14:50:18   '            99                                                                      -                                                                                                  14:52:58   "# (. 4#
12      14:50:25   ;            -                                                                                                                   )               )                                      14:52:59                                              )                                 24 )-                        - 4                     '
13      14:50:31   ; 2 ?)                                  2                                            ?               #                                                                                  14:53:03   '                    3                 &+           &+ &M%                       !4 )' )                                           3                   )2
14      14:50:35   "#                      !                   -!' -                                                                -                               ?                2 ?                   14:53:07    4                        -            -        @            2                            -           ?                        ' F
15      14:50:38                                                            ?                   '               ?)                  -           ?           4 )                                            14:53:12    #            '               -                     99 -                                          4? ! 4                          ,:!                       2
16      14:50:40   2 )                                          '               -               ?           F                                                                                              14:53:15   ) ) ) #
17      14:50:42       #                   #                                                                                                                                                               14:53:16   "#                                 E                -                            '                    ?                                    3           -
18      14:50:42   "#                                          )                                    '               4 )E                        4 2!                                                       14:53:20            2           )? 2                  '                                                          ; .                     -                -
19      14:50:48   )                               ? 2                                      )                                           )                   ' E                      . 2                   14:53:25        -                ) 4F
20      14:50:51        !                              )                            2 ?                         '                   ;           2 ;          99                 2 ?                        14:53:26    #                !-                   -#
21      14:50:55   -                       ;4                           ? -!                            ' 2'                                    2                           )                              14:53:26   "#                            -                         4                        -?               )                            -
22      14:51:00                       -                                    ' F                                                                                                                            14:53:30   ' !'                                   3 F
23      14:51:02       #            ;              )           4#                                                                                                                                          14:53:31    #                    !                ? ;                  '                    3 #
24      14:51:04   "#                                  99 4 )E3                                                                             4               #0           4                       !         14:53:46   "#                                                      ?                             ?               2 ? ' E                                  . 2
25      14:51:13                '                      ' ' . )?                                                             E '                                                 !            2             14:53:50            -            -                                                              '                                F
                                /(                                  (=!                         !                       9(                              (6 0                         ( 0                                           /(                            (=!                   !                   9(                               (6 0                         ( 0
                                                           6        0                   0 0                                 0           0 (6 0                                                                                                          6        0            0 0                           0           0 (6 0
                                                                    0                                   0           0(                  (6                                                                                                                       0                         0           0(               (6



                                                                                                                                                                                                                                                                      15 (Pages 823 to 826)
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                                                                                                                                                                                                  827                                                                                                                                                                               829
 1     14:53:52       # 0                 4               3                                       -.                               3            ? !                              ?                      14:57:20                           05                  (6 0                                          -           !'              '                            G
 2     14:53:58           3                                               @ ?                          ?)                           ' ;4                             - 3                                14:57:22           2                                                ;            - ! ?? @                                    4F                   4 )             - F
 3     14:54:05               2                                                       -.#                                                                                                               14:57:27                           05                   0                            ?? @                            4 %$+                    #
 4     14:54:08   "#                                  4           -                   .               2                F                                                                                14:57:27                           05                  (6 0                          2 # 0                        . 4 )#
 5     14:54:09       #                   #                                                                                                                                                             14:57:27                       #                   0
 6     14:54:10   "#              .                        4              2                                   4                    99                                                                   14:57:27   "#                                                   2           !' )                         ; 99
 7     14:54:13       #           ;               )            4#                                                                                                                                       14:57:27                           05                  (6 0                      )               %$+K -                      -F
 8     14:54:14   "#                  !               '! '                        '                   3                    ;            .                       ? 3 )                      @ ;          14:57:38                           05                   0                                #
 9     14:54:18                       ?                   '                               '                                             3               - !'                              !             14:57:38                           05                  (6 0 %9$9+F
10     14:54:22   4 )             ?                       !                       ? -                 --)                  !'                               -                                           14:57:39                           05                   0                                ! %$+#                              ?        ?           -
11     14:54:25           3 99 '                                                              -                   ! 23                                                                        '         14:57:39   ,++                         #           E 3 4-                        #
12     14:54:28                               .                     2                                  ' E3                        '                        ;            .                    ?         14:57:45                                   #                (                        E -                  ; -.                            !           ) 5                   #
13     14:54:31                   -                   ) 4F                                                                                                                                              14:57:47               . E                                  ; 2#
14     14:54:32       #                       !                   .           .                           .                        '            !               '                )        !             14:57:49                           05                  (6 0                          2 # 0                        . 4 )#
15     14:54:39                       - -.                              ?                 #           )                                     -.                                                                                         #                   0
16     14:54:48   );                                  4                 -#                                         )                             -                   -           ; '                    14:57:51   "#                              ' )               ;                       2           -        -                       '                       3
17     14:54:54                                                       ?                                                2                    ?               '                             )             14:57:54   -                                                    4 )                                                      )        --)
18     14:55:02                                                                   - -.                                 ' !' -                                   -                )                      14:57:59           )                                        )                ? ? 2                            )                   ) F
19     14:55:08                       2                                   4                           -?                   )               -                     #                                      14:58:04       #           E                       4#           ?           4 ) H)                                #
20     14:55:12   "#                  '! '                                        '                                ? -                              E                    2               99             14:58:06   "#              E               )            '           ;            4 ?) #
21     14:55:16       #                   #                                                                                                                                                             14:58:10                                           . E ;                     4 )                 ?                           ;4
22     14:55:17   "# 99                                               E '                                              -           !                            ?            )                          14:58:12           )           ;               -            ??               !               '                       3       '                    2
23     14:55:21    @                              2                                                    -.                      )- ) F                                                                   14:58:16   -                                                                                             ;           - F
24     14:55:25       #                       !4 # 0                                                                   '                3               ' 99                              -             14:58:18       #                           -#               '       2            2 )?                                        #
25     14:55:35           ? - !                            E -                    !                   '                        -                         4?                  -                          14:58:19   "#                                          ' )               -                                    4                   -               - F
                              /(                                      (=!                         !                    9(                                       (6 0                     ( 0                                       /(                               (=!                  !                    9(                                  (6 0                         ( 0
                                                          6           0               0 0                                  0            0 (6 0                                                                                                             6        0            0 0                              0           0 (6 0
                                                                      0                               0            0(                  (6                                                                                                                           0                        0           0(                   (6


                                                                                                                                                                                                  828                                                                                                                                                                               830
  1    14:55:42                                       99                              3           2                -       ?                                    ?)                            '         14:58:21       #                   #
  2    14:55:51       -                                    !                                                                                     ?              '                    - #                14:58:22   "#                               4 )E3 2                     2 ?? 2                       3 3                                          -                !
  3    14:56:01   "#                                  ! . !                           .                    );;             ;                                             -                              14:58:26       2               '                        3        ' - )                                        )                   ? 2                         H) -.
  4    14:56:05               ; 99                                                                                                                                                                      14:58:30           )                               2            '            -                            F
  5    14:56:05       #                           -#                                                                                                                                                    14:58:33       #                           -#               !           - )              !                    )          '                ?               2
  6    14:56:06   "# 99                                                   -)              '                   -                !'                           ??           F                              14:58:40               #                                E ' 4                        -           2)                                                                2
  7    14:56:11       #                   !           ' ; I) ?                                        !3 4 )                            #                   )                                           14:58:46       -                                                '                                            )                    ?
  8    14:56:12           ? -                              #                                                                                                                                            14:58:53   ?               -                                                                         99                                                       99
  9    14:56:14   "# 0                        E ? ; ;4                                        3                    ?       -                #           )            '                                  14:58:59                       ;           .#
 10    14:56:18                24 -                       ?             '                             99                                                                                                14:59:01   "# (. 4#                                         !                ! H)                             . 4! ' 4 3                              4                !
 11    14:56:22       #                   ! E                  ;3 )                                                    ??                                       -                    ;                  14:59:04                                   E '                      ;                        2                                                2               E '               2
 12    14:56:26   ;           -               #                                                                                                                                                         14:59:06           ;               -               -        ; )                  #
 13    14:56:36   "#                          23                                  G                                                                     ' 2                               ; 2           14:59:08                               )                                                         ?; '                                 '                       3
 14    14:56:42               )                                   -           !                            ) -                                  3 - )                                                   14:59:10                       -                                        G                            ' ;                 -                            --)
 15    14:56:48   ; '                                  -                - '                                                ;            -                           - ;              ;4                 14:59:13                                                                                     '                   3       F
 16    14:56:53           #>              3               F                                                                                                                                             14:59:17       #                   #                                                                      ;           - '                 )-                  ' #
 17    14:56:55       # ( ! ;                                 )         4! 4 #                                                                                                                          14:59:20   "#                          2 #
 18    14:56:57   "#                                                          4               2                                E3                               '                    ? -                14:59:22                                   '! 2             2                            )        ;           - #                     E                   99 4 )
 19    14:57:03                                           ;             - ;                                        3                                            )        ;           - F                14:59:37   '               ?                                        ? -                              ; 2                              '           -)              ?
 20    14:57:07       #                   !' - )                                      .                        ) #                                                                                      14:59:43   4 )9                    - )              2                                .                               )                            K
 21    14:57:09   "#              .               '#                                  E '                      E           4 2                          3       #        ) 4 )                          14:59:46   -               -F
 22    14:57:13                       ?                             ; )                                        ) -                     4                             )           4 )                    14:59:47       #                   ?                   2 ?                   #
 23    14:57:16       ?                               4 )                 -                               99                                                                                            14:59:48   "#                          4 )                  .?               2 ?                                                                      -                    4 )
 24    14:57:17       #               #                                                                                                                                                                 14:59:51       ?               F
 25    14:57:18   "# 99                                                     3                 - F                                                                                                       14:59:51       #                   #

                              /(                                    (=!                       !                        9(                                   (6 0                     ( 0                                       /(                               (=!                  !                       9(                           (6 0                            ( 0

                                                       6            0                 0 0                              0           0 (6 0                                                                                                              6        0               0 0                          0            0 (6 0

                                                                    0                             0               0(               (6                                                                                                                           0                            0           0(               (6



                                                                                                                                                                                                                                                                         16 (Pages 827 to 830)
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                                                                                                                                                                                             831                                                                                                                                                                                               833
 1     14:59:51    "#                           4 )E3 2 3                            4 )                 ?                        ; )                      # E                          2        2   15:03:07                               '! E3                                -)                               !           #       G !                   ?

 2     14:59:53            ;        ;                   '            4 )                         4! ; - )                          E                       4;                      - 3               15:03:14           ? -                          ; 2                                         '                                        - ' -                                                4

 3     14:59:57    ;4              #                        #                                                                                                                                        15:03:19   ;                       - ;                 ;4               #                                                                    4!

 4     15:00:00                                                         ?? -                                 99 -             -                        E       '                2 99                 15:03:24                     -             2                        )                                ; 2                                               !; - )

 5     15:00:01    4 )                                              ?            4           )-                       2                                                                              15:03:27   ' E3 ;                                          !                4 )E3                                4                                     4 )                 ?

 6     15:00:04        2            -           -                                    -           -                                ;                                                )                 15:03:32   ?           4           )- -                    ?            '                       #
 7     15:00:07            '                4               - '                                                       ;                                )                                             15:03:34                                                   ' ?                          2 ?                                      @ ;                               . 2

 8     15:00:10            )           ;            - F                                                                                                                                              15:03:38                                               ?            K                       -         -F

 9     15:00:11        #                   #                                                                                                                                                         15:03:39       #               #

10     15:00:20    "#                            E 2 ; -.!                                       !                                                     ;           - #                       !       15:03:39   "# (. 4#                            )                    G           2           !         4 )                     '                                        ;         -

11     15:00:24            4 )                  ?               !                           ; 2 !                         -                    E 2                             )2                    15:03:42           )        99 ' ! -                            -                       !;                               .4 )                      H)                       #

12     15:00:27                     -                   99 ;4                        ' 4!                                         )                            ; 2                       2           15:03:45                                               ; 2 99                                                                ;           -             ) !

13     15:00:30                )2                                                   ;            - !                          -                            '                             '           15:03:50   '                   ??                                       ; 2 !                       4 )              ?               !             '           E

14     15:00:33    '                        3                               -                                                 F                                                                      15:03:53   ;                                       ?                F

15     15:00:37        #               ?                4 ) H)                                       2            !?                   #                                                             15:03:56       # 0                 ; 2 -                            ) 2                     2         ) !                                                              - ? 2

16     15:00:39    "# 0                             -                                                    99                         ; 2                            E 2                               15:04:04                           ' #                              ; ) &!*++                                                                              ;

17     15:00:41                )2                                                   ;            - 99 '                                    #>              3                       4             '   15:04:17   ;           2 !             3                   4-                    -                           ) 4                                  '            2            !
18     15:00:44                -                            '                                    '                    ; 2 ?                        )           2               3 ;                   15:04:23               -               )               - ? 2                                ) 4)                     2                   2-

19     15:00:51                    -                                    ;               -                                         ' #                                                                15:04:31                           )           ;           - !' -                                   ; )                          8++

20     15:00:54                                                             - 99                                  -                            ; 2                                                   15:04:39                   99 -                                ) -                          -#

21     15:00:59    2                    )2                                                                    -                            '               '               '                         15:04:42                         3                  4!                              2           99

22     15:01:02        3                                -                                                     F                                                                                      15:04:44   "#                                       ?4 )                                #            - )             E                            . 2 ; )

23     15:01:05        #                        -#              ;           )           4#                                                                                                           15:04:46                     3                                          ; 2                                                              ) #

24     15:01:06    "#                           '            99                      . 4 )E3                                  ) !                              4               3                     15:04:49                           4                       #>               3               2 3 !                                        '                     2 ' 3

25     15:01:10            2                                                                                                  '                    '                   . 2 ; )                       15:04:54   -                       '                   '                ' 4                                                                            )           -

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                                                                                                                                                                                             832                                                                                                                                                                                               834
  1     15:01:12               '                    3                                                '                    2 #                                                                        15:04:58   '                               3                                                ; 2                                                                             )
  2     15:01:16                                        '                       ; 2                          2                             !               '               E                         15:05:01                                               ;        - '                                              F
  3     15:01:19   ;                            4 )             ?                                        F                                                                                           15:05:05       #               ! ;                 )           4#
  4     15:01:21       #                    !                                        ?                            ; 2 '                    &%                  !                        4            15:05:06   "#                              99
  5     15:01:32                   ; ) 79                           -                   2!                            4' )                     3           ; 2                         - 3           15:05:06                               #                                    /)                                           ;I -                 #            !                    -!
  6     15:01:37               99                           3                                    )           &7               #                                        ; )                           15:05:10           #                                   4 2!                      ) 5                     #
  7     15:01:43   %,                  #                                                                                                                                                             15:05:12                               #               0                        ! E                 4 2                          3                2                    2!
  8     15:01:44   "#                                       .                                             4 )                 ? -                                      ; 2                           15:05:15                       4               )2               ' )                     ;                                ;4              '!            ' -
  9     15:01:46       ) !4 )                           -                               -        -)                       ; )                          3                           ' -               15:05:17       ?           2G !                 ) 5                         #
 10     15:01:51               ; 2 '                                            2                        '            F                                                                              15:05:19                                               E                .                                E               4       4                4 ; )
 11     15:01:53       #                !-                  -#                                                                                                                                       15:05:21   '                           ?                                #
 12     15:01:54   "#                            '                          -        -)                               '            '                   ;               F                             15:05:22                     05                 (6 0                            #               2        !;                                            -                          E
 13     15:01:57       #                       # 0                                                            ; 2 !'                               '               ;) !                              15:05:25                                        ?                                    .               ; )                     >           3                                      4! E
 14     15:02:04   '                       -                        ;           ; )                                       3                @           -           #                                 15:05:28   2           2                       ' #
 15     15:02:13               -                                    ; 2                      3           -                        . ;4 -                                                             15:05:29                               #               0                         E 99                 ) 4 99                         '             E
 16     15:02:20                        2 ' !                           -                2                                ?                                    '                                     15:05:31   - 3                 2                !                   E                   .                E 2                 2           ;             4 )?                           #
 17     15:02:26               ' 2                                      2                    '                   '                                             #                                     15:05:33                                99 ;)                                               2        )                               -            ! ' )                    I)
 18     15:02:29   ? ; ;4                                   '                                        ;            #                                                                                  15:05:36                                               ?        #
 19     15:02:32   "#                                                       ; 2 99 2                              ; 2                          2                       '                             15:05:37                     05                 (6 0                            2 #
 20     15:02:36   -                                '           4 )              ;           3                    !                                -                               '                 15:05:38                               #               0            )           E           ;        2 @-                     3 4 32
 21     15:02:41                                2                                           ;            -                                                                 '                         15:05:42   - )             ) !              )??                 #
 22     15:02:44       3                                -           F                                                                                                                                                           #               0
 23     15:02:46       #                #               ? ;                     #                                                                                                                    15:05:45   "#                           4 )                                 ;               4 H)                                         -        4 )                  '              F
 24     15:02:53   "#                  '!               3 2                     99               3               - )?                  ?                                            )                15:05:47       #                   4 )              ?                   F
 25     15:02:57   ;           - #              @ ; :+%! ? 2 $&                                                  &17#                                                                                15:05:49   "#                          .                                                        3                                4 ) I)                            - ;

                                   /(                           (=!                      !                    9(                               (6 0                            ( 0                                           /(                             (=!                          !                 9(                                     (6 0                      ( 0

                                                    6           0                0 0                             0            0 (6 0                                                                                                            6           0                    0 0                          0           0 (6 0

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                                                                                                                                                                                                          835                                                                                                                                                                                837
  1     15:05:52                       ; 2 !                                            ?                                                                                         ;           -                 15:09:22       3                            .        -. 2                         -           -            ?                            2            2               ?
  2     15:05:55                               )           ;        -                        ' E                        ; )                           -) !                                                      15:09:32                            ; #
  3     15:05:59   -                                   '                #>               3              E                   - ?                                   )2                                            15:09:33   "#                  ! 2                  ! '                               . -                  #                    ' E                 . 2              !
  4     15:06:02                   -                       '                                    -                                                                                             ) !               15:09:36   ?           -)               4                            ??                                        @ ; !                    '
  5     15:06:06           3 2 99                                                   ;               -               -         2                                                       3        )                15:09:39           -                                             '                    E -                      )        ;        )          4
  6     15:06:09   ;           2 #                     4 )                              ;                           F                                                                                           15:09:42   ;                                                         ?                    ;                        3                        !                ?               99
  7     15:06:11       #                   #                                                                                                                                                                    15:09:46       #                #
  8     15:06:12   "#                                               3                                               ; 2                                                               )                         15:09:46   "# 99                                '                    '                             2;                  F
  9     15:06:15   -                                   '                                                    4                            2 3 F                                                                  15:09:49       #                #
 10     15:06:17       #                   #                                                                                                                                                                    15:09:49   "# 0                                      )           '        4 )                 ?                        ; )                '                 ' 4
 11     15:06:17   "#                          -                            '                       -                       2'                        3                                                         15:09:52           ??                   #
 12     15:06:19   '               ' 4 )                        2                   ?                                           F                                                                               15:09:57       #                    !                        4!           99                        ? 2                 H)
 13     15:06:21       #                   #                                                                                                                                                                    15:10:02       4                        -?                   )            ?)                       2                            ' 4                 -
 14     15:06:22   "# (. 4#                                    ' 4 )E3                                  ) !                                           )?              4 )#                        .             15:10:10   ? ? 2!                                                              '              '            !)                           ?               -                    #
 15     15:06:35   4 )                                     )                    G '                                 ??                                         )              ;           - #                   15:10:17                                                 -           2)                                                         ?
 16     15:06:38               .4 )                     .               ; ) 99 4 ) '                                             ; )                      ; 2             '                                     15:10:26                   '                        -            ?                    ' -                  4                                    ? 2
 17     15:06:41   ; 2                             . 2 99                                   3 2 - ?                                                       22              !           . 2                       15:10:34                                                                          ?                                         )           ;           - !-             ?
 18     15:06:46           I           -               -#                   )           4 )                     )            4 )                      - ?                                     )           4     15:10:39   '                                )                    ?                                     )           ;        - #
 19     15:06:50                               )           ;        -                                           ?            F                                                                                  15:10:43   "# (. 4#                                                  4 )                          G ! 4 )E                      4 2
 20     15:06:53       #                       !                        )            ;              - !                          ' -                                                  )                         15:10:48               -                        ; 2                      . 2-                      - '                              - ? 2                        2
 21     15:06:58   -               -                           2 ;4                 3                   ?- )                 !                -           2               -           -            '            15:10:53   '                                                              ?               '                            -) 4                      4'
 22     15:07:07   ; .                                  3               ? - !                               - -. #                                                                                              15:10:56                                        4-                         2 ?                         !            ' 2)                                ? 2
 23     15:07:09                                                                                                                     ?            2 ?                             ' 2                           15:11:00   2           )                    )                              -                                   ' F
 24     15:07:15   - ?                                 ; ) '                                                                                      -                   -           -                             15:11:02       #                #
 25     15:07:20           3                                                    -           -               ?                    !            -            2                              ; 2                   15:11:02   "# (. 4#

                                   /(                           (=!                         !                           9(                                (6 0                            ( 0                                              /(                            (=!               !                      9(                             (6 0                       ( 0

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                                                                0                               0               0(                   (6                                                                                                                                  0                     0              0(               (6



                                                                                                                                                                                                          836                                                                                                                                                                                838
  1     15:07:24   '               );; 2                            - ? 2                               -               -            99                   E                                ' 4                  15:11:03                       05                   (6 0                   E          2           2                .            ;           .           '#
  2     15:07:32                               -           -            '                       ??                                                    )       -                                                 15:11:05                                #                0           ) #
  3     15:07:37   -           -                   ?            99 )                        2           -                                                                             )                         15:11:07                       05                   (6 0                  '                            .           4 )! /               ! I)
  4     15:07:41   ;           - !'                                 3                   4           .           -.                       '                -           -                                         15:11:08           -           #
  5     15:07:49       ?                                       ' #                                                                                                                                              15:11:17                       A 5                       6 ( !                            )                    .            -        #B
  6     15:07:52   "# /)                                                .4 )                                    !                    #                             4 !                                          15:20:10                       05                        60                                                    #
  7     15:07:58   ; 2                             .                    -               -                                   )                                                 )           ;        -            15:31:32                       05                   (6 0                                  ;                        #
  8     15:08:02               .                                .               2 ?! ' -                                    .            -.                   )2 '                                              15:31:34                    #
  9     15:08:07                           ; 2                          .           -.                                  - ?                                       ' !2                                !         15:31:42   "#                  '!                    ' E3 - 3                                                      )                4               !                            .
 10     15:08:12   ?3                  !               2                    ' 99                                                                                                                                15:31:46   4 )                          4 )!                         -        24 )                 ?                            -                           24 )
 11     15:08:14                           05              (6 0                                         4 )                 4 J2 ?!J                           ! 4 )E                         . 2               15:31:50       ?                    !           .                                                              9'               3                   )
 12     15:08:15       ; )                             2 ? ; 3                                      )           - F                                                                                             15:31:55                                ?                                         ?) ?                             -        ?                   F
 13     15:08:16                                   #            0                                       ?                                     ' #                                                               15:31:59       #           ;            )           4#                         3 4                     #
 14     15:08:17                           05              (6 0                                 2 #                                                                                                             15:32:03   "#                           '            '                            2           -                             -             ; )                            )
 15                                    #               0                                                                                                                                                        15:32:06   ;           -                    )        99                    4;                                            '           99
 16     15:08:19   "#                                                               3                       3                            '                            )                                         15:32:09   9'                           )                        '                    ?                            4 )          ?
 17     15:08:23                   '                                                    ?               !' - '                                                                @ ; F                             15:32:13   '                                    F
 18     15:08:27       # (. 4#                                 '                                    2!                       ?                                 ' ?                        2 ?                   15:32:14       # > 4-                                                )                                 - # 0                            )
 19     15:08:33                                       ; 2 ?                                                        -                                     3                                                     15:32:19   &*                                                !           )2 !                 '-                   4                )                   )2
 20     15:08:42           ) 9                                                                  )           ;               - #               - )                                                               15:32:27       4                        -?                   )       ;4            ? - 2                           -        -             ?                  '
 21     15:08:52                               ;                    '-                      4                           ? 2                               '               3           3                         15:32:37                   )                                 2 #
 22     15:09:01                   !                       ??               2 ? !                               '                            ;                    -                                             15:32:39   "# 0                             -            -           ?                F
 23     15:09:08       2                           !'                                               ?                   2 ?                                    '                      '                         15:32:40       #                #
 24     15:09:14                                           -                                        ;               #                                                                                           15:32:42   "# (. 4#
 25     15:09:17                                       E -                                              ; 2                                                   ?                                                 15:32:43       #                                     '                            )                                                       -I                2'

                                   /(                           (=!                         !                           9(                                (6 0                            ( 0                                              /(                            (=!                  !                   9(                                (6 0                     ( 0

                                                       6        0                   0 0                                 0            0 (6 0                                                                                                                     6        0               0 0                       0               0 (6 0

                                                                0                               0               0(                   (6                                                                                                                                  0                        0           0(                   (6



                                                                                                                                                                                                                                                                                 18 (Pages 835 to 838)
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                                                                                                                                                                                                   839                                                                                                                                                                                                              841
 1     15:32:56           I               99                   I                ?                    -                          ? - 2 99                              ' 2                                   15:36:30           ??              ! . 4!                                                               2                 !'                             3                ? ?                 4

 2     15:32:58           ? -                                                      -        -                   ?                   #                   E             ?               2 ? 4                 15:36:35                       !'                          3                            ??                                   )                '                3          - -)                      -

 3     15:33:03                99                                      .                                                        ;               3                    )-                                     15:36:38               ??                   F

 4     15:33:12       );                                                       - ; '                                                    )                                  )                                15:36:39       #           ;        )              4'                          ? ?                  4                            #           '                            ?               4

 5     15:33:18                   '                    -           ?                '                                       )                                                                  )            15:36:44                       2#

 6     15:33:22   ;            - #                                                                                                                                                                          15:36:45                               #                   0 (                                           #

 7     15:33:23   "# (. 4#                                     )'                                                        #          )? E                                      4                4K           15:36:46                                                                       '                    !             ) 5                    #

 8     15:33:27       2 F                                                                                                                                                                                   15:36:56                       05                  (6 0                        I)               3                 - )?                       H)                       !

 9     15:33:28       #                    #                                                                                                                                                                15:36:59               !           - )                 ! 4 )E                       3 -                      9 @                                 #

10
10     15:33:28   "#                           4 )                                                   ?                                                                    4                                 15:37:01                                                                   )            ;               - !                  4 )             ?                !           !

11
11     15:33:31   '                                    )           ;           -                    )               --)                 2'                  ;                          '                    15:37:05                           ; 2                                     ? -                                           '                           2                    )

12
12     15:33:36                                            F                                                                                                                                                15:37:15   ;           - ;                                 '               99 ;                                      -       -               - ?'                     ; .

13
13     15:33:36       #                    #                                                                                                                                                                15:37:23               3 4                 )                       F

14
14     15:33:38   "#                                                   2                                                                    )               99        '                                     15:37:25                       05                      0                            ;           )            4#                       3 -                 -               ?

15
15     15:33:41                   2                                            )                                                    -                                     ' 4-                 ?            15:37:30                   2                               ; 2                      2                                        ?                                        )           ;       - #

16
16     15:33:46   '                                            2                                                3                       )                            4 )              .             F       15:37:35                   3                           - ?                              3 2 );                                                           ! &7! %+! ,+

17
17     15:33:51       #                        !                           4!                                   2                                           ;         -                        )            15:37:42           -       -               !                                                                             -                           ?!                   3

18
18     15:33:58   ;            -                                       ?                                                                ; - )                                 '            -            4   15:37:47               ?                                                                                     )           ;            - !' -                                  -           !

19
19     15:34:08                       -                                        ; 2                                                              ;            ?                             ; 2 #            15:37:53   '                   ; 2 '                               - ? 2! ' - '                                           '                               ;4              3

20
20     15:34:16   "#                                       ;                                                                            )           ;            -                                          15:37:59   '                           !                   '                        3 2                          -       -            !          ' )                                  3

21
21     15:34:21               )                                        !'                3                                          2           )? 2                  3           -                         15:38:03   ;                               3                   -               4                '                        3                           '            #

22
22     15:34:25           -                                                '                         -                                   )                            ; 2                      2 !          15:38:07                       05                  (6 0                                 4 )                                  4                   '                            ; 2

23
23     15:34:30       3           !                        )                           4                             -?                 ) F                                                                 15:38:11                       ;4 ; .                                  -           -                - ?                          3 4                  )

24
24     15:34:32       #                            -! ;                    )           4#                                                                                                                   15:38:19           )       ;               - !                                 99           '                2                        .

25
25     15:34:33   "# 0                         E                           ) H)                              ) !                                    F                                                       15:38:27                       $++                                                          '                            '           )                        4;              -           !

                                  /(                                   (=!                      !                       9(                                       (6 0                      ( 0                                     /(                                  (=!                      !                    9(                                  (6 0                             ( 0

                                                           6           0               0 0                               0              0 (6 0                                                                                                             6           0               0 0                               0           0 (6 0

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                                                                                                                                                                                                   840                                                                                                                                                                                                              842
  1    15:34:36       #           ;                )       4# > 4 -                                 #                                                                                                       15:38:35           '               2                               .                                         ??              F
  2    15:34:37   "#                                       ??                       ;                   ;           -                           F                                                           15:38:39                       05                          0                            (. 4#                            - !                                  -                   '
  3    15:34:40       #           @ - 4#                                                                                                                                                                    15:38:42   ; 2 -                                                           3            !'                                       4                       2                                          -.
  4    15:34:45   "#                      '! ;                         )?              99                4 )                            4               2         4 )                      4                15:38:53                                               ?               99                                                    ?               '                .                       -
  5    15:34:50                                        -                   - -)                             - !                         23                  4 ) .             '            2                15:39:03   ? # 0                                   !               -            ? !                                  -               ? !
  6    15:34:53       4                   4                - !                 )22                                              ; 2 '                                 '                                     15:39:09   8++                             --)                                              ; 2 '                            -                       2'
  7    15:35:01            -                                           . )                                      )                                                )        ;           - ;4                  15:39:18                            ) ! '                                      )            !                                                        4! ; - )
  8    15:35:05   )-                                   )           2                                                            )                               ; '        9 )                              15:39:23                                                        ?                  -                             #
  9    15:35:12           -                                    '                                                     ?              F                                                                       15:39:26                                                                            ?                                        '               99                   '
 10    15:35:14       # 0                          4           ?           ; #                                       )          ;               - ' )                         3                             15:39:31                                                   )                   '                                                                 ?            '
 11    15:35:18       --)                      ;                                         3                               ; 2 ! ) ;                                            !            ; 2              15:39:37                                                               )           ?            I)               ; - )                                                                        H)
 12    15:35:26   ' )                          3 ;                         )-.                                                                      ?             -                        ;)               15:39:44                           )                            ? 2 #
 13    15:35:31       )-                                                       '                 ! - ) 4!                               '                   3                     3        #                15:39:46                       05                      (6 0                                     2 !                  # E              2              2                        3
 14    15:35:40                                    4-                                                   #                                                                                                   15:39:48                               -                   9 @                                      #
 15    15:35:46   "#                           4 )' )                              @? -                                  '                          -            !                                          15:39:50                                                               (                9 =                              0(
 16    15:35:49                   3 2                              3                                        ; 2 2                           2                   - 4               )2                        15:39:50                       #
 17    15:35:52   '                                4? ?                        -)            !                       H)                     !                         '                                     15:40:22   "#                  #               G ! E                       2            2               ?)                                   -                                        @ ; $!
 18    15:35:57   ;           2 )-.                                                '                 !          ' )                 ;                            . 4                       2                15:40:29               '                       E           . 4 )                                             4 )-                            )- 4 )                           -
 19    15:36:03       2                                '                                                )                                                   '                              F                15:40:37   '                   .                   ?                                                .                            99                               -
 20    15:36:08       #                            -! ;                    )        4#                                                                                                                      15:40:44   I) 2 -                                              ?           #
 21    15:36:09   "#                                   I)              2 ; -.# E                                I)              ; )                          #                        I)       2            15:40:47                                   '                   4 )                  2 !- )                               4 )                  '                           )
 22    15:36:12   ; -.                                                     H)                               ; )                                         2#                                                  15:40:51           I -              4                           ; 2                                                                  2               -        4
 23    15:36:16                                            )2 4 )E3                                         '                   E .             ' @ - 4'                                                    15:40:54                               ;               -                   F
 24    15:36:22   '                   !                ' 3                         -             !                              ' 3                         2         '           !                         15:40:56       #               4 )-                                        ?                99 4 ) '                                                              '                           I -        4
 25    15:36:26   -                                                                4'                                                                                             ?                         15:41:05                       ; 2                                                                  2                -       4                                                        .

                                  /(                               (=!                      !                        9(                                     (6 0                      ( 0                                              /(                                  (=!                          !                        9(                                      (6 0                             ( 0

                                                           6       0                0 0                                 0           0 (6 0                                                                                                                     6           0                0 0                                  0               0 (6 0

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                                                                                                                                                                                                                                                                                   19 (Pages 839 to 842)
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                                                                                                                                                                              843                                                                                                                                                                                                  845
 1     15:41:10   -            F                                                                                                                                                      15:43:05                    #
 2     15:41:11   "#                          -#                                                                                                                                      15:43:05   "# J"6                            0(                               E               .               ; 2                  -                            -
 3     15:41:12       #            ! -                                  '4 )                                   I -          4; - )                                    E .         '   15:43:07                   '                                                                      ;           - !                                  ' E 23 4 )
 4     15:41:16                    I -                4#                                                                                                                              15:43:09                             ?                   #
 5     15:41:18   "#                      !            .           4 )                               #                           .              4 )                                   15:43:11                        J                                                  ! . 4! E                        2           2                       ?            '                        4
 6     15:41:22   H)                              4 )              ?                                     /) 4 %++8# E                       .                         '4 )            15:43:14   ;                #                4 )'                                                         .                    I -                  4                       ; 2 99
 7     15:41:25   4 )                     ' #                                                                                                                                         15:43:19                        J"6                  0(                                   #
 8     15:41:26                               #               0     E                           4#         2                         !- )                    F                        15:43:05                        J                                        (. 4#                    '                3                           .                                    3
 9     15:41:27                    #                                                                                                                                                  15:43:22               ? - ; - )                                                  '                                                        -                    -                   2 99
10     15:41:28   "# J"6                          0(                    E                   .              ; 2              -                           -                             15:43:27               ' 3 !                                         ? -              2' 3 !                                               -        2' 3
11     15:41:30                   '                                                             ;         - !                               ' E 23 4 )                                15:43:34   '                                     -               ;                    !                            ; 2                                     2                -            2
12     15:41:34                           ?               #                                                                                                                           15:43:38                        2 '                              '                                - ;                      3                           ? -                               2
13     15:41:35                       J                                         ! . 4# E                           2        2                   ?            '                        15:43:44                        ?                #               )'                                                F
14     15:41:37               ;                   J 99                                                                                                                                15:43:47                        J"6                  0(                                   #
15     15:41:35                               #               0          4                       3 ? 2                                  F                                             15:43:48                        J                                        (. 4#                                 E               4 2                                  E ;                  3
16     15:41:39                       05              (6 0                                                ) #                                       ?4 )                  I)          15:43:58               ; 2 '                                             # 0                  ; 2 '
17     15:41:39                   ) # <3                                            ? 2                                    99 E                     4 99                  E           15:44:03   ;                    -                -               2                            '                                                        ;            - #J
18     15:41:44           4 ) ; -.                         )?#                  4 )-                               '                    '                                             15:44:12                                 #           G !                     4 )                              ;                        H)
19     15:41:45           ?                   #                                                                                                                                       15:44:16               ' F
20     15:41:46                               #                                                 -! E                   '                    !           ) 5                   !       15:44:19       #                 #               '           .                                -                            .                                2                        -           !
21     15:41:48   ;) 99                                                                                                                                                               15:44:23   ;)              '                     4 2                     -            4                       - )              E .                 '                        I -              4
22     15:41:49                               #               0                 ! E                       3 2.                          H) -.!                                        15:44:31                    ; 2 #                                        E 99                         E            3           4
23     15:41:51   I)          ' )                     ?? -                                  - )                4                ? 2                                                   15:44:35               E            3                4                                        ;       ;                        3           ?            ;            3 ;
24     15:41:54   -               -                   ;             4 )                              ; - )                          2               3                                 15:44:43           I -               4                           ; 2 #
25     15:41:56       ;I -                    #                                                                                                                                       15:44:45   "#                                                             ;               3 ;                  I -             4                       4 )                  ?
                              /(                              (=!                       !                 9(                                (6 0                      ( 0                                        /(                                (=!                          !                   9(                                   (6 0                             ( 0
                                                   6          0          0 0                               0           0 (6 0                                                                                                          6           0                0 0                              0           0 (6 0
                                                              0                             0            0(            (6                                                                                                                          0                                0           0(               (6


                                                                                                                                                                              844                                                                                                                                                                                                  846
 1     15:41:57                       05              (6 0                  E           2            2                 '4 )                                       #           E       15:44:48   /)              %++8 ?                                    ; ) '                                I -              4                                         2

 2     15:41:57               2           2                                     ??               #                                                                                    15:44:53                                             !               4 )                      '                                                4 )                  '           #            !

 3     15:41:59                               #                             0                   . 4 )!                 ) 5                  #           2 &%+                         15:44:59               -!4 )                         9-                                       !J ' )                   E            .              ' )              ;

 4     15:42:03   &%,!                 ) 5                     #                                                                                                                      15:45:04           '                     !J ?                        2            '               '                        ;                       3       ) K-                      -F

 5     15:42:04                               #               0          '!                          H)                                         '            F                        15:45:07       #                     -#

 6     15:42:07                               #                                         ; 2                                %+#                                                        15:45:08                                #                0               @-)                      #                    4           .                       ;I -                 !

 7     15:42:11                               #               0         2 &%+F 0                                   H)                   #                                             15:45:10           ) 5                       #

 8     15:42:13                               #                                 E                        4! ? 2 &%+#                                                                  15:45:10                                         4 )                                  ? 2 !                                                                     4!

 9     15:42:16                               #               0         2 &%+!                                 %+!              E                   H)                F               15:45:12               '                                                              4                                                    E .             '!

10
10     15:42:20                               #                             &%,!                          4#                                                                          15:45:15                    '                                        2        4' 4#                            .                                            2

11
11     15:42:22                               #               0 &%,!                             %+!                       H)                   F E                    4#             15:45:18   -               9 @                                   #           ;I -                     #

12
12     15:42:25           2 &%,!                              %+                                                             ' #                                                      15:45:19                    05                   (6 0 0                                   ;I -                                     !                                 )

13
13     15:42:31                       05              (6 0                                                              -           H)4                               '               15:45:21   '               -                                     )                        4#

14
14     15:42:33   I)          99                                                                                                                                                                                  #

15
15     15:42:35                               #                                 &%,!                       &#                                                                         15:45:24   "#                                                                                                          !                   3           ;        &! %++8!

16
16     15:42:37                       05              (6 0 0                                E '                        4                            # J           E           .       15:45:26   4 ) );                                                    -                                )??                                      ??

17
17     15:42:39               ; 2                 -                     -                   ###J           E ? 2 &%,!                                   &                             15:45:29   )                    4 I) 2                               '                                4            '                                       ;        20                  ?.

18
18     15:42:44       2 9                         -                                     3                - ? E                  . 2                          '#                       15:45:33                                    -E 3                                                  4       '            ; 2                     ' ;4                         ;

19
19     15:42:54                               #                                     E                2         2        ;               ? 4              !        )                   15:45:39       3           ) K-                      -F

20
20     15:42:55   5                !;                              )                                      '            #            )       '                             3 !         15:45:41       #                     E ;                     3                    4 )                                          -               -#                       E

21
21     15:42:59           ) 5                     F                                                                                                                                   15:45:45           3                         -)                                                           #        )                       .            4           '

22
22     15:43:01                       05              (6 0                          #                !             4 )? ?                           !        F            4 )         15:45:50   ; 2                                   -               ! ;)                     4'                                   ? - -'                                           4

23
23     15:43:04               4F                                                                                                                                                      15:45:54           ' #

24
24     15:43:04                               #               0             ! E                           4# 0              . 4 )!                      ) 5               #           15:45:55   "# ( !                            4 )                 3           E ;                                                   ? - -                                        4

25
25                                                                                                                                                                                    15:45:58                        4            '                       ' ;4                                          2?                  !                                    2

                              /(                              (=!                       !                 9(                                (6 0                      ( 0                                        /(                            (=!                      !                   9(                                   (6 0                      ( 0

                                                   6          0          0 0                               0           0 (6 0                                                                                                      6           0                   0 0                          0         0 (6 0

                                                              0                             0            0(            (6                                                                                                                      0                            0               0(           (6



                                                                                                                                                                                                                                                           20 (Pages 843 to 846)
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                                                                                                                                                                                                        847                                                                                                                                                                                   849
  1     15:46:03   ?               !                                        2;                       !-                                  ;                    3           ) F                                   15:49:13       #                        4 )              ?            4 ) H)                                 F
  2     15:46:09       #                                    ;                                . 2 ; )                                              2;                          ! ;)                              15:49:15   "#           E               4 2                  #
  3     15:46:15               E                            ;                                4 2                  ? - -                  -                !               . 2                       ?#          15:49:16       #        E           2                2-               )                                          H)                 #                                     '
  4     15:46:20                        0           4                            ;           2               3 2!                    . 2                              -            !                            15:49:19   '            ) )                                            2            H)                       #
  5     15:46:23                                E .                 '           '                4 3                 - )                                          '                                             15:49:32   "#           E           2            2               ?)                                      ( 4 ) 99                   ! '              E
  6     15:46:28                        2;                          #                                                                                                                                           15:49:35       2                    '#
  7     15:46:29   "#                  2 # 0                            ?                                4 )-                    2            4 )             ?                                                 15:49:36                            E            4 2                  )                                  !; - )                     '         E -
  8     15:46:34   '                   4 )                   '                               - ?                                                  I -                 4                                         15:49:39   4 )              @                                    !     '                    ; 2                    3                             ?               # (. 4F
  9     15:46:39   ; 2                              4                           ;                                                        4                #0                  ?.                                15:49:47       )                                                     4 )            4        ; .                  ' 4                           ?            #            )
 10     15:46:45               #                        -K -                -F                                                                                                                                  15:49:51               E .              ''                                          ??                   K                     2 F
 11     15:46:48       #                        !'              #           !        #               .       '                           ; 2                          3                                         15:49:53       #                        -#
 12     15:46:55   '                                                    -                                                                         -                   #                E                        15:49:54   "#                   ))                                                                   E                         4            ?)                       ; 2
 13     15:46:59   .           ''                                           '#                                               '                    4           ?                                     .           15:49:57                    )                4                         !                4 )               F
 14     15:47:05       ; )                          ?           ! '                 )                         ?                              '                     4                                            15:49:59       #                #
 15     15:47:09                        2                           %8 #                     '!                                                                                        '                        15:50:00   "#                   )E                           '                                                        4F
 16     15:47:16   ' '                                                              '                    ; 2                             4;                   !'                               4'               15:50:01       #                # E              99
 17     15:47:20   -                    2                   ;           2 #                                                                                                                                     15:50:04                        05               (6 0                                        I)              ?             )                         -
 18     15:47:22                                                3           '                                                !           99                   .           ?                                     15:50:05           -            I)                                         )                     ??                I) 2
 19     15:47:30                        2                       E .          '                           I -             4                    ; 2 #                               )2                            15:50:08                                2 ?                  ; )                        J            #J            - )                      ?                2
 20     15:47:34       '                99                          I -             4 --)                                            %8 ! ;)                                           4                        15:50:16                        ;                        3           ) ;                2 #
 21     15:47:39           3           ' '                                           4 2                     4           '               ; 2                                      %$ #                          15:50:18                                 #                                                   )-                  4 -            !
 22     15:47:42   "# (. 4#                                  '              E ?                  - 4-                            )       2                    @                            !                    15:50:21           4            2! /) 2 F
 23     15:47:52   ;)                    )                                              -)                       ;                       4 )          ?                       !                                 15:50:22                        05               (6 0                      E                     )                '                      ! ;)                        .
 24     15:47:56                                2               -       4K 2 F                                                                                                                                  15:50:25                    #                E                   #
 25     15:47:58       #                    #

                                   /(                               (=!                      !                   9(                               (6 0                             ( 0                                                  /(                               (=!                        !                    9(                             (6 0                     ( 0

                                                        6           0               0 0                              0           0 (6 0                                                                                                                      6           0                 0 0                            0           0 (6 0

                                                                    0                            0           0(                  (6                                                                                                                                      0                              0            0(               (6


                                                                                                                                                                                                        848                                                                                                                                                                                   850
 1     15:47:59    "#                   )E                                  2                4 2                         ; 2                                               4 )                  '           K   15:50:26                    #

 2     15:48:03        2 F                                                                                                                                                                                      15:50:28   "#               ?                                    )                      # (. 4F 0                           2                H)              #

 3     15:48:03        #                !               !           #                    E               4J                      2 #J                             E .                 '# E                      15:50:33                                ! E                          4! 4 )                      4 )E                          '                                     '

 4     15:48:06            ?                    2# E                        ?                2                                                4                           ?                2            '       15:50:36   '                            !0               ?.                                              -! ? -                         ; 2

 5     15:48:10                        E .              '                   )                                I -             4                    ; 2 #                                                         15:50:44               )                4F
 6     15:48:13    "# (. 4#                                  ) 4 )-                                          #                       -                            #0              ?.            E               15:50:45       #                                     4'                #                     E                     4-                                    4

 7     15:48:17                                 4                       4 )                      -                                                    4                   ' - 4 )                               15:50:50   ?                    2                2 #                   ).                   '!            4;                - 3                 ! ;)             I)

 8     15:48:20    ;                    4 )                         -                                        3           ;           &! %++8F                                                                   15:50:57       - 3                                       - ?                       4#

 9     15:48:23                                     #                   0                                    -           !                    E ;                 3                                             15:50:59                                             !                             - ? 2 3                                  ?                            4           '

10     15:48:26            4'                       !                   4        ?                               -                       !                                                  ?                   15:51:01               ; 2                                   -             ! ;)                           E .          '                4-           ? ?                  !

11     15:48:28                                             I -             4                            ; 2                             4?           -)                   ?                                    15:51:04   '                            4E               3 2! -                              2           ;        2 !                   @ -          -

12     15:48:32                    #                                                                                                                                                                            15:51:07       ; 2                               -                                      4                                           - #

13     15:48:33                                                 )                                                    ?                   '                                '                                     15:51:12   "# (. 4#                                              E -                -                                          ;        -                        !

14     15:48:34                                 2!                      '                                            !                       '            E               4 2                                   15:51:15   E                    . #                                    2 F

15     15:48:38    -                   9 @                                                   #               ;I - #                  E            ? ?                     -            #                        15:51:18       #                )                                #

16     15:48:42                          05                     (6 0                                 ! E                             . 2                                          -                             15:51:19   "# (. 4#                                      4 )                   4                          ; 2                                        -                K
17     15:48:44            '! ;)                        2)                  99               4 )                 . 2                                      . 2                                                   15:51:28       2 F

18     15:48:52            -                                99 4 ) -                             .                       ' 44 )'                                  ! ;)                                          15:51:28       #                        ! ?? @                                 4#

19     15:48:55            . 2 99                                   )               4 )E                     4 2                         .            !                       . 2                               15:51:31   "#               ?? @                                 4#

20     15:48:57            -                            !                            -                                                        4                       #0               ?.                       15:51:32       #                    #

21     15:49:03            #                            -#                                                                                                                                                      15:51:32   "#                       )            ' ;                   3 0                   ?.                                         -! 4 )               3                    3

22     15:49:05                                     #                                    0               E               ' 4#                                                                                   15:51:36               ; 2                                                 )                     ?                             5

23     13:38:54                         #                                                                                                                                                                       15:51:43   ?                                     5               !                          '!                          !                   )            4                    !

24     15:49:08    "#                        4 ))                                                            I) 2 E ' 4                                       . 2                 4 H)                      !   15:51:47   '            )                   4;           4            3 2                                K-           -F

25     15:49:10    ' - 2                                                                         -           F                                                                                                  15:51:50       #            2           !                    E        - 2 G                              2                         . 4 ) ?)

                                   /(                                   (=!                      !                   9(                                       (6 0                         ( 0                                          /(                               (=!                        !                    9(                             (6 0                     ( 0

                                                            6           0            0 0                                 0           0 (6 0                                                                                                                  6           0                 0 0                            0           0 (6 0

                                                                        0                            0               0(              (6                                                                                                                                  0                              0            0(               (6



                                                                                                                                                                                                                                                                                     21 (Pages 847 to 850)
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                                                                                                                                                                                                   851                                                                                                                                                                                           853
 1     15:51:58            )                           ; - )                                    4                               ?                                              4#                      E       15:54:47   "# (. 4#
 2     15:52:06                        4                   2               #                                                                                                                                   15:54:48       #                 !'                 # 0'                 4                                                           # (. 4#                             E
 3     15:52:07                            05                  (6 0                             4               E 4 )                        .                                )                                15:54:54                '                           ; ) %&                                               2#
 4     15:52:10            .                   4 ) H)                                                            E '                                     4                        ' #                          15:54:57   "#                       4 )'                        2                                                                                !
 5     15:52:12                                        #                                   0            . 4 )!                       ) 5                         #                                             15:54:59                     !                                               -               ; 2 '                                   2
 6     15:52:13                            05                  (6 0                                 4 )                                  F (. 4#                              )                                15:55:06   '        K 2 F
 7     15:52:15            .                               H)                                                   E '                          99 ?? @                                   4'                  !   15:55:07       #                            4                   '        #
 8     15:52:17                        -                       0               ?.                                   4           '            ; 2                          )                                    15:55:09   "#                       4 )'                        2            '                                                                           4
 9     15:52:25        )               4#                                                                                                                                                                      15:55:11       )2)           %8 ! %++7!                                              '                   )2 !                                        '               -
10     15:31:59                        #                                                                                                                                                                       15:55:15   '                 3                                      5        F
11     15:52:28    "#                          4 ))                                                                  ) ?                         F                                                             15:55:20       #         2                      2 99 4 )                     3                   ? - 4                                   # (                     '       !
12     15:52:30        #                   ! )                                                                  ) ?                      # 0                     . 4 )#                                        15:55:26                                                    '                    )2 #
13     15:52:32    "# (. 4#                                                )                                    ) ?                          !;                               4 )              ?               15:55:28   "#               4                                   !        4! , ++ # #                                                                 2                           4!
14     15:52:36                                ; 2 !                                -!                                                                   ;            -               !4 )                     15:55:32       )2)           %8 #
15     15:52:44            3                   ;                   !                            !               ;I - 3                                                !               2                        15:55:35       #                !                   E                    4)                                      2#
16     15:52:50    ; 2                                                         )                                                                                                  )            4               15:55:38   "# 0                     E                   4 ) )                                            2F
17     15:52:54                    !               4 )F                                                                                                                                                        15:55:39       #         #
18     15:52:57        #                                           3                        3 4                         #            E                                    ?           ;        4               15:55:40   "#                                       4 )              4                   )2                                                  '               ?? - ;
19     15:53:06                !'                      3               ;        '                                   ' 4                      @       !           - )                   3                       15:55:44                 -                  F
20     15:53:13            3                   #                       )2 ! E                                                            ?               ;                ' #                                  15:55:45       #                !                   '                            2           2 )?                                    '                       '               )
21     15:53:18                            05                  (6 0 0                                   '           3               ;         '                  !4 )                      K                   15:55:53   : ++                                                 2! : ++                      7 ++!               '                       ' ! --                          2
22     15:53:21    -               -F >                                ;       '               F                                                                                                               15:55:58   2 ? 99                                       -)                               3 #                     '                   -                        )2
23     15:53:22                            05                          0                                #                                                                                                      15:56:03   H) -.                 3                                       '                   )           -                           !                   $ ++
24     15:53:22                        #                                                                                                                                                                       15:56:13   8 ++ # #
25     15:53:23    "#                      )E                                      '                        -       - ?                      ? 3                          2'               K                   15:56:14   "#                    !                  4 )             3                4                           ' )                             2           '

                                   /(                                      (=!                  !                    9(                                          (6 0                      ( 0                                         /(                                  (=!                  !                   9(                                  (6 0                        ( 0

                                                           6               0               0 0                          0                0 (6 0                                                                                                                6           0            0 0                             0           0 (6 0

                                                                           0                        0           0(                       (6                                                                                                                                0                        0           0(                  (6


                                                                                                                                                                                                   852                                                                                                                                                                                           854
 1      15:53:26       2 F                                                                                                                                                                                     15:56:17       -                                '                                            )                                                   4       2                   99
 2      15:53:26       #                   #                   -                       4                2                           ' 4 E3 ;                                              2                    15:56:27   E                 4 99 )                             4       2                                        4 3                 2'                       ' 2
 3      15:53:32               '                   J? 3                        2'               J                       -            #                                                                         15:56:32                                    ) F
 4      15:53:38   "#                          !               4 )              ?                                                        3               2                            4 99                     15:56:35       #         )                  3                   ?            4 ) H)                              #                   E )                                     #
 5      15:53:41               4                           2               )                                4! )2)                       %8 ! %++7!                                                            15:56:38   0                                                    2'           2                       H)                      #
 6      15:53:46   ? 3                         2'                       '                                                                9                                                 5       F           15:56:40   "#                4 )                        3           4                                    2           '                               -
 7      15:53:52       #                       ! ;                     3                                                '                J? 3                         2'               J                       15:56:47   '                                                )                                    )           4       2                                       4                    2
 8      15:54:00       )           ;                                   #                   4                                        ? 3                      2'                                                15:56:52   '             ' 22                                       4                                9 9 )                               -           F
 9      15:54:05       -           '                   !                                   2                                             '           I)               -       '            #                   15:56:56                                #               0 (;I -                          !           ) 5                  #                      )                   #
 10     15:54:10   "#                          !                   E                -               )2 !                    F 0                      E I)                                                      15:56:58   0            -. '                            -               # 0                  E                       2                           -
 11     15:54:12   )2 !                                                    )2 '                                 2                   ) !                      E        F                                        15:57:01            ;                       '                            -                           -               '           -                       -.
 12     15:54:16   4 )                                         4                                3           ;           '                        2                             ' 3 -                           15:57:06            3                                               -        #
 13     15:54:20               %+9                                                                  ; 2 !                           ? 3                      2'               !                                15:57:07                 05                     (6 0                             ! E             2           2                   '                               '
 14     15:54:24   '                           4 );                        3               4 @                                  !                    .                    ; 2                                  15:57:09            H)                              );I -                    4 )             ;I -                !                   -       #
 15     15:54:27                       )                                   ' 4                                      F                            4 )                                  4F                       15:57:13                 05                             0                     2              ! ;                 3                           !           ?       2G !
 16     15:54:30                                   #                   0 (;I - # 0                              E -                 ? )              #                                                         15:57:16                                                    4 ) H)                           ; - )                   4 ))                                    '
 17     15:54:32                       05                  (6 0                                 -           ? )             #                                                                                  15:57:21   J                 4              2 #J                             4           2                                                               2
 18     15:54:32                                   #                   0                            ' H)                                 #                                                                     15:57:25           ??           #
 19     15:54:32                       05                  (6 0                             #           )                                    ;I -                 #       E                                    15:57:25                 #
 20     15:54:34               -)                              '               ; - )                4 )             3                                            )2                                            15:57:25   "#                               !           ?           2G #                         .                       )           4           2
 21     15:54:38                   #                                                                                                                                                                           15:57:29                 4                              2#
 22     15:54:39                                   #                                   E            4            ;              .         )?#                                                                  15:57:30       # ( ! . 4#                                   )                                                4       2 #
 23     15:54:41                       #                                                                                                                                                                       15:57:32                 (. 4#                                  4 )              ?           4 ) H)                              !?                      F
 24     15:54:41   "# 0                        ; 2                              ; )                 %+9                                          K 2 F                                                         15:57:35   "#                4 )                        3           4;                                   2            '                          -       - ?
 25     15:54:47       #                   ! %,#                                                                                                                                                               15:57:43                 4              2           99 E                     4 99 )                          4       2                                       4                   2

                                   /(                                  (=!                 !                    9(                                   (6 0                         ( 0                                              /(                                      (=!              !                       9(                              (6 0                        ( 0

                                                           6           0            0 0                         0               0 (6 0                                                                                                                         6           0           0 0                          0           0 (6 0

                                                                       0                       0            0(                  (6                                                                                                                                         0                    0               0(              (6



                                                                                                                                                                                                                                                                                   22 (Pages 851 to 854)
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                                                                                                                                                                                            855                                                                                                                                                                                         857
 1     15:57:48                    )2                        '                   '                                  )                                   '                                         16:01:57   - )              !                                                                 ? ; ;                      - )              '                            -

 2     15:57:56                    ) K4                                     F                                                                                                                     16:02:03               ' 3                                       '               #           )                                                    ?           ;        4

 3     15:57:58        #                            E                   4 2           #               )            3                   ? - 4                                    ; - )             16:02:11                 ?? 2                                                            2                                       3 ; 2                                    '

 4     15:58:04                 3                           4           2 ? - )3 4 !                                               4 )             3                                              16:02:17                                                     ; 2                              ; .                ' 4!                     4           3 -                     -

 5     15:58:08    '                                #           - ) ! . ! ; ) : ++                                                                                  2! : ++                       16:02:26   ; 2                               ; .                 ' 4#

 6     15:58:15    7 ++!                            '                       -             #            '                       ' #                                                                16:02:27   "#                )E                      . 2 ; )                                     3 9; 2                                                                   F
 7     15:58:18    "#                  '                E ;             ;                 ?            #            )              3                   @?                       !                 16:02:33       #                 #

 8     15:58:20                .               '                4 )              !                     '                   ; 2 2                                    '                             16:02:33   "#                                                        ' )                         3           ??               ; - )                                   ? ' )

 9     15:58:24            #0                   ?.                                #                        -           '                           ?                                              16:02:36           3 ; -                                                                     )2                  '                        3

10     15:58:27                                     ;           -           '             4 )E                      4 2F                                                                          16:02:41           ?         ?                               ;                   F

11     15:58:30        #                       ?                 4                            4           @- ?                                 ?            ;           -                         16:02:46       #             #               !'                      E .                 '' 4                        4           ?#

12     15:58:34    '                   #                                                                                                                                                          16:02:48   "#                        !           4 )                 3                   4                   ? ) ;                        @?                          ' 4

13     15:58:42    "#                                           )           4 )               3                     @?                         !                !                   '             16:02:51               ' )                       3               ??          F

14     15:58:47    ; 2                          2                                                              2                                             ?                  '                 16:02:52       #                 # 0                                                     ??                                                                   E       2           #

15     15:58:54            #0                   ?.                                #                        -           '                       )            4                       F             16:02:58       E        ?                    ;       4                       ?? 2                                            ?        2! E

16     15:59:01        #                       ?                    @- ?                               ?               ;           4           -        '               #                         16:03:03   ?            ;            4                           4'                           ? ?                4               !                            E

17     15:59:07    "#                                    4 )                4 2                        '                       -       '                                        ?                 16:03:06   ?            ;            4               4; . #
18     15:59:12    ?                                )           4!                        !                    ?)                          ; 2                                                    16:03:08                     0                                       3                               ?               ;                ;

19     15:59:17            ) '                                      -                             ?                '                           4        ' F                                       16:03:13           ?? 2# 0                                   4           ?                       3                                                        ?            2 ? !

20     15:59:20        #           E                    4 2                                   ?            ;        4#                         ?            ; #                                   16:03:17   ' - '                                             '               4               2'                          ??                                                   #

21     15:59:26    "#                           !                       '        E                4                                '               ?)               2 !'                          16:03:21   "#                    4 )                 3       E               ? -                                                                  4           2'

22     15:59:29                     F                                                                                                                                                             16:03:23           2                                  3 9                                        .           '                                                    -

23     15:59:30        #                   -        '               !           ? 3                    2 99                9-              ? 3                      2'                  #         16:03:27   '                                         '               ; .                                                 ??                           F

24     15:59:35    (                   '            !                           '             '                @       !4 ).                   '# (                     '           !             16:03:31       #                         -#                                                                      -           4#

25     15:59:41    '                   3                    3               )                                  ?               ; - ) !4 ).                              '!                        16:03:34   "#                )                               !               !                           ?               ;           4 99             .                   #

                                   /(                               (=!                   !                        9(                              (6 0                         ( 0                                       /(                               (=!                         !                   9(                                   (6 0                        ( 0

                                                            6        0           0 0                               0               0 (6 0                                                                                                          6       0               0 0                             0               0 (6 0

                                                                     0                        0                0(                  (6                                                                                                                      0                               0           0(              (6



                                                                                                                                                                                            856                                                                                                                                                                                         858
 1      15:59:46               '                                            )    @? -                          - 4' -                                                   ?           -             16:03:40                                 )' )                    2           !               ' 3 !

 2      15:59:54                                         ? 3                    2'                #                                                                                               16:03:42   ?            ;                                ' )                 - )                                             ? !                              ; 2

 3      15:59:57   "#                           ! 4 )E                                                         2       !               4 )F                                                       16:03:45                                 '                   )2 !                                            ? K-                    -F

 4      15:59:59       #                   #                                                                                                                                                      16:03:50       #                #            )               ?               ;           4               2                                    4                   3 4

 5      16:00:04                                    #                                 ) 5                          ! ' )                   .            ?               3                         16:03:57           ? ?                   4 .                                                     ?           2# A                    B#

 6      16:00:06            #              ' )                              ?         2 ?                      2           #                                                                      16:04:02   "#            )                                   4 )                 ?               #

 7      16:00:07                           05               (6 0                 2 #                                   !' )                4 )?                      - ?)                         16:04:03                                 )                                                                    ?              ;        4'                  ' 3 K

 8      16:00:11               F                                                                                                                                                                  16:04:05       2 F

 9      16:00:14                                                -                                     H) -.                        '! '                 .#                                        16:04:06       #             3 !4 #

 10     16:00:46                                    #                                                          4' 4                    ?)          ) ;                                      !     16:04:07   "#                   3            -                    ;4 '                       ! ;4 '                      !? ? 2                                            '          F

 11     16:00:47                                                4           2 .                       ! /) 2 F (                                   I)                                             16:04:13               E )                                   4 )#

 12     16:00:48           ?                   99                                                                                                                                                 16:04:17       #        )                        - 99 '                                      -               '           #

 13     16:00:50                           05               (6 0                     !4 )- ) #                                                                                                    16:04:19   "#                        !                               '                                               2 #                      4 ) )22                             2

 14     16:00:51                                    #                           ( !                        #        - )                 3 '                                                       16:04:22                             )                       '                       ??                  '                           ; 2 -                        2)

 15     16:00:53       4               ! 2 #                                                                                                                                                      16:04:26   '                                         )           4! -                            )           4               )            4! '                '

 16     16:01:13                                    (. 4# 0                      . 4 )! /) 2 # 0                                       . 4 )!                               #                     16:04:33                &$                                        )!                         ; .             ' 4 )                                                '        F

 17     16:01:17                       #                                                                                                                                                          16:04:38       #                         2           '           4 ) &$                                                  )#                       3

 18     16:01:18   "#              E                            -           )         '               4 ) -)                               ?                                                      16:04:40    ; )                          3 )                 #

 19     16:01:22   ?                           # 5 '                                          ; 2 ; .                                  ' 4F                                                       16:04:43   "#            .               '4 )                    3       E ; - )                         4 )                     E            .                       '

 20     16:01:32       # 0                      ; 2 ; .                          ' 4; - )                                                          2                '                             16:04:45       -             !                   4 )F

 21     16:01:37           ? ? # 0                              4           3         9-                   '        .                      2                                                      16:04:46       #            - )                                                          -       '

 22     16:01:43           9-                                   2                2                                                             # 0           4 99                                 16:04:49       -                 #

 23     16:01:46   "#                                                   )? 4 )# 0                          E               ' 4# E                       . 24 )                                    16:04:50   "#                       4 )                  .                           .                   '                                -           F

 24     16:01:49           '#                                                                                                                                                                     16:04:53       #        E                        ' 4                     -               '           #

 25     16:01:51       # ( !                            '                       ; . # 0                                        !                   ! ' ?                        ;                 16:04:55   "#                       4 )                  .                           F

                                /(                                  (=!               !                        9(                           (6 0                     ( 0                                                  /(                               (=!                     !                   9(                                   (6 0                        ( 0

                                                         6          0           0 0                            0           0 (6 0                                                                                                              6           0               0 0                             0           0 (6 0

                                                                    0                     0            0(                  (6                                                                                                                              0                           0           0(                  (6



                                                                                                                                                                                                                                                                   23 (Pages 855 to 858)
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                                                                                                                                                                                                859                                                                                                                                                                                                   861
  1     16:04:56       #                #                                                                                                                                                             16:08:25                           4!                ?                                                   ) ! ; ) '                                            ??
  2     16:04:57   "# (. 4#                                         4 ).                 '                                    - ; '                                        .                          16:08:29               2               -        4                                                        .K 2 F
  3     16:05:05           ?                                                                         )                                F                                                               16:08:34       #               #
  4     16:05:08       #                #               -                                        #                                                                                                    16:08:34   "#                      -                        ; 2 ; .                                      ' 4K 2 F
  5     16:05:12   "# 5 '                                   F                                                                                                                                         16:08:37       #                       -#
  6     16:05:13       #                4;                  3                       #                                                                                                                 16:08:37   "#              )                    E .         ''                                           'K 2 F
  7     16:05:15   "#               E               )                       #           E -               #                                                                                           16:08:40       #                       -#
  8     16:05:17       # (. 4#                                                                                                                                                                        16:08:40   "#                                       4 )E             I)             2            2                           2        3 4                     2
  9     16:05:18   "#                       ?               ;           4                    ' 3 #                            )'                  2        2               @?                         16:08:43            ; 2 2                           2                                    -                                                )                           2
 10     16:05:22                    '                               ' 3                 '            -                                99 '                     )22                           4 )      16:08:47    -                                                                   I)           ? -                                                      ! 2                          2
 11     16:05:27   '               -                            4 ;                                                   #            ?                                               '                  16:08:51                                                     ; '                         #                                '           4 )                         4 2F
 12     16:05:33   %9 - ? 4                                             99           ? !;                     .F                                                                                      16:08:57                               #             0 (;I -                                 #               2)                           3                                        - #
 13     16:05:42       #           2                !                           '                    '                            #           )                    !                                  16:08:59                       05                   0                                !                           2               '        4 )#
 14     16:05:48       3                                                            9-                   @?                           -                                                 2             16:09:00                       05               (6 0                                         ;                   2)                   3 ! ;)              E       2                2
 15     16:05:53   '                        )-                                  9                                                                 2 #                                                 16:09:04           '                                4                    '                               H)                       # 0                             @?
 16     16:06:01                -                                       )                                                                             -        '               #                      16:09:06   '                   #
 17     16:06:04   "#                   4;                  E                   -            #           I)       '               4 )                                          '                      16:09:06                       05                   0                       (. 4#                                        4 ?                  !           ?                        -
 18     16:06:10   '                '                       -                   !        '                        99 '                                4-                               !'             16:09:09            ; 2                                                   ;              -                       3 '                              2# (                 '                   !'
 19     16:06:13           4#                                                                                                                                                                         16:09:19                   3                                        '                                            -                        '!              )            : ,+!
 20     16:06:14       # (. 4# 0                                                                '                         - ;)                #                - ;)                                   16:09:27   7 ++                                                 2!                                                                                    ?) ? 2
 21     16:06:19           3            ?           -                       G                '                ; - )                       -                                '                          16:09:34           ;           )                '                   7 ,+#
 22     16:06:29                                                2 )                 !                         '                                   -                                                   16:09:36                                                             4?                      ;           - ) !' -                                     )??
 23     16:06:33                            '                           !                   -        '                #                                                                               16:09:41   ;4 >                3            E                                                                        ?                !                           ; 2
 24     16:06:36   "#                           4 ) '                                                3 4 )                        4G                       3 '                         4              16:09:48   ?)                               ?           2 # (                       '                !'                          ''               !           '                    4 )
 25     16:06:39                                    2-                                                            )22                                  '                   4                          16:09:53   2           2                )                               ?) ? 2                                                   %++                      ' 4F

                                /(                                      (=!                  !                    9(                                  (6 0                         ( 0                                       /(                               (=!                     !                            9(                               (6 0                             ( 0

                                                            6           0               0 0                           0           0 (6 0                                                                                                          6           0               0 0                                  0               0 (6 0

                                                                        0                        0            0(                  (6                                                                                                                          0                           0                    0(                  (6



                                                                                                                                                                                                860                                                                                                                                                                                                   862
 1      16:06:43           - ;)                                                         '(                                                )           4            )               4;                 17:16:27                   #
 2      16:06:46                                    F                                                                                                                                                 16:09:57   "#                  '                    4 )E                    4 2 !                                        )??                      #>              3                E
 3      16:06:48       #                            E                   4G              ; - ) ! 2                                 ! E                                                                 16:10:00   3                   !' - 4 )'                                                         -                       !4 )                 ?4              3
 4      16:06:51                                    2           !                   '                @? -                 2                   ?        ?               -           -                  16:10:04       @?                                            '                   ; 2 2                                                                                             ! ;)
 5      16:06:56                                        #           )           .        '                    '                       - ;)                     ; - )                                  16:10:08               E '                          4 )E             2              2                ;                   3                                            K 2 F
 6      16:07:02           #>               3                       ?                                                              ?) ? 2                                                             16:10:13       #                   !            4           '                                                                ? # 0                    4           )
 7      16:07:08                ; ' )?#                                                                                                                                                               16:10:15           - - 4                                             ?) ? 2                                                           7 ,+# 0                         4E
 8      16:07:11   "#                           E -                 )           4 )                  !; - )                    4 )E -                      )       )                                  16:10:18   2           2                    )            '                                                   #               '        2               2                                #
 9      16:07:13       -            # E                                         . 2 ; )                                       ) -                 # E                  . 24 )                         16:10:24           )               7 ++!                                        2                                                 )
10      16:07:16               @?                                               )                '                ; 2 ; .                              ' 4                                            16:10:31                       ,++                              ' 4#
11      16:07:20   ;                            )               4                        # (. 4F                               4 )                     ' 3                         '                  16:10:32   "#              )                                    99                                       E '                              ;               . 2 ; ) '
12      16:07:29   ' 3 9'                               !                   E            4 2                  2           4 )                 @?                   ) '                      4 )       16:10:34                                            2 '                 4 )#                     )                                     '               4 );                            3
13      16:07:34                                        '                   )??              4 )                  3                           #                                                       16:10:37           ??                                                           ;                - ; - )                              4 )-                                             ;        3
14      16:07:37       #                        !' .                    '                4'                                   '               ;                                !            '         16:10:40           #>              3            #           )                                                        #       )        E 99
15      16:07:45               E .              '                       )           '                         ; 2 ; .                                 ' 4#             '           )                  16:10:45                                #               0                            4                   3                       ;I -              - )                     E
16      16:07:48           ?                                    '                                        4                     2                       %8 ! ;)                         '              16:10:46                4 2                              2) 2# 0                                     E                           H)                   K E
17      16:07:54               ?                ;           4           ; .                  ' 4                          4;                      #                                                   16:10:50                                #                       E        ;) 3 #
18      16:07:57   "#                           !               E 4 )                    3               -                                                             23                             16:10:52                       05                   (6 0                    E                            )                   E        ;) 3 ! ;) 99
19      16:08:00   -            ;                   ?               F                                                                                                                                 16:10:58                                ! ;)                            .                )                                                    H)                       #
20      16:08:02       #                !                       E ;                 3            #                3                )2                                                                 16:11:00   '               !           E             4 2                                                                 E ;          3               #>               3               !
21      16:08:08   ?                    -                               ; 2                          2                                    .                        3 '                          2#    16:11:09       ;3 ) 4 99                                                '                    !               E               4 2-                         4            ?
22      16:08:16   "# 0                         E '                         4 )                                                               '                    ; 2                                16:11:18               ?                            ;                                            -                   ;       4                    #>          3                #
23      16:08:19                    4                           F                                                                                                                                     16:11:21           )                            E '                  4 )E                                . 2#
24      16:08:20       #                    #                                                                                                                                                         16:11:23                                #               0             ' )                        E           ;I -                                 H)                           #
25      16:08:20   "#                       '                   4 )E                )22                      2                        4 )E            2        2           ? 3                        16:11:24                       05                   (6 0                                     .                       E '                              4 2#
                                /(                                      (=!                  !                    9(                                  (6 0                         ( 0                                       /(                               (=!                          !                           9(                                   (6 0                                 ( 0
                                                            6           0               0 0                           0           0 (6 0                                                                                                              6       0                   0 0                                      0            0 (6 0
                                                                        0                        0            0(                  (6                                                                                                                           0                               0                   0(                   (6



                                                                                                                                                                                                                                                                      24 (Pages 859 to 862)
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                                                                                                                                                                                        863                                                                                                                                                                                                 865
 1      16:11:25                             #               0                    E            3           ? ;                   '                           #                                16:14:01       -                                ' 3 9'                                                              )                                            )            4

 2      16:11:26                    05               (6 0                              -                               ;             3           #        @ - 4#                              16:14:04       )            4K 4                                F

 3      15:33:28                   #                                                                                                                                                          16:14:06       #                        E )                                     '                                                   99 '

 4      16:11:31   "#              4? ;                                       4 H)                                          E                        )           ' E3                         16:14:07       --                   N -O                        4 )                                 2           F                   E                                     --

 5      16:11:32           '                                 )? -                              ; 2                                                   ; - )                    4 )             16:14:11   N -OF

 6      16:11:37   ;        3                #>              3           ! ;) 4 )                      3                    @?                                             '                  16:14:11   "#                      4 ).                 ''                                               <)                     %18%                                 F

 7      16:11:40   2                        K 2 F                                                                                                                                             16:14:15       #                                                    ?                    4                  #

 8      16:11:41       #                    2            '               4 )                                   #       E                         2                        '                   16:14:17   "#                  )E                           '                               4;           4              ?               2        ' 3 9'                               -

 9      16:11:47           #>           3            # 0             4        )            '                   ? '                                   ?) ? 2                                   16:14:22                    )               4               )            4!                     4 )F

 10     16:11:50   I)       ; - )                            4'                   2            2                        #                                                                     16:14:24       #                        E .             '#

 11     16:11:52   "# (. 4#                           )-                 23                                                              4 )'                         ' 44 )                  16:14:25   "#                       '                                                   -                4 )                    4'                                   -

 12     16:11:55   ;        3                    ; 2                                                               # 0           E                       4 H)                      #          16:14:29           )               4! 4 )E                                '                                 4 )2;                           - ?                  !        4

 13     16:11:59       4 H)                                          )            E            3               4 ?                               '                ; 2 2                       16:14:33           -.                   !       4- '                                    ; !                 4                       <)               !           4;           4!          ?       2

 14     16:12:02               !            4 )F                                                                                                                                              16:14:40       ;            . ' 4                           ' 3 9'                                  -                   !           4 )F

 15     16:12:03       #                    -#            I)                                   E .             '                         I -             4                                    16:14:43       #           2            !                   E .           '                         4                       <)                   -                       @- ?

 16     16:12:07   ; 2 #                                                                                                                                                                      16:14:54                                                                        <)                  ?                                                                    -)

 17     16:12:07   "#                   2 #                      E 2 ; -.                          4 )                               2           ) #                      )                   16:15:00                -                   3               3                                           )2                  ?           -

 18     16:12:12            ' 3 !3                               ;       '             !               4 )                                   ?                   23                 #         16:15:03                                    2               -        4#

 19     16:12:16                    4 ) )22                               2                            ; 2 ; .                               ' 4                               )              16:15:05   "# (. 4#                                 )'                  2                '                                      !                ' 3 9'

 20     16:12:21       ' .                   ' 3 9'                               -                F                                                                                          16:15:09       --) ! ;                                          4               4                   - !4 )                                       ? -

 21     16:12:24       #       E                 4#              ?                2            4 ) H)                            #                                                            16:15:14   3                !-                      2 )-                             2                                  ;       .! ' - ' .

 22     16:12:27   "#                       )2           4 )                                                                                 ?               ;                                16:15:17   3                                                )'                      K-                  -F

 23     16:12:31                       ; 2 ;                         . ' 4                                              )            4                   )            4'                      16:15:21       #               #

 24     16:12:36   ' 3 9'                                            ?                23                   #                                                                                  16:15:21   "# 0                     E                           '         ' . F

 25     16:12:39       # (                                   ?           ;        99                               )?                ?                                                        16:15:22       #                        2               '           4 )                                             #

                               /(                            (=!                  !                    9(                                 (6 0                            ( 0                                         /(                              (=!                         !                    9(                                      (6 0                         ( 0

                                                 6           0                0 0                      0               0 (6 0                                                                                                                 6       0                 0 0                               0               0 (6 0

                                                             0                        0            0(                  (6                                                                                                                             0                               0               0(                  (6



                                                                                                                                                                                        864                                                                                                                                                                                                 866
 1     16:12:45    ?            ;                #                                                                                                                                            16:15:27   "# (. 4#                                                 4 ) )22                                  2                                  ' 3 9'

 2     16:12:45    "#                                                                      '                4 )                      ' 3 !                                     4 )            16:15:29   4 )E                         . 2 ; ) '                                       I)              )           - ' 3 F

 3     16:12:48                    ' 3                                    ?                23                      F                                                                          16:15:32       #                   !                ' 3                                  )          - ' 3 #                                 E

 4     16:12:50        #                3                        '                                 ?                23                                                     99 -         ;     16:15:37                           )        -                            '                  #                   )2;                     '

 5     16:12:59     )?                  ?                #                                                                                                                                    16:15:41   7!+++9                               ? '                      -                       ?) ? '                             ) ? '                            '        ? ?             !
 6     16:13:00    "#                   4 )                  3            4 3                      -                   4                                     -                '               16:15:47       -            -                   ' 3                     ) -                                 ?                                                             ; 2 !

 7     16:13:06            ? -                       ' 3 9'                                3 2 --)                                                                )                           16:15:51   4 #

 8     16:13:09            )            4                )               4F                                                                                                                   16:15:53   "#                      4 )E                 ?           . 2                         )        - ' 3                          -                        ;4                   ?

 9     16:13:12        # 0                                                                                                               <)                                                   16:15:58                   )2F

10     16:13:21                -                                     ' -                   3                       ;                                                                          16:15:59       #                            4                    ?              #                       )2;                         7!+++9                               ? '

11     16:13:27             99          )-                               - )                       . 4                                   -           #                                        16:16:05   -                                    ; 2 !                                            3 2! ;)                                                 )                ?)

12     16:13:32    '                                                                                                            <)               !                        ?); -               16:16:09   ) ? ' !                                  -           -                    4;                 .                                                    ; 2 #

13     16:13:38                                              <)               !        2                   2                -                                     #                           16:16:14   "#                  )E                           '                                4          ?                               4 ?                              2 )2

14     16:13:41    "#                                 4                           '                4 H)                              ; - )                            E                 4     16:16:22                           3 4                      -.                          )                                                        )           4!                4 )F

15     16:13:44                              !               ' E                           4 2                 2                             #           4 H)                       '         16:16:29       #                   E 99                 !                   E                           ;               ?               2#

16     16:13:49            4 )               3               4                                             2                2 99                                                              16:16:31               @            ?                        3                                           3                      3 2                          -           ;
17     16:13:50                        05             (6 0                                 .                                    ' # 5                                                         16:16:37   -                                    ?                   2#                                                              -'                               E

18     16:13:51                    '             3                            -#                       .#                            !               4;           E                     2     16:16:38                   )3 ! ?) ) ? ' ! ) ? '                                                                                        ,+           -                    '

19     16:13:55                             2#                                                                                                                                                16:16:44           3        ?                   )2                   2                              '                                   3                    ; 2                          ;   .

20     16:13:55                              #                                    E                    4!              ) 5                       #                        J                   16:16:51                    ? #

21     16:13:57        -                #J                                                                                                                                                    16:16:52   "#                  ) 2                                                  99 ; '                                          ' ;                  2 !                      ;

22     16:13:58                        05             (6 0 ( !                                                          -                 ! . 4#                                              16:16:56                                    !           I)           3                                              !                   H)

23     16:13:59                              #                                         -               #                                                                                      16:17:01               F

24     15:34:33                     #                                                                                                                                                         16:17:02       #                                            #                       E 99                    E                       ) #

25     16:13:59    "#                   4 )                  3            4                                                                      '                                            16:17:06   "#                          4 ) 2                                                        4 )2                            ; 2                  ??               -

                               /(                                (=!                   !                    9(                                       (6 0                      ( 0                                    /(                                  (=!                      !                      9(                                   (6 0                             ( 0

                                                     6           0            0 0                              0            0 (6 0                                                                                                            6           0             0 0                                   0               0 (6 0

                                                                 0                         0           0(                  (6                                                                                                                             0                            0              0(                      (6



                                                                                                                                                                                                                                                                  25 (Pages 863 to 866)
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                                                                                                                                                                                                    867                                                                                                                                                                                                   869
 1     16:17:09    ;        2 !                                                                    )3                                        '           ' F                                                16:21:13   '                )                               ?                                           '                   4 )              4                    '                   ;I -

 2     16:17:15        #                   !           ?                   4 ) H)                                       #                        E )                            4 )                         16:21:19   %+                               )       2                                       2                                4#                  4 )                           ;               F

 3     16:17:19    H)                      #                                                                                                                                                                16:21:23       #                        E                           ;           %+                      #               4;                    4           #           - )             E

 4     16:17:19    "#                  )' )                            2                                   !'                    2                   ;        2        ?                2! )2               16:21:26                        G               3 4                     2#

 5     16:17:23    ' )                 2               ; )                         9                           K                4' )                          2                                 .           16:21:27   "#                               )           4               ' #                         4 )                              ;                F

 6     16:17:29                    2                   ?                               4 )E                             -)                2F                                                                16:21:30       # ( !                             )2                         '                       ' .                                   2                       )            4#
 7     16:17:31        # 0                                                             3                                         32                                    -                 4                  16:21:40               E )                                      4 ) H)                                      ; - )                             )2                          -) 4

 8     16:17:36        4           -                           ;           2 # 0                                            4;                                             #                                16:21:44   '                     ' .                                )           4           2 #

 9     16:17:46    "#                          .4 )                                                        ; ) )2 ! 7++9                                           ? '              99                      16:21:47   "# 0                     E               '4 )                                    ;                                            4! )                     4       2 F

10     16:17:50    7!+++9                              ? ' ! E                                                 4#                                                                                           16:21:50       #                    #                       E                               G           3 4'                                                               4#

11     16:17:53        #                                                                                           @             ? #                                                                        16:21:54   "# (. 4#                                 2                                                               ?                !        '                   ) %+

12     16:17:55    "#                      ! 4 )E                          '                   !                   E 4 )!                                     )2                                            16:21:58                !                                       !                                   3                                             2           ; 2

13     16:17:59                -                               )2                                          -.                        - ) 4 $++9                                                             16:22:01           4'                                                           -               !                   F

14     16:18:01    &%++9                               ? '                             @               ) F                                                                                                  16:22:04       #                        E                           ;                       %+                      K        !                            !           4;

15     16:18:06        #               ! E                                 '               #                        E                             . 2              4 )2                                     16:22:07                        '                   3                       '               4 2#

16     16:18:10                                                -. # /)                             3                                                     )                          #                       16:22:09   "#               3                       !                                   ! %+                        #        -                    '4 )

17     16:18:15    "#                      4 )                                     4 )- 3                                                                -.                     E           2               16:22:13           ?                        -       #           E %+                                # 5                      E                    ; 2
18     16:18:18             )              4                   )               4! ' - ' )                                                3 ;                       -                    2           2       16:22:16                    2                                           -                       )           4!                       F

19     16:18:21                )2                              -. ' - -                                                     4        .               3                                  @       )           16:22:18       #                 ! ;                        3 4 )# 0                                ?           !                    E 99                     E

20     16:18:25    ;                           *$                      F                                                                                                                                    16:22:26                     ;                          ?           #

21     16:18:26        #               !                       E                               4           2 #                       4                                                                      16:22:36   "#                   '!                  )                                   4 )                 ?                -            - 4!                ' -                 ?)

22     16:18:29                                    <)                          2                       2                    -                        -                                                      16:22:39   )? =9$ 2                                 !                   )                                               4 )?                                               ; 2

23     16:18:37                    -                   #                                                                                                                                                    16:22:49                '                       )?                      !                                           -)               ;        -                   !?

24     16:18:39    "#                      2 #                         )E3                     4?                       G                ; )                           ?            ;               #       16:22:55   -            -           2                   ' F                                                 4 )              ?                F

25     16:18:45        )           E -                     -!                  E           !                   4 )E3                                     ;         )       4                                16:23:02       #                        E ;                 3                   !4 ).                       ' 99                         E ;          3                    4

                                /(                                     (=!                         !                            9(                            (6 0                       ( 0                                        /(                              (=!                         !                       9(                                (6 0                        ( 0

                                                       6               0                   0 0                                  0            0 (6 0                                                                                                         6       0                    0 0                            0               0 (6 0

                                                                       0                                   0            0(                   (6                                                                                                                     0                               0               0(               (6



                                                                                                                                                                                                    868                                                                                                                                                                                                   870
 1      16:18:49   - -)                                    2                   2               4                                 -        ' - ' )                          ;                                16:23:07                    ?               ! ??                            4! '                    4 )E                    4 2#
 2      16:18:55       H)                                  3 ?                                                                   ;                                     '        !                           16:23:10   "# (. 4#                                     !                                   E ' 4 '                              -        )               '                           '
 3      16:18:58   ' 3 9'                          !                   -           ;                                                 ' K 2 F                                                                16:23:13   4 )                                      4#
 4      16:19:02       #                       -#                          E                   .               4 - -)                                    2         2                                        16:23:14                                            4 )                     4 2                                     ; 2 -                                                         )
 5      16:19:05           )                                       ?        ; - )                                                    .           '                     2                                    16:23:16                                                        ;            - !                '                                                                     ;           -
 6      16:19:11           ? #                                                                                                                                                                              16:23:19                    -                           )                                                               ;            - F
 7      16:19:37                               #                                               ) 5                          !                    4       3                     ) #                          16:23:22       #                 !                      !                   -                                   !            ; 2 '
 8      16:19:39                       05               (6 0                               )-                           4            4#                                                                     16:23:30                                                                            ;               -                                                         )
 9      16:19:43                               #                                    0                      E ?                  4         H)                                   4 -)                         16:23:36                    -                                               )           ;            - #
 10     16:19:46    )#                                                                                                                                                                                      16:23:39   "#                                   '                       ; 2 ;                                       '                             ?                       -               -!
 11     16:19:47                       05               (6 0                                   !           #                                                                                                16:23:42                        -                   ) 4                         4 )E3                       .               ; )F                                  '
 12     16:19:47                   #                                                                                                                                                                        16:23:48   ;                                F                                               -                            F
 13     16:20:06   "#                  )           3 '                                                                          4!                            -)                #                           16:23:51       #                 !                  ?               '                           4           3                                                 E .          '
 14     16:20:10                   G                                                       -                   0                ?.           3                             '        4 )!                    16:23:54           I -           4                          ; 2 #
 15     16:20:18   ;) ;                                    4 )                     3 '                                                           4                                                          16:24:20   "#                                                       4'                                  -           2            ; 2 '                                 -              -
 16     16:20:22           -)                                  !               4 ) '                                             4;              4'                '       ; 2                  )       4   16:24:25                                    ;       - F
 17     16:20:28                       2                       2           )                                            )                                !)                         ;4                      16:24:28       #                !-                          4#
 18     16:20:36   )2F                                                                                                                                                                                      16:24:29   "#                               '                           -           F
 19     16:20:39       # 0                         4                   2                                   ;            !' -                                           -            4!                      16:24:32       #                        E .             '                               -           ! ;)                 )           2                                    4
 20     16:20:46                   '           4 '                                     '                       ; 2                                       ;    2 #                                           16:24:38           #>           3               !               '                           )                   3 ;                                                           '           #
 21     16:20:50   "# (. 4#                                                            4!                      .        4 )                      H)                             4 )                         16:24:47   "#                    4 )                                4           2!              3 '                 4            -)                                               4 4? !
 22     16:20:53    '                                  4'                          '               !                        )            4                    !        '        ; 2                         16:24:49           -            ;                                       ;           3                           4 )                      ?
 23     16:20:58                   2 ; -.                                  ;4                          !)                                ;4              )2F                                                16:24:56       ;        3                                                       '                                   ? 3                  2            3            ;
 24     16:21:05       #               !                   E                           4                   2                                 #                                                              16:24:58   )                    '                                                                   '           F
 25     16:21:11   "#              -)                  2               #>              3               E                             4#              4 )                       ; !                          16:25:03       #            ! @- ?                                                                              -                                             2                2

                                /(                                 (=!                         !                    9(                                   (6 0                  ( 0                                                  /(                              (=!                         !                       9(                                (6 0                        ( 0

                                                       6           0               0 0                                  0            0 (6 0                                                                                                                 6       0                    0 0                            0               0 (6 0

                                                                   0                               0               0(                (6                                                                                                                             0                               0               0(               (6



                                                                                                                                                                                                                                                                                26 (Pages 867 to 870)
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                                                                                                                                                                                         871                                                                                                                                                                                           873
 1     16:25:09       -           '                #                                                                                                                                           16:28:36               - 3 '                               #
 2     16:25:18   "#                  )! ;                          3 !           . ; )                                                )                #                                      16:28:38   "#                              - 3 '                            !            '                       3        4 )'                          -             !        '
 3     16:25:25                                2                                  ?                   4 )              ?                   F                                                   16:28:41                       4                                            @                        ;                            ; 2               3             -           K 2 F
 4     16:25:28       #                    !                        '                 E -                                                   #                                                  16:28:44       # 0                                     - 3 '                             ! 4 K ;)                                 - -.!                   #
 5     16:25:30   "#                      4 )                                                     ?                            4!                                                )             16:28:47   "# 0                            '       .                        '                                    4                F
 6     16:25:36   '                   3 3                                         3           F                                                                                                16:28:49       #                       !'                                               ? -                      '                        2 F                 '           99
 7     16:25:39       # 0                          '                     E -                  #                                                                                                16:28:55                       '                       -                    -                                        - ;              . 2 !                   '                     3
 8     16:25:40   "#                                        !                         4 )             ?                                                              )                         16:28:59   ; .                     #                                                2                            ;            ?? 4 2                          -
 9     16:25:45       3 3                                            3            F                                                                                                            16:29:06   - -.                                        - 3 '                                 #
10     16:25:46       #               !                    E ;                3                           @?                                            ?             # 0                      16:29:09   "#                              '                                                 4 )                 4'               - -.              !-            -
11     16:25:50           99 '                          4 2                      @?               '                    #>              3                        '! ' -                         16:29:12                                   2               F
12     16:25:57               -                                              '            )2 #                                     @?                                                          16:29:13       #                   !                                   #
13     16:26:05                                         --) !                         E -                                                  #                                                   16:29:15   "#                          4 )                                          99 4 )                       ?                                            ?           @         2
14     16:26:08   "#                       !                   4 )            ?                           4                            %+9                  ' 3 -                              16:29:18               - 3 '                               !;                                                    -            - '                         ; 2 !
15     16:26:17               ; 2                          4'                 K4                          F                                                                                    16:29:22   - -.                        F
16     16:26:21       #               !                    E        @?                                ?                #           E                        4 ?                      #         16:29:24       # 0                                     4)                                                    2                        -             3             ?       ;4
17     16:26:26   I)          '                        ;                  2                                                                         #                                          16:29:29   ?                                                   2                    #
18     16:26:30   %+                                                                                      ?                                . 2                        9H)                      16:29:29   "#                              '               ?                                                     2                              F
19     16:26:36                                    ' 4!                                   E ;             3                    -            ; -                                                16:29:32       #                       !                       E                             ;                                                                ?               4          !
20     16:26:41       ) ; #                                                                                                                                                                    16:29:36   ;)              E                       4               ?            #
21     16:26:42   "#                       !                E 4 )-                                        2                ? - -                                         3                     16:29:39   "#                                                               0!               0!
22     16:26:46           -           -!                                     2                !                   @?               '                             -               ;             16:29:41           2           G                       F
23     16:26:47       -                - 4                               ;I - 3 4                                                                               4 )                            16:29:42       # 5 '                                                                     2                           2        2        G              #                   E .       '
24     16:26:49                        '                                                              '                                             E 3                  F                     16:29:45       @ - 4                                                        ?                        4                #
25     16:26:54       #               4                                                       -       ; -                      ;                    !4 #                     )                 16:29:49   "#                              E 4 )                            ?                                                 -           -                           ; 2
                                  /(                                (=!                   !                   9(                                 (6 0                            ( 0                                      /(                                      (=!                           !                    9(                              (6 0                         ( 0
                                                       6            0             0 0                         0                0 (6 0                                                                                                             6               0                    0 0                              0            0 (6 0
                                                                    0                         0           0(                   (6                                                                                                                                 0                                 0               0(               (6


                                                                                                                                                                                         872                                                                                                                                                                                           874
  1    16:26:58                                         -                                                                              ) ;)                 -                                  16:29:51                                                                            2                                4                    -?              ) K 2 F
  2    16:27:03    )              )                2 ;)                  2 ! -                                3            #                3               )                                  16:29:54       #                       !                       '                             4                        -?               )                              '        #
  3    16:27:07                                        ;                                              2                                                     I)           3               #     16:29:59   0                   4                       -?                           )            '                                3                       ;
  4    16:27:14   "#                  2                '            4 )#                              4 )              3                4                                                      16:30:03   -           -                       ;#
  5    16:27:17                   4 4? !                                     4        )- !                            )22                           4 )                                        16:30:08   "#                                  '                            '                    F
  6    16:27:20   '                   %+9                   ' 3                           )               4 ??                                              -                    '             16:30:10       #               ?               F
  7    16:27:27               )                                 F                                                                                                                              16:30:11   "#                      '                   '                                '                        3 F
  8    16:27:27       #                       E            3             4                                             #           I)           '                                              16:30:13       # 0                     '                   '                -                                         3                       ;
  9    16:27:31           ;                    2            ' -                           4 '                                  #                                                               16:30:18   -           -                       ;#
 10    16:27:40   "# 0                             -                                                                                            ;               - !              4 )           16:30:20   "#                          4 ).                    '                                         3                                ?                           !;
 11    16:27:44   -                    !'                                         )- )                        -                ) 4K 2 F                                                        16:30:22   4 ) 99
 12    16:27:48       #                        #                     K-               #                                                                                                        16:30:24       #           E                   4#                      ?                 2               #
 13    16:27:51   "#                           F                                                                                                                                               16:30:26   "#                          4 ).                    '                                         3                                ? F
 14    16:27:52       #                                        '              #                   E .             '            '                4                #                             16:30:27       #                   #
 15    16:27:56   "#                  )E                   . 2                ' ; )                           ?                        -                -                                      16:30:28   "#                          ' )                         E                ; 2                          3        )           2 )             )               4 )
 16    16:27:58   ; 2 K 2 F                                                                                                                                                                    16:30:31   -                           ;                                -               -                            '                            3                   4 )
 17    16:28:00       #                        -#                                                                                                                                              16:30:34           3                       '               F
 18    16:28:00   "# 0                                 )- )                       -               ) 4'                         ?           @                2-                                 16:30:36       # 0                     ; 2 '                                99 '                             ' 2                  4 ; ) '                                 !
 19    16:28:03                           3            ' !'                       E       F                                                                                                    16:30:45       ' )                     ;                   ? ;                                               ; 2 '                            3 2                 -            -
 20    16:28:05       #                            99           !-            4 )                 ?       F                                                                                    16:30:50   -           -                       ;; - )                                                        ? 2                                    '
 21    16:28:08   "#              E                    4# E                      . 2                                   #           ?            @               2                              16:31:00       3                                       ) #
 22    16:28:11   -                        !'                   E        F                                                                                                                     16:31:02   "#                      4 )                             99
 23    16:28:13       #           --                   2                 ?                                        2                                 ;            3           !                 16:31:02       #                                           2)               #            E                                #       E                 -.K E
 24    16:28:19       ?                   '                                           '                       - 3 '                        ! ;)                       - -.                     16:31:06               -                       #                                    E                            4                         99                         ; 2
 25    16:28:30               -                    '            ?            @            2           --)                      ; - )                            '                              16:31:15   )               2 )                                                               2 .                          #       E           ?           ; #

                                  /(                            (=!                   !                   9(                                    (6 0                         ( 0                                          /(                                  (=!                           !                       9(                           (6 0                        ( 0

                                                       6        0                0 0                      0            0 (6 0                                                                                                                     6           0                    0 0                              0            0 (6 0

                                                                0                         0           0(               (6                                                                                                                                     0                                 0               0(               (6



                                                                                                                                                                                                                                                                          27 (Pages 871 to 874)
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                                                                                                                                                                                     875                                                                                                                                                                                        877
 1     16:31:17   "#                      !                       )                                4 )-                        - 4#                 )-           -           !               !   16:34:03               ; 2 !                                   ' )                 ;               H)                                     '           F

 2     16:31:19               ;                                        ) ;                                  4 )                                                          !                       16:34:08       #               #

 3     16:31:22               ; 2 ' )                                              -                   -                   2 )             ! ;) 4 )E                                             16:34:17   "#              E           2           2                       ' 4 ) 5 9++&#                                     4 )              - 2 G                            99

 4     16:31:31   )22                         2                    ' )                 E               3           )           2 )              K       ' )                      3               16:34:22                                   #                                                   4 )'                          .            ;        .!          ) 5              F

 5     16:31:33   -               )                                        )                                               ' F                                                                   16:34:25                           05                  (6 0                                !       #

 6     16:31:43       #                           4 )E                 4 2                                  ?                          2                         4#                              16:34:25                                   #                                       (. 4#
 7     16:31:46           3                   '                                                    3        #          E                        2        3                       ?               16:34:25                       #

 8     16:31:59   )-                          !                ; 2 -                               -                       )               !' ;                                                  16:34:26   "#                      4 )                 - 2 G                                                       4 )                    -

 9     16:32:07       2           -                       -                 -                      -           -                    ;#                       )                                   16:34:31   4 )                     ?           F

10     16:32:14           ? 2                 3       !                                                            - '                      3 #                                                  16:34:32       #                   #           E                       ?                                       . - #

11     16:32:17   "#              )                                '            4 )E                        4 2#                   ) 4 )E                    2                   2'              16:34:35   "#                  2 #                                             '4 ) ?                                                 ; 2 -                     -

12     16:32:20           !                   !                        ;                                           ; 2 !)                           4 )              -               !           16:34:38               ' F

13     16:32:23   ' )                         3                   3 -                  -                                   3               ? F                                                   16:34:40       #           2               ! E                             ?                   .                    . - I)                                '

14     16:32:27       #                                       ) ! ;)                           )            2 )                 !'                      99 )                 2 )                 16:34:45           )                   42                                          #

15     16:32:32                                   ?                   '            3               - 4! ' )                        ;            ?            ;                   )               16:34:47   "# (. 4#                                            !                                                -            F

16     16:32:38       2 )                 #                                                                                                                                                      16:34:51               -                       F                                   99

17     16:32:39   "#              )                               # E                          4            )                                                                                    16:34:53       #                           E .             '# 0                                        ? ; ; 4 7++                        &!+++ -                  -
18     16:32:41   )               2 2 )                           ' )                      ?                           '            3           - 4#                                             16:35:01                                                                               ; 2 #                        E .          ''                ?          # 0

19     16:32:45                       0 ; -                        !               !           ' )                         3 -                  -                            ) K                 16:35:09                   )22                             ?               ;           4#

20     16:32:48   -           -F                                                                                                                                                                 16:35:10   "#                                              .                                       ? . ! --                      2        4 )             ?            !

21     16:32:49       #           ' )                  2               )       4! 4 #                                                                                                            16:35:13   ; - )                               99 4 )                          E               3                ?            !4 )                 E

22     16:32:52   "#              2 #                                                                                                                                                            16:35:14       ?                   !                               ; 2                         K 2 F                    )        ?

23     16:32:52                                    4 )                     4 )-                        3               -                    4            !                                       16:35:18       2       4                                                   ' K 2 F

24     16:32:55   ?                           4!              )-           -               -F                                                                                                    16:35:19       #           )                               '               J-                      -       J

25     16:32:57       #                           '                   3 #                                                                                                                        16:35:24   J       ? -                     #J

                              /(                              (=!                  !                        9(                                  (6 0                         ( 0                                            /(                                  (=!                         !                   9(                         (6 0                 ( 0

                                                      6       0            0 0                                 0               0 (6 0                                                                                                               6           0                   0 0                         0        0 (6 0

                                                              0                        0               0(                  (6                                                                                                                                   0                               0           0(           (6



                                                                                                                                                                                     876                                                                                                                                                                                        878
 1     16:32:58   "# (. 4#                                             4 )                              4 3                    -                                         4                       16:35:25   "#                  2 #                         )'                                          ; 3 4-                    )
 2     16:33:01       ;           3                                                    0!                  0! 0                         )               !                    4                   16:35:29   ; '                                                 ? -                                     )                         -                -!' -                        4 )
 3     16:33:08       ?               F                                                                                                                                                          16:35:34                       ?4                  ?)                  2 2                                     ?             K 2 F
 4     16:33:09       #               ?               ; #              ;        4-                                         4 3              - # 5 '                                      4       16:35:37       #                       #
 5     16:33:11   2           2                                       ;                                         ; 2                         )       4F                                           16:35:38   "# (. 4# E                                          2           2                           '4 )                              ! 5 9++%# ( ! E
 6     16:33:13   "#                      4 )                          4 - ?                                    -          -                                4?                                   16:36:01               4#                      E 2                     5 9++8#                                 4 )                        ?) ?                             F
 7     16:33:17   ;                                        ; 2 F                                                                                                                                 16:36:07       #                       #
 8     16:33:18       # 0                         ) -                      ?           )-                              -       -                                         #                       16:36:07                                       #                                       (. 4# E                           . !              ) 5                  !
 9     16:33:20   "#                          )2           4 )                                     '                                                                                     #       16:36:08   - ) #
10     16:33:24       #       E                       4F                                                                                                                                         16:36:08                       #
11     16:33:25   "#                          )2           4 )                                                     '                                                                             16:36:09   "# /)                           99 ?)                           2                                        4-               I)
12     16:33:27               #                                                                                                                                                                  16:36:14   '                   -                       ?               2 ?                                                           ; ' )K 2 F
13     16:33:27       #               !           # 0                  )                   ) #                 E                   4 H)                      #                                   16:36:19   4 )                                         F
14     16:33:33   "#                                       .4 )                            4 ) 3                               .            4 - -)                               '               16:36:20       #                       #
15     16:33:36           ? -                                 4                    -?                      )                       ' )              ;            H)                              16:36:21   "#                                      E               -               -                                    4 )          -                -;
16     16:33:41                       '               K4                       F                                                                                                                 16:36:24           '                       !                       -                               #>           3
17     16:33:44       #                               ' F                                                                                                                                        16:36:31   ; ' )F
18     16:33:47   "#                          #                                                                                                                                                  16:36:35       #                   ))                                  '                   J -                 -;           #J 0                               2
19     16:33:48                       05               (6 0                                !           9 9 9 #                                                                                   16:36:38               !                                                                                   ; ' )!                         ' 3             '                )        2
20     15:34:39                   #                                                                                                                                                              16:36:46                           ?                                                                                     )                                    ' 2
21     16:33:49   "# 0                    '           .?               # 0                         -                   ) 4#                     4 )              .               4               16:36:57               ?                   2 ? #
22     16:33:52   - -)                                                 4                           -?                  )               H)                                                        16:37:01   "#              E                           )               4 )                     '                    4 H)                      #
23     16:33:56   '           F                                                                                                                                                                  16:37:03                                   E -                     -!                  E       !                             4;                           4 )
24     16:33:57       #               #                                                                                                                                                          16:37:06           3                        ?                                  '                           -
25     16:33:57   "#                      4 )                 .            4 - -)                                                                           ) !                  -               16:37:10   ;           -                               #>              3               E                            4                                     ; ' )F
                              /(                              (=!                  !                        9(                                  (6 0                         ( 0                                            /(                                      (=!                         !                9(                                (6 0                 ( 0
                                                      6       0            0 0                                 0               0 (6 0                                                                                                               6               0                   0 0                          0        0 (6 0
                                                              0                        0               0(                  (6                                                                                                                                       0                               0           0(           (6



                                                                                                                                                                                                                                                                        28 (Pages 875 to 878)
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                                                                                                                                                                                               879                                                                                                                                                                                      881
 1      16:37:15       #                       -# 0                                         4                                                             3                '                         16:40:24                       #
 2      16:37:20           -               #                                                                                                                                                         16:40:25   "#                                  -                  ' 4 ) 5 9+&*!                                                                              ; 2
 3      16:37:20   "#                      2 #                   )                                                                        ;           -                                              16:40:35       -           !               ?                              4 )#                        4 )              ! E I)                            2        4
 4      16:37:24   ' E                     . 2 ; ) 99                                       E ?) '                                                        99                                         16:40:39           2                                          2 ?# 0                          ; 2                  %++9;49,7!                                             2 ?
 5      16:37:27                               ;           - !'              %$+                 #                   -!                   E           &$+                 F                          16:40:42                               '                    &$+# 0                            E               ' 4                       4 )- )                            3
 6      16:37:32       # (. 4#                             4; #                 ).           '!          4                         4E                     ?               -#                         16:40:46   -               -                        4 ) )22                                           ; 2                                                    ??            -
 7      16:37:36   "#                  4 )- )                               3 ;                  '        2                           F                   3                    2                     16:40:48   4 ) )22                                        -                               '               )                3 2 ;                         )        4
 8      16:37:39                '                  2        2                   ' 4 )! ;)                                     ? -                      # 5                         #                 16:40:53       ;                                              ?                   ?           K-                  -F
 9      16:37:42                               #                                  =9&,%!                  ) 5                         !                               -                              16:40:57                                       #            0                                     ;I -                 #                    )                     # 0
10      16:37:54           0! ;                        3 #                                                                                                                                           16:40:58   '                                                                          E .             '                        I -              4#
11      16:38:02                #                                                                                                                                                                    16:41:02                           05                   (6 0                              2 # 0                        ;I -                                        !
12      16:38:02   "#                                                           4 )                          4                                                                                       16:41:03       3           )               #
13      16:38:05   ;       - F                                                                                                                                                                       16:41:05                           05                     0                                   )                        ' F
14      16:38:06       #               3                            '           4 )E                      ' 2! ;)                             2                   ?            2G                    16:41:07                           05                   (6 0                          #
15      16:38:10       4                           4'                       ?               -#       -                    .                   4;                  -                        2         16:41:08                           05                     0                       (. 4#                                                 ?                2 ?                  E3
16      16:38:14                                                            3 #                                                                                                                      16:41:10           3                               ;              !                               -. ! ;)                      2!           3        #                         E
17      16:38:15   "# (. 4#                                     !'                  E                                              #                                                                 16:41:16   .           '               '                          9-                  ?                   ?                        )? 3                                #       )
18      16:38:18                               E 2 ; -.                                     ?             '                        99                                                                16:41:23                   E           ?                ;         4                       E ?                                  ' .
19      16:38:20                               #                                        - !           ) 5                         !               =9&+1                                              16:41:30           -                   )-                     ?               4                       3       #
20      16:38:24       -        #                                                                                                                                                                    16:41:32                       #
21      16:38:24                #                                                                                                                                                                    16:41:33   "# (. 4#                                       )                   4?                      - 4                           '
22      16:38:30   "#                  '                                ?) ?                 )                           ?                                #                                          16:41:37                            ) -                       #           )' )                        2                                         E            ' 4
23      16:38:35   ;       - # 0                            E               '                                    2 ;                                  !                    E                         16:41:40   ; 2 ' )                                          3                                             ?                ?        F
24      16:38:37                                           4-                                                                                         2K -                -F                         16:41:43       #                           -#                         E )                                          '           ?                    ?            - )           ;
25      16:38:40       #               #                                                                                                                                                             16:41:49                               )                                  #                       .               -) )                              #
                               /(                               (=!                 !                 9(                                      (6 0                         ( 0                                                  /(                                 (=!                     !                       9(                                (6 0                       ( 0
                                                    6           0            0 0                         0               0 (6 0                                                                                                                         6          0               0 0                             0            0 (6 0
                                                                0                       0         0(                 (6                                                                                                                                            0                           0               0(           (6


                                                                                                                                                                                               880                                                                                                                                                                                      882
  1     16:38:41   "# (. 4#                                '! E             2           2                 ' 4 ) 99                                        ;3 ) 4!                                    16:41:56                           05               (6 0 0                                .           )            )                                4 )                            4!
  2     16:39:02                                       )??                  -               - '                          ; 2 K-                                -F                  4 )               16:42:00           #           G ! 4 )E                               4 2                                     ?                                  '
  3     16:39:05    ?               F                                                                                                                                                                16:42:09                               9-                             )- ) F
  4     16:39:05       #               #                                                                                                                                                             16:42:10                           05                   0                                 #
  5     16:39:06   "#                                  ; 2 ' )                               3 -                                          '               3                    -           4 )       16:42:12                           05               (6 0                              4 )             4                4 )                  E                     ' 99 ' 4
  6     16:39:11                                       .                -           - '                          ?                F                                                                  16:42:17       ' )                     ;                      !-                      4?                                   ) -                      F
  7     16:39:15       #               #                                                                                                                                                             16:42:20                           05                   0                                     -# 0                         )                                 !     ?
  8     16:39:16   "#                      !           E            .                                 ?                  2 ? ! ;) '                                                                  16:42:25   ?                                        3       F
  9     16:39:20                               2                # 5 9+&7!                            .               #                                                                               16:42:28                           05               (6 0                          ;4                  4 )                  )- !                          !
 10     16:39:25                                   4 )                          ?                 ?          F                                                                                       16:42:32   '               ? -                                                                3           F
 11     16:39:28       #               #                                                                                                                                                             16:42:37                           05                   0                          )          2           -            )-               #           E ? ; ;4
 12     16:39:30   "# 5                    4 )                                  ;                                ?                    2 ?                 F 5 3 4 )                                  16:42:38                   ?                       ?          #               ; ;4                                              #
 13     16:39:33   ;               )                                                                             ?4                                           F                                      15:41:18                       #
 14     16:39:36       #           !                   3                                ?            2 ? #                                                                                           16:42:46   "#                          2 #                         .4 )                                       ? 3 ) 4
 15     16:39:38   "#                          .                H)                      -) !                     E            !                   %++9                                               16:42:48   ; 2                                                                                %+                                        K-               -F
 16     16:39:42   ; 2                     - )                      4-                  -                3               4-                   - '                                  '                 16:42:53       #                   #
 17     16:39:46   '           )                   3 2 ?                                          ?                  ?             K              E                       2 F                        16:42:54   "#                          4 )' )                             2           '                                        #>               3        E                         4
 18     16:39:53       #                   !                                                                                  ?               2 ? #                                                  16:42:57                                           '              ;I -                                        ' '                                                ;I - F
 19     16:39:57       3               4!                       ;       4; .                         ?                   ?            #                       E .         '            '             16:43:04       # 5 -                                4                                 '                           2!       '                        .!
 20     16:40:04                       ?                    ?                     )? 3                               #                                                                               16:43:12   - )                 E                       2)             -            4 @- ?                                           3
 21     16:40:07   "#                      ! 4 )E                            )22                 2                   99                                                                              16:43:20   -           -                           ; 99                       !                               ' ! ? ; ;4
 22     16:40:09                    05                     (6 0 0                       E        @ ; &+1K -                                   -F                                                     16:43:24           )           -                            ? 3                   2 2                 #
 23     16:40:12                               #                                        !        ) 5                      #           E                                                              16:43:27   "#                      )           4 ) 2                      '                                                     2                            - ) E
 24     16:40:14   ' E3                            ? 3 ) 4! '                                         ?                   ?                       '                   2                #             16:43:29   -               2!                             -            2!             %+                                   F            ?? @                          4
 25     16:40:18                    05                     (6 0 (. 4# 0                                   . #                     ) H)                            ' F                                16:43:35   %+                   F

                               /(                               (=!                 !                 9(                                      (6 0                         ( 0                                                  /(                             (=!                     !                   9(                                (6 0                      ( 0

                                                    6           0            0 0                         0               0 (6 0                                                                                                                         6      0               0 0                             0        0 (6 0

                                                                0                       0         0(                 (6                                                                                                                                        0                           0               0(           (6



                                                                                                                                                                                                                                                                       29 (Pages 879 to 882)
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                                                                                                                                                                                          883                                                                                                                                                                                                  885
 1     16:43:36       #                - )                 ; #                                                                                                                                    16:47:44   "# (. 4#

 2     16:43:37   "#                           4 )                               4                                     #>              3              !       2                                   16:47:45       #           99                  !           ?           2G #             @- ?                                 . ?- )                                      #

 3     16:43:40            '                               -                     !                       E                                %+                    ;)              '         4       16:47:49               G               '                               - ?              '                    I)                                      ?- )            #

 4     16:43:46   '                            F                                                                                                                                                  16:47:54   "#              4 H)                                        3 4                   ?                                   4 )                            4

 5     16:43:47       #                                        .! 4 ) -                                            4               2                                    )                 #       16:47:58   - ?                     2 )                                 )?               4!                                       4                              F

 6     16:43:52           ; ;4                                 2            2 )                  )                2 )                                           ?           -                     16:48:02       #                                                       #
 7     16:43:58                                3                    ?                                -            -                       ; ;)                                                    16:48:06   "#                          4 )                  ?                                    '                                           - ?                ??           !

 8     16:44:04       )                                        2                )2                                            ;           ;                                                       16:48:09   '                           ; 2                  - ? 2F

 9     16:44:09            ; 2 #                                                                                                                                                                  16:48:14       #                       !                                   - ?                                               ?                        ;         3

10     16:44:11   "#                                       4 )              ?                                    '                            ''                            ; 2               <   16:48:20           . ?- )                           #                       - ?                                          )-           );

11     16:44:18   :*%*F                                                                                                                                                                           16:48:26                                                       3                                                                                 -                  -        -

12     16:44:19       #            E               4 ?                                       E                            4; 2                                                                    16:48:32                                       )        -                       -            -                   ' !                                             - ?

13     16:44:27                                                    ?                                              ; 2                     -               4; - )                                  16:48:37   2                       - ?                                                                           2               -           '                           ; 2

14     16:44:32                - ?                                              2                                                  ?                                                              16:48:42   - )2                                                 2 #

15     16:44:36       -                                        ; 2 #                                                                                                                              16:48:44   "#                  )' )                             2                                                    - ?                             4 )         3

16     16:44:38   "#                       )E3                                   ?                               K-            -F                                                                 16:48:46                                           4                                                         3 F

17     16:44:40       #                    #                                                                                                                                                      16:48:50       #               #
18     16:44:42   "# (. 4# E                                       .                                         4 )               -           -                    2               2                 16:48:50   "#                  )                                                                             3               F

19     16:44:50                            ?                   #                             #< ;                                     '                           ?                               16:48:54       #                   #

20     16:44:54   :*%*!                                    '                    #>               3                         #                                                                      16:48:54   "# (. 4#                                                 '           4 ) @?                                               F               - )                 ; 2 '

21     16:45:51                                    #                                         4 )                   3                   ? 2                                                        16:49:02   2           2 )?                                    ' K                               2 F

22     16:45:51   ;                        4 )? 4 !                                      'F                      2 71!                     ) 5                      #                             16:49:03       # 0                     ; 2 99                                                            4 - ? !                                                )                        2 !

23     16:45:51                                                             4                        !           ) 5                      ! '                       3                             16:49:14   ?           )-                      ;4               ; 2                         M                                        -                 )                         2

24     16:45:53                                        2                        '                        E '                                      ) E                       #                     16:49:19               #

25     16:45:56                                            2 17                      11#                          '                3              3               - ?                             16:49:21   "#                   E 2 ; -.                                    =9$ 2                            #

                               /(                                  (=!                   !                        9(                                      (6 0                      ( 0                                  /(                                   (=!                     !                        9(                                      (6 0                 ( 0

                                                       6           0            0 0                                   0            0 (6 0                                                                                                            6        0               0 0                                  0               0 (6 0

                                                                   0                         0                   0(               (6                                                                                                                          0                           0            0(                          (6



                                                                                                                                                                                          884                                                                                                                                                                                                  886
  1    16:46:05            F                                                                                                                                                                      16:49:31                                           2 #                 )        3                    ; 2                                 '                 )?                    99

  2    16:46:06                        #                                                                                                                                                          16:49:34       #                   #

  3    16:46:13   "#                                                        4 )'                             ' E          2           2           -           >         3           :#            16:49:35   "# 99                           3 2                  )-.                 ' #                                  4 )             4                                       4

  4    16:46:40                                    #                             E -                          ; -.                            !           ) 5                   #                 16:49:44   2                       '                        '          )                         )-                                                       ?

  5    16:46:42                        #                                                                                                                                                          16:49:49           )                       ;            - K 2 F

  6    16:46:42   "#                   )               .                     ; )                 - ? #                                                                                            16:49:51       #               #

  7    16:46:44       #        E                       4#                4 )             ?                   F                                                                                    16:49:52   "# (. 4#                                                                                          . !                     !'                        ? -

  8    16:46:46   "#               - ?                             99                                                                                                                             16:49:56                   )                           ;           - F

  9    16:46:46       #                    #                                                                                                                                                      16:50:00       #                       4 ?                         !         ; 2                                     -               -

 10    16:46:47   "# 99                                3           ' F                                                                                                                            16:50:03                                            ;              -                                                     !

 11    16:46:47       #                    !4 #                                                                                                                                                   16:50:12           -                                        )          !-               -                                    ?

 12    16:46:48   "# (. 4#                                               )                                       4 )                              4! 4 )E                           . 2           16:50:15   ;           -                                                3       ' 4                                                                    ;         -                   )

 13    16:46:50       ; )                          G                    - ?                                                ' F                                                                    16:50:27           -                       2                                        '                                    &!*7+                                                       ;

 14    16:46:55       #                    #                                                                                                                                                      16:50:34   ;           2 '                                             )        ;                -                               #

 15    16:46:55   "# (. 4#                                                               )                                 '                              2                         '             16:50:38   "# (. 4# 0 4                                                I)                    '                       4 H)                        #         4 )' ) !

 16    16:47:01                                                         ;       -                                      )                  ;               - F                                     16:50:41               !                   ' ) ;4                           . 2                                  3                                         !                 2
 17    16:47:05       #            99              !                E ;          3                                    3               4 J)                        #J                              16:50:45   '                                   ; @ !'                                                                                        -             -     '                       '

 18    16:47:10            E .                 ''                               '                -                                #                                                 - ?           16:50:50               ' !                     -)               2                   )                        ;               - #             )        4 )                '

 19    16:47:14                                        ?            2 ?                                                        -                                        -       -                 16:50:55   I) 2                        '                    ; 2                 2                                 ) F

 20    16:47:19           ;#                                                                                                                                                                      16:50:59       #                       !                3              4                     ;                   3                       '

 21    16:47:19   "#                           !            4 )2 3                                                     '                                  ? -                                     16:51:05   -               -           ;                                    )                        ;               - #                               ; 2

 22    16:47:23   - ? F                                                                                                                                                                           16:51:09                                   ;            - !-                -                    2                                       '                          99

 23    16:47:25       #            3                                    '                    99 4 !                            #          )!              !                                       16:51:16                                                               )     ;               - #

 24    16:47:33            ! '                         E 99                                      )                         #           '                   . 2                                    16:51:19   "#                      ') '                                                  @ -                         - ' #

 25    16:47:39   .                                    2 ! ;)                            E ? 4                                                                - ? #                               16:51:21       #                           E            3              -        #                        E                                   #

                               /(                               (=!                  !                           9(                               (6 0                      ( 0                                          /(                                   (=!                     !                        9(                                      (6 0                 ( 0

                                                       6        0               0 0                               0            0 (6 0                                                                                                                6        0               0 0                                  0               0 (6 0

                                                                0                        0                   0(            (6                                                                                                                                 0                           0            0(                          (6



                                                                                                                                                                                                                                                                         30 (Pages 883 to 886)
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                                                                                                                                                                                                     887                                                                                                                                                                                        889
  1    16:51:23   "#                          !           E                                                                         )                    ;           -       2                               16:54:47                            99                           ?                                                                                4 F

  2    16:51:25                   F                           E                                        4 )F                                                                                                  16:54:50                            #            0 0                  '                    E           ?           '                      -

  3    16:51:27       # (. 4# (. 4#                                                                                                                                                                          16:54:52    @ ;             F

  4    16:51:28   "#                                                               #                                                                                                                         16:54:53                    05           (6 0                             3                    '                       E        ?                     # 0

  5    16:51:29       # 0                         ' )             ;                                                 ?                                        )       ;           - !4 #                      16:54:55                        #                        !                E                     #

  6    16:51:31   "#                                                  -                -                       F                                                                                             16:55:01                            #            0 0                                           2                   ' -                                     3

  7    16:51:32       #       E                       4F                                                                                                                                                     16:55:03       2            'F

  8    16:51:33   "#                                              -            -                           F                                                                                                 16:55:05                    05           (6 0                             E                -                                # :!             E            4 2#

  9    16:51:35       #                   #                                                                                                                                                                  16:55:08            -                         # :! ,% ? 2                              J                                    ?             2 ? -

 10    16:51:35   "# (. 4#                                                     E 99 E                              .                         4 )# J                          -                               16:55:13    3           -           )??                      2            -           -)                                       ?                  ?

 11    16:51:38                   #J                                                                                                                                                                         16:55:16                ?           #J                   E           3                                 ;           .#                    4            3

 12    16:51:40                        05                 (6 0                     E           2               2                         )? 4 ) I)                                                           16:55:20                '                                        4                              2                                   3 #

 13    16:51:42           -            #                                                                                                                                                                     16:55:26                            #                                                      ) 5                                  3                 . -                      F

 14    16:51:44                                   #                                                !           ) 5                   #                                                                       16:55:27                    05           (6 0                         #

 15    16:51:44                        05                 (6 0                             #               G !                                   .           )           )                                   16:55:27                            #                                 E I)                 ;                                    . -               #       E

 16    16:51:46   4 )#                            4 )                 44 )                     '?                      2 ?                           - )                     .                               16:55:27   I)       ;                                . -              #                    4 )                         E            3                 !

 17    16:51:51               '                               F                                                                                                                                              16:55:30   4 )E                          2                   ?                         99
 18    16:51:52                        05                         0                                    #                                                                                                     16:55:33                    05           (6 0                                 E            3           #

 19    16:51:54                        05                 (6 0                                                     99 '                                                  ?               2 ?             F   16:55:33                            #                                             #

 20    16:51:56                        05                         0                                        ?                    4            ?           #               3                       4           16:55:33                    05           (6 0                                 2 #                      ! E                  .                         ;

 21    16:51:59   ;           -               #                                                                                                                                                              16:55:36   ? 3                      '                    #

 22    16:52:00                        05                 (6 0 (. 4# E                                                      . 2                  4 )                 ?           !                           16:55:39                            #                                         )        4 ) .                                        99

 23    16:52:05   4 )- )                          I)              23                   99                      3                2                    !           #           4 )                             16:55:41                    05           (6 0                         !           #            E )?                    '                 3        '

 24    16:52:13           3           F                                                                                                                                                                      16:55:44    #           4 )                  E '                                  ! E                          2           2            99 I)

 25    16:52:14                        05                         0                                        3       #                                                                                         16:55:45   '                        2                        @       ? #                           )                        E                99                -               -

                              /(                                  (=!                          !                    9(                                   (6 0                        ( 0                                         /(                           (=!                     !                     9(                                       (6 0                   ( 0

                                                      6           0                0 0                                 0            0 (6 0                                                                                                            6       0                   0 0                           0           0 (6 0

                                                                  0                                0           0(                   (6                                                                                                                        0                            0            0(                  (6



                                                                                                                                                                                                     888                                                                                                                                                                                        890
 1     16:52:17                        05                     (6 0 (. 4#                                           I)           '                                '               ' E                         16:55:48   E                    2                                         @            ? #

 2     16:52:22           . 2 ; )#                                                                                                                                                                           16:55:51                            #            0                                                     2                        !                 4.           '!

 3     16:52:23                                   #                                                ) 5                      ! -                              (                   !           4 )             16:55:53            ?                        E                            -                     2                  '!                                      @ ;

 4     16:52:23   '           !                               ;                                        4;           4               #                    3                                   #               16:55:56    ) ; F

 5     16:52:58                        05                     (6 0 (. 4#                                                                                                                                     16:55:57                            #                                    -                                             #            G E           ?        #           E
 6     16:52:58                                       0                                    ?                            3                                    ?                       !                       16:55:59                    -                    :! ?                 2 ? 99                                   .           .              4; 1!

 7     16:53:01                    '                                      .        )                   E3 2                              )                   2               #                               16:56:03        #       G F                              ?            2 ?                      ) ; F

 8     16:53:06                        05                         0                        0                                    - ? #                                                                        16:56:06                    05               0                                                  #7                              -                         # :#

 9     16:53:09                        05                     (6 0                                     4 )                              99 . 4#                                  ?- )                        16:56:11                            #            (                       ) 5                        ! E                                      E        @ ;

10     16:53:14               F 5 '                                            ;                       F                                                                                                     16:56:13   :+%#

11     16:53:17                        05                         0                                        !            -                                # : 99                                              16:56:14                    05           (6 0 (. 4#                                                    2                                 @ ; 99

12                                    #                                                                                                                                                                      16:56:17        3 - ?                                            ?                                             '            ? 3                                        #

13     16:53:23   "#                   #              G !                 4 )- )                                       )                                     ) ; !                               -           16:56:20   '                )                        4 '                                   - !                             E 2                   )2

14     16:53:26   ?)               )?#                                                                                                                                                                       16:56:23    @ ;             '                                .                         ?                                    4           ? G                        #

15     16:53:29       #                       ! E                         99                                                                                                                                 16:56:25   0        E '                              #

16     16:53:31                        05                     (6 0                         I)              '                                                         .       )                               16:56:26                            #<                       0                -                4!                  ?                     ? 2 &%*
17     16:53:33           3                               4 '                                              - !              E                                ?                                               16:56:29            &179? 2                      @ ; !?                               %#

18     16:53:37           3 #                         3 ! . ! 2 )? 7 ? 2 :! 2 )? ,! ? 2 99                                                                                                                   16:56:32                    05           (6 0                                 '                    .               @ ; :+%! ' -

19     16:53:41                        05                         0                                    )E                   . 2                                                                              16:56:34    F

20     16:53:43               -                       #                .                               -                            # :#                                                                     16:56:35                            #<                       0                        -#

21     16:54:17                        05                     (6 0                     E                           )                     3                   # /)                                            16:56:35                    05           (6 0 (. 4#                                    I)                          E            3                          !

22     16:54:19   ?                           E                   ?            ! E                                 )                     3           !           99                                          16:56:37   ' - '                        ? 3                                                            @?                       ?        !' -                              3 '

23     16:54:36                                   #                                                    3                    )?                       !           ) 5                     #                   16:56:42                4       ? G              #

24     16:54:38                        05                     (6 0                                     2 #                               #                   '                           .                   16:56:45                            #<                       0            2 :%1 99

25     16:54:40                        !'                                      E                   3               -            ;            )2                                      @ ;             !       16:56:47                            #            0               #            G E              ?           #                             I) 2

                                  /(                                  (=!                          !                    9(                                   (6 0                        ( 0                                     /(                           (=!                     !                     9(                                       (6 0                   ( 0

                                                          6           0                0 0                                 0            0 (6 0                                                                                                        6       0                   0 0                           0           0 (6 0

                                                                      0                                0           0(                   (6                                                                                                                    0                            0            0(                  (6



                                                                                                                                                                                                                                                                          31 (Pages 887 to 890)
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                                                                                                                                                                                                    891                                                                                                                                                                                       893
 1      16:56:50                   E               3            99                                                                                                                                          16:59:53       #                        -#
 2      16:56:51                       05                  (6 0                     -                  ' 4 2                              @ ; :+%#                                                          16:59:54                                   #                                                4!           ) 5                     #
 3      16:56:53                                   #            0                  # 0                          @ ; :+%#                                                                                    16:59:54                       #
 4      16:56:56                       05                  (6 0                         !          #                3                     -               99                                                16:59:54   "# (. 4#                                     4 )                                      4                                                                -           -
 5      16:56:59                                   #            0 ( !                                  )                          #                                                                         17:00:00   ; 2                          4                                               -                -                                       ?
 6      16:57:01                       05                  (6 0 99 @?                                           ?                                     )2            '                                       17:00:05           )                    ;           - F
 7      16:57:02       ?                                   ??                  4!                                        ?        #               2 #                                                       17:00:06       #                        -#
 8      16:57:06           #               . #                                                                                                                                                              17:00:07   "#                          ! . 4#                                    ;3 ) 4 4 ) -                                E                   ')                   ; - )
 9      16:57:08                                   #<                      0            E ? 2 &%*                                :+%#                 E                 '                                   17:00:10                   '                    2           K-                  -F
 10     16:57:14   2)4 '                                                               #                                                                                                                    17:00:13       #                        -#
 11     16:57:47                       05                  (6 0                             -          ? -                   # E                          4                                                 17:00:14   "#                  )            -               -                   3                                ! ?)                2?                  !            4 )
 12     16:57:49               )?                      #        I)             '                                    .        )                    3            3 4                  2                       17:00:18               !                                -               -                   2                    '                                           )
 13     16:57:52   -           ?               #                       '                                    .           )             E                        @ ; ;                        .               17:00:24                       )                    ;           - F
 14     16:57:58           ' # /)                                          4        . #                                                                                                                     17:00:26       # (. 4# 0                                            4?                               E           2           '           4 )
 15     16:58:06                                   (. 4#                       #               . !'                         3         4 )'                                      )           #               17:00:31                   -               -        2                   3               ? - #                                        ;           3                            .
 16     16:58:08                       )?                  4 )#                                                                                                                                             17:00:38   ?- )                                                 3                                            I        -              - #
 17     16:58:10                                   #                               0               . 4 )!                    ) 5                  #                                                         17:00:43   "# (. 4#                                 )               3           -)              ?- )                                         ?
 18     16:58:10                       05                  (6 0                    E 23 4 )                                                   #                                                             17:00:47           )                    ;           - '                     '                    4 )             4-                  - '                              F
 19     16:58:10                                   #                                               E            3            )-                       #                                                     17:00:50       #                   #
 20     16:58:10                       #                                                                                                                                                                    17:00:51   "#                                  '                4-                      - ?                               4 )                3 F
 21     16:58:14   "#                  #            G !'                           ' '                               2'                   '               3         =9$ ; -.                                17:00:54       #                       ! E                                                                   4 )             '                   4?
 22     16:58:20   ;               !                   '               3                    ' 2                          H)                               -         2                                       17:01:00   8++                                                      ' #                 ' .                          8++                                     ' !
 23     16:58:25   '               -                       '                   4 )? -                                   ; 2 #                 )               4 )? -                                        17:01:07                   . ?- )                                       3                        I                               -               -#
 24     16:58:29                               H)                                                           ;           -                                 )        ;        -                               17:01:13   "#                      4 ) I)                           3           @           ?            # 0                          4;
 25     16:58:33                                           ?               '                   4 )              4               ; 2 '                          F                                            17:01:16       3               - '                                      4               )                                        F

                               /(                                  (=!                     !                    9(                            (6 0                          ( 0                                                        /(                               (=!                     !                        9(                              (6 0                      ( 0

                                                       6           0               0 0                           0              0 (6 0                                                                                                                      6           0                   0 0                          0            0 (6 0

                                                                   0                           0            0(               (6                                                                                                                                         0                           0            0(                   (6



                                                                                                                                                                                                    892                                                                                                                                                                                       894
 1     16:58:36                                                        G 4 )                               E .          ' @ - 4! ;) ?                                                                       17:01:18       #                           -#
 2     16:58:38            ?-                                          )                           2                                      ; 2                      ) #                                      17:01:18   "# (. 4#                                         2 #                         E                    .'                      J,J
 3     16:58:46        #               )'                                                   - ;                                           2                                                                 17:01:22   ?                           -                -# 0                        . 4 )#
 4     16:58:52                                )           ;           - F                                                                                                                                  17:01:27                                                                        -                -!                      ; 2 '
 5     16:58:53    "#                      #                                   E '                 4 )                          - ;                                 #           )E3                         17:01:31           2 ;                                  K-                  -F
 6     16:58:55                                                      4#                        . 4 )E3                            )                                 ; 2 '                                   17:01:33       #                        #                                   99                                   99              -                -
 7     16:58:58            '                                                           4-                   -                         '                                                                     17:01:37   ? -                                          8++                                                      '                       -                                ;       . 2
 8     16:59:03    ;           -                                                        ?                                         )                   ;             - K-                    -F              17:01:46       ?                                ?                                           ' !                                      ; 2 '                                           99
 9     16:59:06        #               !           -               -#                                                                                                                                       17:01:52   "#                      '!               ' 99
10     16:59:07    "#                                          '                   -               -                                                           99                   '                       17:01:53       # 99 ?                           - 99
11     16:59:10    -               -                            ; 2 '                                       '            ; '                                           ' 2                                  17:01:54   "#              E                        4                               )?                   4 )#
12     16:59:13        ?           F                                                                                                                                                                        17:01:55       # 99                                 ?               -                            #
13     16:59:14        #                       4 ?                         !                    '                    -            -                                 ; 2                                     17:01:56   "#                  ;               3 4 )E3                                                               !                       -           - )?
14     16:59:21                    )                                                                        ;            -                                                                                  17:01:58                                    ;           - !4 )                                                               '                   3       ;         '          K
15     16:59:25            )           ;               - #                                                                                                                                                  17:02:04   -               -F
16     16:59:26    "# (. 4#                                        3                )                                   4 )#                                                                                17:02:04       #                   !                    E                       4 .                          #
17     16:59:28                            05              (6 0                                             !            E        2           4 )-                                      #                   17:02:06   "#                          !            '                            ; 2 2                                               2               F
18     16:59:31                        #                                                                                                                                                                    17:02:08                                    #               0 (;I -                                  !           ?           3 #                 E ;                      .
19     16:59:32    "#                                          ' )                 E ;                 4 - ?                      ; '                                           ' 2                         17:02:12           3                                #
20     16:59:35    ?               K 2 F                                                                                                                                                                    17:02:13                           05               (6 0                                    !4 !                             4           3 ;                          .       ! ;)
21     16:59:37        #               ' )                 ;                   4            - ?                              ? 3 )                        --                !                       2       17:02:15       E                   -                                    #                    4               3 ;                         .           #       E
22     16:59:43                ! 2                             - ? #                                                                                                                                        17:02:20   -                                    #                           -                    ' #
23     16:59:44    "#                                          2                                   ; 2 ; '                                                     ' 2                              ?       !   17:02:23                           05                       0                                        E .                 '                   @ -                 I -          4
24     16:59:47    ' -                     E 99                '                    E3                                  99 '                      .                                                         17:02:25               ; 2 # 0                                          4               2 .                      '!                                              -)
25     16:59:50    '           99                      E       )??                                 ;            J&J                               ' ;                   J%#J                                17:02:33       3               ; ! E -                                                                           ; 2                         3
                               /(                                  (=!                         !                    9(                                (6 0                          ( 0                                                /(                               (=!                         !                        9(                                   (6 0                    ( 0
                                                           6       0                0 0                             0            0 (6 0                                                                                                                         6       0                   0 0                              0           0 (6 0
                                                                   0                               0            0(               (6                                                                                                                                     0                               0                0(              (6



                                                                                                                                                                                                                                                                                32 (Pages 891 to 894)
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                                                                                                                                                                                                         895                                                                                                                                                                                       897
 1      17:02:37   -           -                                    '                                                           99 -                            2 ?                                            17:05:45            '                           4'                   F                        '               3 2 2                                 '               F

 2      17:02:46                                                ;           - #                                                                                                                                17:05:49    #       E                       4#                   ?                2           4 ) H)                             #

 3      17:02:47                   #                                                                                                                                                                           17:05:52   "# 5 '                                                    ; 2 !                        !                              .        -            -

 4      17:02:47   "# (. 4#                                     !;                          I) 2                                                            3 2                                                17:05:54            !2                          )           99

 5      17:02:51   '                       #           - )                      4 )-                            0               ?.                                              -! '                           17:05:56    #                   #

 6      17:02:55   '                                                @                               !           4                               ; 2                         ' ;4                               17:05:57   "# 99                    4 ) I)                                                    '                             '                 4'                ' -

 7      17:02:58                   2?                       !                               ; 2                                         ; -                         2                                   ) K    17:06:01    -           )?                                  - )                                                    ;        - F                             '

 8      17:03:02   -           -F                                                           2?                      )?                                      ) #                                                17:06:05    2        F

 9      17:03:06           E )                                      '                                           '               ? ?                         2               ; 2                                17:06:06    #                       !                           '                             '                    4'                      >        3

 10     17:03:12                   -                #                                                                                                                                                          17:06:11        - ;                     !' !                             ; 2 ' )                          ; 2               2         )                 ' 4                     !

 11     17:03:14                               #                0 /)                    ;I -                    # > 2)                                  ?                                   #                  17:06:15    -) 4                            #               99

 12     17:03:18               E .             '' -                             4! ' -                              )!' -                                                               ' E                    17:06:16                    05                  (6 0                                          '                ; '                                 2            ) K             )

 13     17:03:22           . 2 ; )#                                                                                                                                                                            17:06:19   '         ; '                                             #

 14     17:03:22                   05                   (6 0                                    4               !               E           4! ; '                               )              4                                          #

 15     17:03:25                   2                                                                    ;       - 99                                                                 ;          - #            17:06:20   "#                                   4 )E                     )22                  2                            ; 2 '                       -) 4

 16     17:03:33                               #                                            #                                                                                                                  17:06:23                                        ?                '                        #>              3            99

 17     17:03:33                   05                   (6 0                                                                )2 F                                                                               17:06:26    #               ! E                 )22                       2 99                        E .          '                     I -           4#           .       '

 18     17:03:35                               #                                0               E               '                                                                4 )                           17:06:29            ; 2 '                                                                                      ?                 -             -                2           2

 19     17:03:36   -        99                                                                                                                                                                                 17:06:34        ) #

 20     17:03:38                   05                   (6 0                        )               2                               '                   ' !              4 )'                   #              17:06:34   "# (. 4#                                                                       ;           -                      ?             99                   ?

 21     17:03:42                               #                                                #                                                                                                              17:06:39        #&                  ?                        # %! 4 )                         E .              '                     I -           4 @ - 4#

 22     17:03:43                   05                       0                       0                   . 4 )#                              !                   E .         '                   )              17:06:44        4 ).                        '                                                 -                -                ' F

 23     17:03:46                           -                                    ; 2                                     -               !                                E .             '                     17:06:51    #                   #

 24     17:03:55       @ - 4'                           ? ?                         #                                   !                                       ?           ;           4                      17:06:52   "#                                   -                    3                    ; 2                  ' 4                              '               !' - '

 25     17:04:02                           ; 2 '                                3               ;4 '                        #                                                                                  17:06:59   )            2                                            2 ;                       !               3 -                                      -                   - )

                               /(                               (=!                     !                       9(                                          (6 0                        ( 0                                        /(                                  (=!                       !                   9(                              (6 0                      ( 0

                                                   6            0               0 0                             0                   0 (6 0                                                                                                                     6       0                    0 0                          0            0 (6 0

                                                                0                           0               0(                      (6                                                                                                                                 0                             0           0(                   (6



                                                                                                                                                                                                         896                                                                                                                                                                                       898
 1      17:04:06                   #                                                                                                                                                                           17:07:01            -                   ; -. )                                        -                                - )                          ' F

 2      17:04:08   "#                                       ?4 )                            #                                               '                           -            F                         17:07:05    # 0                     '                   ' !                       4 ?                      !                         4 )            2

 3      17:04:13       #           -           '                #           -       '                                                           -                               99                             17:07:10        2 ;                                 #                                                              ??            !             '                '

 4      17:04:20       -               )                   #                                                                                                                                                   17:07:14   ? )              2                           ; .                  '                        ?                                   -;

 5      17:04:22                                                            - )                                     - 4                         ?? 2 '                              !                          17:07:22            3 4 2                                   -                                         ?                              '                      -

 6      17:04:26               !                    2           - 4! '                              -                                   ' '                                                                    17:07:29   ;4               ; 2 #

 7      17:04:32   -                           G                    '                       ,1+                 2                                                   -               !                          17:07:31   "#                               '                            3                    ; 2                  )F                )         E                3

 8      17:04:39   ; - )                            '                   -                           ' !                                 2 )                 !                           ?           #          17:07:35   2 )                                                                    )                       4 ) I)                      - ;                               F

 9      17:04:42                                                    -                               ;)              #                                                   -                                      17:07:43    #                               ;                                                             4                           -         2' 3 F                          4 )

 10     17:04:51   '                                        E               3       -                                               -           !                   - 3                     4                  17:07:45        3               -               2' 3 # 0                                  4                            -     2' 3 # 0                           ' 3             99

 11     17:04:58           '                   )        #                                                                                                                                                      17:07:48            ; 2                                          2                !                                    -     2' 3 -                                 3

 12     17:04:59   "#                  E                                                                    !                   # /)                ;               4!                      4                  17:07:54   ; 2 7+                                       ' 4                                                   ' !                             '             '               3

 13     17:05:03   ;                           #>           3                   '                           ;I - ' - 4 ) )22                                                                                   17:08:02        )                                   -                                                 ' #

 14     17:05:08   ; 2 !                            '                           -               '                           ; 2 -                                   2F                      !       ) !        17:08:04   "#                   4 )E                    )22                   2                       '                      -        2' 3

 15     17:05:12           '           F                                                                                                                                                                       17:08:07            '                           - )                               ; 2                      ?)               ' 4                                 ' F

 16     17:05:15       #                                ! ;)                            E .                 '                           '                       -               '                              17:08:12    #           E               ?               ;        ' 4;                                              -        '              ; - )

 17     17:05:16   -             2#                                                                                                                                                                            17:08:17   ) ;)                     -                            ;        2                                    ;)            2                                      -

 18     17:05:18   "#                      4 )                      E .         ''                          '               !3                      ;                            '              !'             17:08:21   '                -                           43 4 2                                        -            #

 19     17:05:21           -           2                %+9                                                                         ; 2                                                 F                      17:08:27   "# (. 4# E                                           3             #

 20     17:05:24       # 0                         4                                                    3                           -       '                                                   2              17:08:29                                )           .                ; )                                  - -.                   2 ?

 21     17:05:30                                       '                            ?                                                   #                                                                      17:08:33        )                       ;           - !                      E 4 )F

 22     17:05:33   "#                                    ! 4 ) )22                                  !                                   '                   4'                  F                              17:08:36                                #                                         )           '                .            99

 23     17:05:38       #               #                                                                                                                                                                       17:08:40                    05                          60                                            )'                         - ?)                                   F

 24     17:05:38   "#                          '                                ; 2                                 2                                           ?                           ) !                17:08:43                                #                                             !?                   #

 25     17:05:42   4 )E                )22                      2                           4                                       ;                   !                   '                                  17:09:18                                                         E                                     .                   @ ;                          ! ;)

                               /(                               (=!                     !                       9(                                          (6 0                        ( 0                                        /(                                  (=!                       !                   9(                              (6 0                      ( 0

                                                   6            0               0 0                             0                   0 (6 0                                                                                                                     6       0                    0 0                          0            0 (6 0

                                                                0                           0               0(                      (6                                                                                                                                 0                             0           0(                   (6



                                                                                                                                                                                                                                                                                    33 (Pages 895 to 898)
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                                                                                                                                                                                                      899                                                                                                                                                                                              901
  1     17:09:21       I)                       3                            H)                   #                                                                                                         17:12:46           2                           !                        988                   ! 4 )E                                 '           K 2 F
  2     17:09:22                       #                                                                                                                                                                    17:12:49       #                       #
  3     17:09:24   "# 5 '                                2                        .                   ; 2                      2                        ?           &                                       17:12:50   "#                                                       '                           99                  '            '                       ? -              2 ? F
  4     17:09:27   ?                   %F                                                                                                                                                                   17:12:54       #                       #
  5     17:09:31       #               --                2                            -)                                   3 '                                                                    4         17:12:55   "#                      )                       ;4 4                                 -?             ) F
  6     17:09:38   '                       !                 .               .                -               -                                                 ;         -                                 17:12:57       #                       #
  7     17:09:48       --)                                                            7 ++ # #                             )           ; : :7K - )                                ;                         17:12:57   "#                  )               E 4 )                                            4                           2 ?                      4 )-                 -)
  8     17:09:58       3 !                               )                           7 ++#                ?? @                                 4           )        7 ++ # #                                17:13:02                       )                            ;            - '                               - )               ;4 4                                -?            ) !
  9     17:10:04                                         --                  2                                             4                        '                !                                      17:13:06           4 ;4                        ; 2 F
 10     17:10:07   -               -                                                                                       )           ;            -           --)                               )         17:13:09       #                               -#                   - )                         4          3           99                4                       -?            )
 11     17:10:13   1 ++ # #                                                  .            . 99                         E           3               @ -                    ! ;)                              17:13:12   '            3 4                            ''                                                          ;         -                               #                         !
 12     17:10:20                   .            .                    . ; )                                )!                   4;                          )                                  !             17:13:19                                   '                                  ; 2                          E           )-                                ' !
 13     17:10:25           4;                            9H)                                              )!                        3                                                     )                 17:13:25                '                                                     3           ?           2 ?#
 14     17:10:30                                    ;        -                                                                                 )         ;          - #                                     17:13:43   "#                      )E                                       '                         0! ;3 ) 4#                                                 E             .
 15     17:10:37   "#                                    '                            4 )                                          2                        #>           3            E                     17:13:49   E           -               )                    ! ;)                  4;                       !                     ?        2G !                            @ -) 3
 16     17:10:41                                                         ;        -                   0           4                                         2                                 )             17:13:53   )                           4 )22                                              99                   E ?)                                              (
 17     17:10:46   ;           - K 2 F                                                                                                                                                                      17:13:56   - ) #                               )                                ?                          .                4         '#
 18     17:10:46       #           E                    4#                   4 )              ?           F                                                                                                 17:14:06                                       #                                                  )                .                      F
 19     17:10:49   "# 0                             ' '                                           4 )E                                     2                    4 )                                         17:14:06                                       #                    0               )          '               3            ? 2           ) ; !                       )            !
 20     17:10:51   - -)                                                  #>           3                                                             0           4                                           17:14:06                       -               F
 21     17:10:56                       ) F                                                                                                                                                                  17:14:11                                       #                                          E >9&                                      0! =9&:7#
 22     17:10:57       #               )                                                                          I)           '                   # 0              ?) ?                                    17:14:25                           #
 23     17:11:01                           '                 )               ' ; - )                                                    2           7 ,+#                     ? ; ;4                        17:14:26   "#                                      E                    4                   J -                                                                      9'
 24     17:11:06                                             2 ; ) 7 &7! 4 ) .                                             '!                                                             !                 17:14:26           )                   '                                    3           ?                              2 ?; '                                        '
 25     17:11:11               -!                   )        # 0                                  '                                                ' 2                  )                                   17:14:30           JF

                                   /(                            (=!                      !                   9(                                    (6 0                      ( 0                                                   /(                                          (=!                     !                  9(                                (6 0                      ( 0

                                                        6            0           0 0                              0            0 (6 0                                                                                                                                  6        0                 0 0                          0         0 (6 0

                                                                     0                        0           0(                   (6                                                                                                                                               0                           0          0(               (6



                                                                                                                                                                                                      900                                                                                                                                                                                              902
  1     17:11:14   7 ++! ' -                                     .                                                    ; 2 -                            -                  )               7 ++              17:14:34       #                                            H)                    F
  2     17:11:20   : :7!                            3                )                        7 ++!                        )                        !                                                       17:14:35   "#                          #                            E                                     F
  3     17:11:25                                2                        ?       -?                                                 2                                        ?) ? 2                         17:14:37       #                       ! ;)                         4 99                  4E                           . 2 ; )                               &*
  4     17:11:33                                         -                        )                           - - 4                        #                                                                17:14:39                       !                   E                4                               5 ;                     32                                   #
  5     17:11:36   "# (. 4#                                      '                    . 2 ; )                                                  - -. # 0                       E                             17:14:48   "#                                                   )2                    .              4 )           H)                                    '            E            2 ?
  6     17:11:39                                                     '                                                         ;           - K 2 F 0                                                        17:14:52       )                                                                      3           )                &*                                        - )               ;4
  7     17:11:42                            - -. F                                                                                                                                                          17:14:58       4                               -?                       )                 -           -)               ;4            0                                                 2 ?
  8     17:11:43       #                        E .              ''                  4 )E                     . 2 ; )# 0                                                - -. F                              17:15:00                4 )                        )                                        )                  ;        -                            5           F
  9     17:11:46   "# < ?                                    4 )                 .             ; )F                                                                                                         17:15:04       # (. 4#                                          )           4                  ?                            4 )                                      ! ;)          '
 10     17:11:47       # ( ! 2 ? # (. 4#                                                                                                                                                                    17:15:13               @?                                   4 ?                                                    '                 ??              2           2        G
 11     17:11:48   "#                   )-                                       2 ? # 0                      E                                                                                             17:15:17                ? ?                                         ?             !                            4                             ?
 12     17:11:51           -                    ) 4                                                   ;           - K 2 F                                                                                   17:15:23   -                           -                   4#
 13     17:11:55       #                        !'           # 0                 2 ?                      ? -                  ; '                                                ?                         17:15:24                                                            4 ?                       !        )                    '             J2 ?J
 14     17:12:00                               '                                                  3       #                                                                                                 17:15:31   &*                                                                   -           ?             2'                         2 ?                                   )
 15     17:12:03   "#                               -#           E                                            -                                      ) F                                                    17:15:37                                                    4                           ) ; - )                                  4?
 16     17:12:06       #                    #                                                                                                                                                               17:15:45           )                                                    '                                          .? -                      -           ?            4
 17     17:12:07   "# (. 4#                                          4 ) 2                                                                     2 ? '                              )                         17:15:49                                   #
 18     17:12:12                                         3           )                    &*                                       F                                                                        17:15:51   "#                      )E                      2 !                #           G !                                                            4
 19     17:12:16       #                #                                                                                                                                                                   17:15:54   -                           -                                        2                    0!            0! 0                      )                                             #
 20     17:12:18   "#                               '                )                                                         3       )                     &*                                             17:16:01           )E                                           24 )                                           2                     K 2 F
 21     17:12:23                                '                    ) F                                                                                                                                    17:16:04       #                               -#
 22     17:12:26       # 0                                   4                        -?              )               ; .                          '                ?                                       17:16:04   "#                  )                               E                          2                         4 2               '              !
 23     17:12:35                   ?)                                ?                                                3                ;            !                 !               '                     17:16:07                                   ; 2                                        - )                                                                        )
 24     17:12:43               #                                                                                                                                                                            17:16:09   ;            - K                            E                    2 F
 25     17:12:44   "#                                            '                                        -               )-               ;4                6# #                 ?                         17:16:12       #           E                                            )         ; - )                                 E                        G                        4        ?

                                   /(                            (=!                      !                   9(                                    (6 0                      ( 0                                                   /(                                          (=!                     !                  9(                                (6 0                      ( 0

                                                        6            0           0 0                              0            0 (6 0                                                                                                                                  6        0                 0 0                          0         0 (6 0

                                                                     0                        0           0(                   (6                                                                                                                                               0                           0          0(               (6



                                                                                                                                                                                                                                                                                        34 (Pages 899 to 902)
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                                                                                                                                                                                                         903                                                                                                                                                                                               905
  1     17:16:18                    # 0                                                         4-                           -                   #                                                               17:18:17                                   #            0           )!-                                 4 99

  2     17:16:22   "#                           !                   E           ?                   4 ;2 -                -)                     !          E        )           4 )                             17:18:18                                   #                                5                       !        #               #               #

  3     17:16:25   ' )                                          ;                   #                                                                                                                            17:18:20                               !                                    E               ;I -            2            E I)                    --)                                  #

  4     17:16:26       #                        !                       E ;                     3                4 @?                            2              '            #                                   17:18:23       E               3               --)                                      '                    ! E                     ?

  5     17:16:28   "#                       E               -               -                                    -       -)                              3 4                                                     17:18:26       ?               !                        '                   ?                           4-                9 @                                    !           E

  6     17:16:32       ?                                                                            2                                                ; 2 !               4 )E            .                       17:18:28           ? ?                                  -                       3                            #

  7     17:16:34                                4                           ' 4! - )                                                     ;           -      F                                                    17:18:30                                   #            0           E                   ?               3                    H)                              #

  8     17:16:38       #                            E                           ;                            - ) #                                                                                               17:18:33                           05              (6 0                     E       2           2                        ' !)                                            2 E

  9     17:16:39                                        #                                       0                . 4 )!                      ) 5            #                                                    17:18:34               ?                                    ?       ! ;)                                                         -               9 @                             #

 10     17:16:40                            05                  (6 0 0                                       . 4 )!                      #           . #                                                         17:18:37                       - )                                      3 F                     )                    3 ;                                      F 5                4 99

 11     17:16:41                                                #                   F                                                                                                                            17:18:42   E                                        ' #

 12     17:16:50                                                                                    0 =                                  0(                                                                      17:18:43                       #               0

 13     17:16:51                        #                   0                                                                                                                                                    17:18:43   "#                                                       4                   4                   - !-                                     ! 2             ; 2

 14     17:16:52   "#                   #               G !4 )'                                                  .                       ) ;                H)                           ; )!                    17:18:49                   4?                               - ?                                 3                    '               ' 4 .                               '

 15     17:16:55               ; 2                                      )               4                         2'                                 ;4                   ;                      3       )       17:18:52                   F

 16     17:16:59   ;           2                                        )                                                                    -                               )                                   17:18:53       #                   #

 17     17:17:01                   !                '                           2           )?                                               ;        - #            4 )                 -                       17:18:54   "#                          '                                -                           '                                4 )                 4           4        3

 18     17:17:05                                            H)                              F                                                                                                                    17:19:01    -                              !'                   %&9                                                                          2           ; 2 !

 19     17:17:06       #                    #                                                                                                                                                                    17:19:07   '                   3                            ; .                     ' 4!                     '                                           4                   2

 20     17:17:07   "#                       '! !                                -!              '                            !                            ' '                                                    17:19:10           )                       )         4!                 )2                                  4 )                  4!                  )?                  )2               4

 21     17:17:12               !                    )                   4                           2! &+ ++! && ++! '                                              E .          '           '           2       17:19:14               !                       !                                                                 !'                  3                                   )

 22     17:17:16   ;                                                            ;                                    !           ' F                                                                             17:19:17   '                           '             3          3 4 2                           2                !       -                                   '       !            -

 23     17:17:20       #                            -#                                                                                                                                                           17:19:22                   %&9                                          !               E ' F

 24     17:17:20   "#                                       E .                 '               '                2                                                                               !               17:19:25       #                           -!4 #

 25     17:17:22   ' F                                                                                                                                                                                           17:19:32   "#                      )                 .          4 )                                     H)                            ; )                            ? - -

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                                                            6           0                       0 0                          0                   0 (6 0                                                                                                         6        0                   0 0                             0            0 (6 0

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                                                                                                                                                                                                         904                                                                                                                                                                                               906
  1     17:17:22       #                            -#                                                                                                                                                           17:19:35           -                                                                                                                                             ; 2                 ?
  2     17:17:23   "#                           '                                #                                                                                                                               17:19:39                                   2#               4 )                 -                           F
  3     17:17:25                                    '!                                              3                            99                                                                              17:19:41       #                   #
  4     17:17:28               )                                                        );I -                                    4               '                       -           '                           17:19:42   "#                          4 )              -                           4 )                     99 4 )                    )                                      ) ;
  5     17:17:31                   4 )E3                            .                   ; )! E                                        );I -                          !           E       F                       17:19:46   ?               ;                    ;) - )                                          4                        . 4                                     '
  6     17:17:35       #                    #                                                                                                                                                                    17:19:49           ??                              '            F
  7     17:17:35   "# 0                                 -                       3                                        .                   2                                                       !           17:19:50       #                           -#
  8     17:17:38                                    '                   ' 4 !                                -                                                                       ; 4                         17:19:51   "#                      )-                   4                                       2                    F
  9     17:17:42                            ;               2 F                                                                                                                                                  17:19:53       #                   #
 10     17:17:44       #                    #                                                                                                                                                                    17:19:53   "#                              -                4F
 11     17:17:44   "#                                   3                   -                       4-                                   -. ! E                      );I -                                       17:19:54       #           ;               )       4#
 12     17:17:47                                        ;               2                                    2           )F                                                                                      17:19:55   "#                                      ; 2 '                                            F
 13     17:17:49       #            E           . 4                             ! ;) ! 4 #                                                                                                                       17:19:57       #           ;               )       4#
 14     17:17:51   "#                       #                                        ' )                     ;                   -                         )         4!                                          17:19:58   "#                              -                4F
 15     17:17:55   ' )                  ;                        -                                  )            4!                                  ' )        ;                -                               17:19:59       #                               4#
 16     17:17:59                        4F                                                                                                                                                                       17:20:07   "#                                  - )              3                                       3 ) 4                            4
 17     17:17:59       #                    #                                                                                                                                                                    17:20:13                                                                                    -       4                                                     )? )
 18     17:17:59                            05                  (6 0                                         )                               )       ' ; 23                                                      17:20:17                                       '                                )           4                        2F
 19     17:18:05    @ ;                                                 '                                                3                                                   2                                   17:20:21       #                       !                                                                         )2;                             3                   ; 2
 20     17:18:08                                ?? ?                                            4 F                                                                                                              17:20:27           )               !       ??                       ; 2 #
 21     17:18:10                                        #               0                   -        E               '                                                           !           )                   17:20:31   "#                          4 )E3                            !                               .4 )                                 -           '               - )
 22     17:18:11   5                # 0                                                              2                       --)                                '                        '           ;       2   17:20:36           .           4 ) ; )                                                  -                            3                    !4 )                   '
 23     17:18:14           .                                H)                          #                                                                                                                        17:20:39                   -           2                        -                   !' -                             '               2               -                   3
 24     17:18:14                            05                  (6 0                            )                                    #           4;             4E ;                                             17:20:41           3                       )? )                                             3                    ?               !                       .!              ; )
 25     17:18:15       -                #               )                                   #                                                                                                                    17:20:46   , ,+                                         4                           2                   )            4F

                                   /(                                   (=!                              !                   9(                             (6 0                     ( 0                                                    /(                           (=!                         !                       9(                                   (6 0                        ( 0

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                                                                                                                                                                           907                                                                                                                                                                                        909
  1    17:20:49        #                   !                 E                        ;                                2! ;)                                                      17:23:45           #>               3            99                       4 )                 ?               !       '                         99 '
  2    17:20:52    - )                 ?); -                                 ; )                                       -#                                                         17:23:48   2                                     ?                                        !           ' F
  3    17:21:00                                 #            0                            ) 5                  E                                 !                                17:23:53                                    '                    4 )E3 ?)                                                     ' 2
  4    17:21:03        @ ; %:!                                           E     @ ; %:#                                                                                            17:23:56       3                     '                       ?            !'                  3               ' ! . 4! '                                    E .             '
  5    17:21:05                        05                  (6 0 0                         . 4 )!                   #                                                              17:24:00           '             2;                                                               2                   3                             !           ' F
  6    17:21:05                    #                   0                                                                                                                          17:24:06       #        E                    4#               ?               4 ) H)                              # E                           -           )           #
  7    17:21:06    "#                       23                                        ; 2 '                                              '               E ;                      17:24:10   "#                   E           ?             ;                                   ; 2 - )                             3                         ! 3
  8    17:21:12                                                      )         2;                 ! E -                - 3 ;                                 - )                  17:24:12                    ?            '                                                            !' -                                E .       '! ;)                   3
  9    17:21:17    ;           . ' 4                                                              3-           4'                        ' )                     ; -              17:24:16               ' !                   E           -           - 3 ;                                        ; 2 - )                               3
 10    17:21:20                ;           )-                                     - 3                                  -'                            3 2                          17:24:19                                                         -                '                                               ; '                               ?
 11    17:21:23                '               ' 4F                                                                                                                               17:24:22                                3         I)                          '                               )?                  ?              '           @ ;                F
 12    17:21:24        #                       -#                                                                                                                                 17:24:28       #                     ! E                             ?            ; ! ;)                  E                                             ;           3
 13    17:21:24    "#                           E -              - 3 ;                                                     ??                                                     17:24:35                                          ?                   ?                                       )                               # 0
 14    17:21:26            49                          2             )                    )        4                                 2                               .!           17:24:38           -) ) #
 15    17:21:31        E                                             !                                 23                                - @                 2                    17:24:39   "#               .           '#               )                E                       4                   ?               -          -          2           '
 16    17:21:35                                                               -               2            2               2         ;                   -                2       17:24:41           4            2                F
 17    17:21:39                                F                                                                                                                                  17:24:41       #        E3               32                                           )                               7++                       # E3                    3
 18    17:21:40        #                    !                                  )2                      #                                                                          17:24:45                        ?                                         )                               #
 19    17:21:42    "#                                                3         32                      2                        F                                                 17:24:47   "#               )                                !                E                       2) 2 '                          4 )#              -       E
 20    17:21:51        #                       -#                                                                                                                                 17:24:50           '                              2                   '!                      E                   4 2                 # E        I)                 . 2
 21    17:21:52    "#                       '               3                     -                '                                                 4                            17:24:53   4 )                                       -               4 )                                          ' 2'                                  ; 2
 22    17:21:55                -                    '            -            2               2        2                       - ?                                    4       3   17:24:56   ?                         '                -                                                                   ;           - '
 23    17:22:05    )                            )            2;                   F                                                                                               17:24:59           #>               3            99                  )-           ?                                           4            3 ;
 24    17:22:07        #                       -#                                                                                                                                 17:25:03       E -                                '                       #>              3       E                               4F
 25    17:22:21    "#                  )                     .               4 ) ; )                                   2                 ' -                                      17:25:05       #                 #

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                                                                                                                                                                           908                                                                                                                                                                                        910
  1     17:22:24           #>          3               E                          4                            ;                    4 )              ?               ; )          17:25:06   "#                )                   E .             ''                           2                       ;                          2                  3
  2     17:22:27                               ;            - #                4 )            -                    F                                                              17:25:09   -            - '                                ' !- )                                      I                      ) !                       ?
  3     17:22:29       #               #                                                                                                                                          17:25:13           -                                                 '                            2               )2                      ' F
  4     17:22:30   "#                                                         4-                           '               '                 3                                    17:25:16       #                        -!                       E .          '#
  5     17:22:37   '               ' 4                                        F                                                                                                   17:25:17   "#                )                   E .             '            '               2               2               3                             F
  6     17:22:39       #           ;           )           4! 4 #                                                                                                                 17:25:20       #                    3                            #
  7     17:22:43   "#                                                         4-                           '                                     2 ! )-                           17:25:21   "# (                         '            2                        F
  8     17:22:46                   -                        '                         ? '          '               )                                         -       4F           17:25:22       #             #
  9     17:22:50       #           ;           )           4! E                               -        #                                                                          17:25:23   "#               ) -                          4!                   )2 -                         2              )2                     #>                 3
 10     17:22:53   "#                  4 )                       E       -- ?                                          4             3 -)) F                                      17:25:28           - ;                      !              '                  4 2                      !- )                       3 ;
 11     17:22:56       #                       -#                                                                                                                                 17:25:31               )2                         .                       . -                     - '                         ' !- )
 12     17:22:57   "#                                                         4-                   -               ;4           4                    3           -                17:25:34           -) ! ?                                            ?                2                               - ;              F
 13     17:23:00   4 )             'F                                                                                                                                             17:25:37       #                 #
 14     17:23:01       #                        '                        3 #                                                                                                      17:25:44   "#                                     - )                             .           4 ) ; )                                      3
 15     17:23:05   "#                  '! - )                                 '           4 )                      ?            2 ? '                                             17:25:47                    ;            -                                )           ;           - !                 4 )                 .         ; ) 4 )
 16     17:23:20   3           -                )- )                                                                           4'            4 )                                  17:25:49                                                                 '            '                           '               -                         '
 17     17:23:24           ' 2                                                            ' -                          ; 2               2               3                        17:25:51                ;               2; '                                                  2 #             )
 18     17:23:27   -               - '                                                    '                )-                                                ;                    17:25:57               3 !? ' !                                           3                   ) '                 !               E                                 )2
 19     17:23:30   3 ;                                 #>            3        #           )       -                        F                                                      17:25:59           #>               3                      - ;                F
 20     17:23:32       #               #                                                                                                                                          17:26:01       #                     ! ;) '                               E .             ' @ - 4#
 21     17:23:32   "#                   !              - )               ! 4 )E3                           4                   4 )           E .             ''                   17:26:04   "#                        !'                  3                ' !                          '                          3
 22     17:23:35                       )- )                              '                    '       ?)                        F                                                 17:26:07           - ;                  !' )                              ; - ? ;                                         -           2         ?
 23     17:23:37       #                       -#                                                                                                                                 17:26:11               ; 2                            99
 24     17:23:37   "#              )               ?                              ?                                    !'            '                           E .      '       17:26:12       #                 #
 25     17:23:42           '                           ; 2 !                          '                                        - ;           ;4                                   17:26:12   "# 99 ' . 2 '                                                          '                               3                ) F

                               /(                            (=!                      !                9(                                (6 0                    ( 0                                      /(                               (=!                      !                   9(                                  (6 0                      ( 0

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                                                                                                                                                                                     911
 1     17:26:15       #               #
 2     17:26:31                               #                0 /)                                                      !        ) 5                         #
 3     17:26:57                   #               0
 4     17:26:57   "#                      '                        ? -                  4 )                     ' 2                               ?
 5     17:27:03   ?                                       )                             ; 2                                           -                                ' )
 6     17:27:07           3 ;                              ' 2                      )2 '                                     #>               3                   ' !
 7     17:27:10   )                                   !                E                                        ?             K               E I)
 8     17:27:13   ?           ;               @?                                                    ?           ;        -                                ?
 9     17:27:16   3               F
10     17:27:17       #                   #           E                         -               #       E        . - !                                9
11     17:27:24       . - #
12     17:27:25                               #                0 0                  . 4 )!                       ) 5                      #
13     17:27:25                   05                  (6 0 0                                . 4 )!                   #
14     17:27:26                                       !4 )                  4                   ?           ' # 0                     . 4 )!                      #
15     17:27:29                   05                          0                     0               . 4 )#
16     17:27:29                   05                  (6 0 ( - )                                            ! E                                                             4
17     17:27:31   '               ' E                 2            2                -               )                             4                           2            8 ++#
18     17:27:39               .4 )                        4 ) ?                                              ?                                                4 ) -              ?
19     17:27:45   ?                                   # 0                   ) E 2                           2                3                            -                2              !
20     17:27:47           H)                      !                -        -           2                            #
21     17:27:51                               #                0            ) 5                         !                ) .                  ? 2                      ) #            )
22     17:27:51           .                                    '                            4                                                         ; )
23     17:27:55   < 3                                      - E ?                                             # 0                      4                                          2
24     17:27:59   ' E3 ;                              ;                                                 @                             2 3                         E ?
25     17:28:03           -                                       4!        7 +, ?# #!                               4 2                                               4         )
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  1    17:28:16       ? -                                  #
  2    17:28:17                                                                 E                   )                    @ -
  3    17:28:19   ? -                                 # E           I)                              2               # E                       ?)              2
  4    17:28:23       3           - #                          E .         ''                                        ; )              ! H)                            . 4!
  5    17:28:25                                           99        ) 5                                 .                    H)                                       99
  6    17:28:28                   05                  (6 0                      ?? -                                                              )               2         -
  7    17:28:29               4 2#
  8    17:28:31                               #                (                    ) 5                         !;                            -                       3 !
  9    17:28:32   ' E ? 3                                      4;           -               ?                ; - )                                E
 10    17:28:37                                       2 ! ;) ' E 2 3                                                     4 )#
 11    17:28:40                   05                  (6 0 0                                .4 )3 4                          )- !                 #               -.# 5 3
 12    17:28:42       - '                 .           #                ? 4 )                                    )                 '               I 4                            '
 13    17:28:45   (                   -)                   !                    #
 14    17:29:02                   05                           60                                   0           ?                     @ ;                     '             9,,8!
 15    17:29:15                                                             9,:+#
 16    17:29:38                   A 5                         6 ( !                         ? -                      2 '                      -       -)               #B
 17    17:29:38                                                            DDDDD
 18    17:29:38                                                             0                       0
 19    17:29:38                       !/                           - @!                     !                   !( -                          )               ?
                                  6                                                         -               ) !                                           -
 20    17:29:38           )               !                        ;4 -                     4                                     2           2                   )
                  -           -                   - ?!                              ;                            4 ;              4
 21    17:29:38   )                                   2!                                    -                                ? -                      2
                      ; 3 9                                                ) ;                                       #
 22    17:29:38
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 24    17:29:38                                                                 /                           - @!                  !
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